Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 1 of 97 PageID 15042




                    Exhibit 14
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 2 of 97 PageID 15043




                              NCCN Clinical Practice Guidelines in Oncology (NCCN Guidelines®)



Chronic Myeloid Leukemia
                                                                                      Version 1.2023 — August 5, 2022




                                                                                                                       NCCN.org

                                                NCCN Guidelines for Patients® available at www.nccn.org/patients

                                                                                                                          Continue


Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 3 of 97 PageID 15044
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  *Neil P. Shah, MD, PhD/Chair ‡                                                                 Hagop M. Kantarjian, MD ‡                                                                       B. Douglas Smith, MD † Þ
   UCSF Helen Diller Family                                                                      The University of Texas                                                                         The Sidney Kimmel Comprehensive
   Comprehensive Cancer Center                                                                   MD Anderson Cancer Center                                                                       Cancer Center at Johns Hopkins
  *Ravi Bhatia, MD/Vice-Chair ‡                                                                  Lori Maness, MD ‡                                                                               Kendra L. Sweet, MD, MS ‡ † Þ
   O'Neal Comprehensive                                                                          Fred and Pamela Buffett Cancer Center                                                           Moffitt Cancer Center
   Cancer Center at UAB                                                                          Monica Mead, MD †                                                                               Moshe Talpaz, MD †
   Jessica K. Altman, MD ‡                                                                       UCLA Jonsson Comprehensive Cancer Center                                                        University of Michigan
   Robert H. Lurie Comprehensive Cancer                                                          Leland Metheny, MD ‡ ξ                                                                          Rogel Cancer Center
   Center of Northwestern University                                                             Case Comprehensive Cancer Center                                                                Tiffany N. Tanaka, MD ‡
   Maria Amaya, MD, PhD ‡                                                                        University Hospitals Seidman Cancer Center and                                                  UC San Diego Moores Cancer Center
   University of Colorado Cancer Center                                                          Cleveland Clinic Taussig Cancer Institute                                                       James Thompson, MD, MS ‡
   Kebede H. Begna, MD ‡                                                                         Sanjay Mohan, MD, MSCI ‡                                                                        Roswell Park Comprehensive
   Mayo Clinic Cancer Center                                                                     Vanderbilt-Ingram Cancer Center                                                                 Cancer Center
   Ellin Berman, MD ‡ † Þ                                                                        Joseph O. Moore, MD †                                                                           Jennifer Vaughn, MD, MSPH ‡
   Memorial Sloan Kettering Cancer Center                                                        Duke Cancer Institute                                                                           The Ohio State University Comprehensive
   Robert H. Collins, Jr., MD ‡                                                                  Vivian Oehler, MD ‡                                                                             Cancer Center - James Cancer Hospital
   UT Southwestern Simmons                                                                       Fred Hutchinson Cancer Research Center/                                                         and Solove Research Institute
   Comprehensive Cancer Center                                                                   Seattle Cancer Care Alliance                                                                    Jeanna Welborn, MD †
   Peter T. Curtin, MD † ‡ ξ                                                                     Keith Pratz, MD †                                                                               UC Davis Comprehensive Cancer Center
   City of Hope National Medical Center                                                          Abramson Cancer Center                                                                          David T. Yang, MD ≠
   Daniel J. DeAngelo, MD, PhD ‡ †                                                               at the University of Pennsylvania                                                               University of Wisconsin
   Dana-Farber/Brigham and Women’s                                                               Iskra Pusic, MD, MSCI †                                                                         Carbone Cancer Center
   Cancer Center                                                                                 Siteman Cancer Center at Barnes-
   Jason Gotlib, MD, MS ‡ †                                                                      Jewish Hospital and Washington
   Stanford Cancer Institute                                                                     University School of Medicine

   Gabriela Hobbs, MD ‡ †                                                                        Michal G. Rose, MD †                                                                            NCCN
   Massachusetts General Hospital                                                                Yale Cancer Center/                                                                             Kristina Gregory, RN, MSN, OCN
   Cancer Center                                                                                 Smilow Cancer Hospital                                                                          Hema Sundar, PhD
                                                                                                                                                                                                  ξ Bone marrow transplantation
                                                                                                                                                                                                  ‡ Hematology/Hematology oncology
                                                                                                                                                                                                  Þ Internal medicine
  NCCN Guidelines Panel Disclosures                                                                                         Continue                                                              †
                                                                                                                                                                                                  ≠
                                                                                                                                                                                                    Medical oncology
                                                                                                                                                                                                    Pathology
                                                                                                                                                                                                  * Discussion Section Writing Committee


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 4 of 97 PageID 15045
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  NCCN Chronic Myeloid Leukemia Panel Members
  Summary of Guidelines Updates                                                                                                                                                                       Clinical Trials: NCCN believes that
                                                                                                                                                                                                      the best management for any patient
                                                                                                                                                                                                      with cancer is in a clinical trial.
  Workup (CML-1)
                                                                                                                                                                                                      Participation in clinical trials is
  Chronic Phase CML (CML-2)                                                                                                                                                                           especially encouraged.
  Early Treatment Response Milestones, Clinical Considerations, and Recommendations (CML-3)
                                                                                                                                                                                                      Find an NCCN Member Institution:
  Advanced Phase CML (CML-4)                                                                                                                                                                          https://www.nccn.org/home/member-
  Treatment Recommendations Based on BCR::ABL1 Mutation Profile (CML-5)                                                                                                                               institutions.
  Allogeneic Hematopoietic Cell Transplantation (CML-6)                                                                                                                                               NCCN Categories of Evidence and
                                                                                                                                                                                                      Consensus: All recommendations
  Risk Calculation Table (CML-A)                                                                                                                                                                      are category 2A unless otherwise
  Definitions of Accelerated Phase and Blast Phase (CML-B)                                                                                                                                            indicated.
  Management of CML During Pregnancy (CML-C)                                                                                                                                                          See NCCN Categories of Evidence
  Criteria for Response and Relapse (CML-D)                                                                                                                                                           and Consensus.
  Monitoring Response to TKI Therapy and Mutational Analysis (CML-E)                                                                                                                                  NCCN Categories of Preference:
  Discontinuation of TKI Therapy (CML-F)                                                                                                                                                              All recommendations are considered
  Management of Bosutinib Toxicity (CML-G 1 of 9)                                                                                                                                                     appropriate.
  Management of Dasatinib Toxicity (CML-G 2 of 9)                                                                                                                                                     See NCCN Categories of
  Management of Imatinib Toxicity (CML-G 3 of 9)                                                                                                                                                      Preference.
  Management of Nilotinib Toxicity (CML-G 4 of 9)
  Management of Omacetaxine Toxicity (CML-G 5 of 9)
  Management of Ponatinib Toxicity (CML-G 6 of 9)
  Management of Asciminib Toxicity (CML-G 7 of 9)
  Drug Interactions of TKIs (CML-G 8 of 9)

  Abbreviations (ABBR-1)

    The NCCN Guidelines® are a statement of evidence and consensus of the authors regarding their views of currently accepted approaches to treatment.
    Any clinician seeking to apply or consult the NCCN Guidelines is expected to use independent medical judgment in the context of individual clinical
    circumstances to determine any patient’s care or treatment. The National Comprehensive Cancer Network® (NCCN®) makes no representations or
    warranties of any kind regarding their content, use or application and disclaims any responsibility for their application or use in any way. The NCCN
    Guidelines are copyrighted by National Comprehensive Cancer Network®. All rights reserved. The NCCN Guidelines and the illustrations herein may not
    be reproduced in any form without the express written permission of NCCN. ©2022.

  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 5 of 97 PageID 15046
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  Updates in Version 1.2023 of the NCCN Guidelines for Chronic Myeloid Leukemia from Version 3.2022 include:

  General
  • BCR-ABL replaced with BCR::ABL
  CML-2
  • Footnote h added: Limited available evidence from small cohort studies suggests that initiation of first-line TKIs (bosutinib, dasatinib, or nilotinib) at lower
    doses (to minimize treatment-related adverse events) and dose reduction (with close monitoring) in patients who achieve optimal responses are appropriate
    strategies to reduce the risk of long-term toxicities. However, the minimum effective dose or optimal de-escalation of TKI (bosutinib, dasatinib, or nilotinib) has
    not yet been established in prospective randomized clinical trials. See the Discussion section for Dose Modifications of TKI Therapy.
  CML-3
  • Increase imatinib dose to a max of 800 mg removed as a recommendation for possible TKI resistance at 3 months and 12 months. (Yellow color)
  • Mutational status clarified with addition of BCR::ABL1 kinase domain.
  • Footnote o added: Consider myeloid mutation panel to identify BCR::ABL1–independent resistance mutations in patients with no BCR::ABL1 kinase domain
    mutations.
  CML-4
  • Accelerated phase
   1G TKI (imatinib) moved to Useful in certain circumstances with the following qualifier:
       ◊ if 2G or 3G TKI is contraindicated
  • Blast phase
   Induction chemotherapy + TKI noted as preferred
   TKI ± steroids noted as Useful in certain circumstances with the following qualifier:
       ◊ if not a candidate for induction chemotherapy
  CML-4A
  • Footnote u added: TKI (alone or in combination with minimal chemotherapy or steroids) is less effective in BP-CML compared to Ph-positive ALL. Interphase
    FISH for the detection of BCR::ABL1 transcript on blood granulocytes is recommended to differentiate between de novo BP-CML and de novo Ph-positive ALL.
  • Footnote w modified with addition of sentence: Omacetaxine is indicated for the treatment of accelerated phase CML that is resistant and/or intolerant to two or
    more TKIs.
  • Footnote x added: 2G or 3G TKI is preferred. Consider imatinib for patients with contraindications to 2G or 3G TKI.
  CML-5
  • Bullets 1 and 3: kinase domain added after BCR::ABL1
  • Asciminib: A337T and P465S added as contraindicated mutations
  • Footnote z revised to include the following: BCR::ABL35INS has been reported in patients who do not respond to imatinib; however, there are not enough data
    to confirm that 2G TKIs could overcome this resistance (Berman E, et al. Leuk Res 2016;49:108-112). See Discussion.
  • The following sentence was removed from footnote z and added to footnote bb: There are compound mutations that can cause resistance to ponatinib, but
    those are uncommon following treatment with bosutinib, dasatinib, or nilotinib.
  • Footnote bb modified: Ponatinib is a the preferred treatment option for patients with a T315I mutation. It is also a treatment option for and/or CP-CML with
    resistance or intolerance to at least two prior TKIs or for patients with AP-CML or BP-CML for whom no other TKI is indicated. There are compound mutations
    that can cause resistance to ponatinib, but those are uncommon following treatment with bosutinib, dasatinib, or nilotinib.
  • Footnote cc modified: Omacetaxine is a treatment option for patients with chronic or accelerated phase CML disease that is resistant and/or intolerant to two or
    more TKIs.
  CML-G 8 of 9
  • Drug interactions added for asciminib (also applies for CML-G 9 of 9)
  ABBR-1
  • New section added: Abbreviations

  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                             UPDATES
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 6 of 97 PageID 15047
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  WORKUP                                                                                                            CLINICAL PRESENTATION                                                       ADDITIONAL EVALUATION



                                                                                                                    Chronic                                                                     Determine risk score
                                                                                                                    phase CML                                                                   (See Risk Calculation                       See CML-2
                                                                                                                    (CP-CML)                                                                    Table CML-A)

                                                                               Ph-positive
                                                                               or
  • H&P, including spleen size by                                              BCR::ABL1
    palpation (cm below costal                                                 positive                                                                   Accelerated                           • Flow cytometry to
    margin)                                                                                                                                               phase CML                               determine cell lineage
  • CBC with differential                                                                                                                                 (AP-CML)d                             • Consider mutational
                                                                                                                    Advanced                                                                      analysise                                 See CML-4
  • Chemistry profile
                                                                                                                    phase CML                                                                   • HLA testing, if
  • Bone marrow aspirate and
    biopsy for morphologic review                                                                                                                        Blast phase                              considering allogeneic
    and cytogenetic evaluationa                                                                                                                          CML (BP-CML)d                            HCT (See CML-6)
  • Quantitative RT-PCR (qPCR)
    using International Scale (IS)
    for BCR::ABL1 (blood)b                                                     Ph-negative
  • Hepatitis B panelc                                                         and
                                                                                                                   Evaluate for diseases other than CML
                                                                                                                   (See NCCN Guidelines for
                                                                               BCR::ABL1
                                                                                                                   Myeloproliferative Neoplasms)
                                                                               negative




  a Bone  marrow evaluation should be done for the initial workup, to provide morphologic review, and also to detect chromosomal abnormalities in addition to the Ph
    chromosome. Fluorescence in situ hybridization (FISH) can be used if cytogenetic evaluation is not possible.
  b Consider qualitative RT-PCR for the detection of atypical BCR::ABL1 transcripts. See Discussion. Referral to centers with expertise in the management of rare
    hematologic malignancies is recommended.
  c Hepatitis B virus reactivation has been reported in patients receiving tyrosine kinase inhibitor (TKI) therapy. However, it is not always possible to reliably estimate the
    frequency or establish a relationship to drug exposure because these incidences are reported voluntarily from a population of uncertain size.
  d See Definitions of Accelerated Phase and Blast Phase (CML-B).
  e Consider myeloid mutation panel for patients with accelerated phase or blast phase.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-1
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 7 of 97 PageID 15048
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  CLINICAL PRESENTATION                                                                                                                        PRIMARY TREATMENTf,g,h
                                                                                                                                               Preferred regimens
                                                                                                                                               First-generation (1G) TKI (Imatinib 400 mg
                                                                                                                                               QD [category 1])i
                                                                                                                                               or                                                                                    See Response
                                                                                       Low-risk score
                                                                                                                                               Second-generation (2G) TKI (alphabetical                                              Milestones
                               Treatment                                               (See Risk Calculation
                                                                                                                                               order)                                                                                and Treatment
                               considerations                                          Table CML-A)
                                                                                                                                               (Bosutinib 400 mg QD [category 1] or                                                  Options (CML-3)k,l
                               independent of risk                                                                                             Dasatinib 100 mg QD [category 1] or
                               score                                                                                                           Nilotinib 300 mg BID [category 1])
  Chronic                      • Comorbidities                                                                                                 or
  phase CML                    • Toxicity profile of                                                                                           Clinical trial
  (CP-CML)                       tyrosine kinase                                                                                               Preferred regimens
                                 inhibitor (TKI)                                                                                               2G TKI (alphabetical order)
                               • Possible drug                                                                                                 (Bosutinib 400 mg QD [category 1] or
                                 interactions                                          Intermediate- or high-                                                                                                                        See Response
                                                                                       risk score                                              Dasatinib 100 mg QD [category 1] or                                                   Milestones
                               • Patient preference                                                                                            Nilotinib 300 mg BID [category 1])
                                                                                       (See Risk Calculation                                                                                                                         and Treatment
                                                                                       Table CML-A)                                            or                                                                                    Options (CML-3)k,l
                                                                                                                                               Other recommended regimen
                                                                                                                                               1G TKI (Imatinib 400 mg QD)i,j
                                                                                                                                               or
                                                                                                                                               Clinical trial
  f If treatment is needed during pregnancy, it is preferable to initiate treatment with interferons (interferon alfa-2a or peginterferon alfa-2a). Interferon alfa-2a/2b and
     peginterferon alfa-2b have been discontinued. Peginterferon alfa-2a may be substituted for other interferon preparations. TKI therapy, particularly during the first
     trimester, should be avoided. See Management of CML During Pregnancy (CML-C).
  g Based on follow-up data from the BFORE, DASISION, and ENESTnd trials, 2G TKIs (bosutinib, dasatinib, or nilotinib) are preferred for patients with an intermediate-
     or high-risk score. 2G TKIs should also be considered for specific subgroups (based on the assessment of treatment goals and benefit/risks), for example, younger
     patients who are interested in ultimately discontinuing treatment and especially young patients assigned female at birth whose goal is to achieve a deep and rapid
     molecular response and eventual discontinuation of TKI therapy for family planning purposes.
  h Limited available evidence from small cohort studies suggests that initiation of first-line TKIs (bosutinib, dasatinib, or nilotinib) at lower doses (to minimize treatment-
     related adverse events) and dose reduction (with close monitoring) in patients who achieve optimal responses are appropriate strategies to reduce the risk of long-
     term toxicities. However, the minimum effective dose or optimal de-escalation of TKI (bosutinib, dasatinib, or nilotinib) has not yet been established in prospective
     randomized clinical trials. See the Discussion section for Dose Modifications of TKI Therapy (MS-17).
  i Innovator and generic drugs approved by the regulatory authorities based on pharmacokinetic equivalence can be used interchangeably. An FDA-approved generic
     version is an appropriate substitute for an innovator drug (imatinib). Generic versions of other TKIs are likely to be marketed in the near future.
  j Imatinib may be preferred for older patients with comorbidities such as cardiovascular disease.
  k See Criteria for Response and Relapse (CML-D).
  l See Monitoring Response to TKI Therapy and Mutational Analysis (CML-E).


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-2
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 8 of 97 PageID 15049
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                        EARLY TREATMENT RESPONSE MILESTONESk,l

                                                       BCR::ABL1 (IS)                                 3 months                                    6 months                                  12 monthsm
                                                                >10%n                                 YELLOW                                                                 RED
                                                             >1%–10%                                                          GREEN                                                            YELLOW
                                                            >0.1%–1%                                                          GREEN                                                       LIGHT GREEN
                                                                ≤0.1%                                                                                GREEN


    COLOR               CONCERN                       CLINICAL CONSIDERATIONS                                                                                               RECOMMENDATIONS
    RED                 TKI-resistant                 • Evaluate patient compliance and drug interactions                                                                   Switch to alternate TKI (CML-5)
                        disease                       • Consider BCR::ABL1 kinase domain mutational analysiso                                                               and evaluate for allogeneic HCT
    YELLOW Possible TKI                               • Evaluate patient compliance and drug interactions                                                                   Switch to alternate TKI (CML-5) or
           resistance                                 • Consider BCR::ABL1 kinase domain mutational analysiso                                                               Continue same TKI (other than imatinib) (CML-G)p
                                                      • Consider bone marrow cytogenetic analysis to assess for                                                             and Consider evaluation for allogeneic HCT
                                                        MCyR at 3 mo or CCyR at 12 mo
    LIGHT               TKI-sensitive                 • If treatment goal is long-term survival: ≤1% optimal         • If optimal: continue same TKI
    GREEN               disease                       • If treatment goal is treatment-free remission: ≤0.1% optimal • If not optimal: shared decision-making with
                                                                                                                       patientq,r
    GREEN               TKI-sensitive                 • Monitor response (CML-E) and side effects                    Continue same TKI (CML-G)s
                        disease

  k See Criteria for Response and Relapse (CML-D).
  l See Monitoring Response to TKI Therapy and Mutational Analysis (CML-E).
  m BCR::ABL1 ≤0.1% at 12 months is associated with a very low probability of       subsequent loss of response and a high likelihood of achieving a subsequent deep
    molecular response (DMR MR4.0; ≤0.01% BCR::ABL1 IS), which is a prerequisite for a trial of treatment-free remission (TFR).
  n Patients with BCR::ABL1 only slightly >10% at 3 months and/or with a steep decline from baseline may achieve <10% at 6 months and have generally favorable
    outcomes. Therefore, it is important to interpret the value at 3 months in this context before making drastic changes to the treatment strategy.
  o Consider myeloid mutation panel to identify BCR::ABL1–independent resistance mutations in patients with no BCR::ABL1 kinase domain mutations.
  p Achievement of response milestones must be interpreted within the clinical context. Patients with more than 50% reduction compared to baseline or minimally above
    the 10% cutoff can continue the same dose of dasatinib, nilotinib, or bosutinib for another 3 months. Continuation of imatinib 400 mg is not recommended.
  q Switching from imatinib to a 2G TKI improves response, but is associated with increased toxicity.
  r Consider referral to a specialized CML center and/or enrollment in a clinical trial.
  s Discontinuation of TKI with careful monitoring is feasible in selected patients. See Discontinuation of TKI Therapy (CML-F).


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-3
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                          Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 9 of 97 PageID 15050
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  CLINICAL PRESENTATION                                                                                                                                                TREATMENTf
                                                                                                                                                                       Clinical trial
                                                                                                                                                                       or
                                                                                                                                                                       Preferred regimens
                                                                                                                                                                       • 2G or third-generation (3G) TKI
                                                                                                          Accelerated                                                    (alphabetical order) (Bosutinib or                                Allogeneic
                                                                                                          phased                                                         Dasatinib or Nilotinib or Ponatinib)                              HCTt
                             Treatment considerations                                                     (AP-CML)                                                     Useful in certain circumstances                                     (CML-6)
                             • Disease progression to                                                                                                                  • 1G TKI (Imatinib; if 2G or 3G TKI is
                               advanced phase while on                                                                                                                   contraindicated)i,v
                               TKI therapy has worse                                                                                                                   • Omacetaxinew
                               prognosis than de novo
                               advanced phase CML.
                             • Evaluation for allogeneic
                               HCT as indicated.t
  Advanced                   • Selection of TKI is based                                                                                                               Clinical trial
  phase CML                    on prior therapy and/                                                                                                                   or
                               or BCR::ABL1 mutation                                                                                                                   Preferred regimens
                               profile.                                                                                                                                • ALL-type induction chemotherapy
                                                                                                                                                                         (NCCN Guidelines for ALL)
                             • CNS involvement has                                                                                            Lymphoid                                                                                     Allogeneic
                                                                                                                                                                         + TKIi,x (CML-G)
                               been described in BP-                                                                                                                   Useful in certain circumstances                                     HCT
                               CML. Lumbar puncture                                                                                                                    • TKIi,x (CML-G) + steroids                                         (CML-6)
                               and CNS prophylaxis is                                                                                                                    (if not a candidate for induction
                               recommended for lymphoid                                                                                                                  chemotherapy)
                               blast phase.                                                               Blast
                                                                                                          phased,u
                                                                                                          (BP-CML)
                                                                                                                                                                       Clinical trial
                                                                                                                                                                       or
                                                                                                                                                                       Preferred regimens
                                                                                                                                                                       • AML-type induction chemotherapy
                                                                                                                                                                         (NCCN Guidelines for AML)
                                                                                                                                              Myeloid                    + TKIi,x (CML-G)                                                  Allogeneic
                                                                                                                                                                       Useful in certain circumstances                                     HCT
                                                                                                                                                                       • TKIi,x (CML-G)                                                    (CML-6)
                                                                                                                                                                         (if not a candidate for induction
                                                                                                                                                                         chemotherapy)
  See Footnotes on CML-4A
    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-4
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 10 of 97 PageID 15051
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


  d See Definitions of Accelerated Phase and
                                                                                             FOOTNOTES FOR ADVANCED PHASE CML
                                                  Blast Phase (CML-B).
  f If treatment is needed during pregnancy, it   is preferable to initiate treatment with interferons (interferon alfa-2a or peginterferon alfa-2a). Interferon alfa-2a/2b and
     peginterferon alfa-2b have been discontinued. Peginterferon alfa-2a may be substituted for other interferon preparations. TKI therapy, particularly during the first
     trimester, should be avoided. See Management of CML During Pregnancy (CML-C).
  i Innovator and generic drugs approved by the regulatory authorities based on pharmacokinetic equivalence can be used interchangeably. An FDA-approved generic
     version is an appropriate substitute for an innovator drug (imatinib). Generic versions of other TKIs are likely to be marketed in the near future.
  t The presence of major route additional chromosomal abnormalities (ACAs) in Ph-positive cells (trisomy 8, isochromosome 17q, second Ph, and trisomy 19) may have
     a negative prognostic impact on survival. Patients who present with accelerated phase at diagnosis should be treated with a TKI, followed by evaluation for allogeneic
     HCT, based on response to therapy. Consider evaluation for allogeneic HCT if response milestones are not achieved at 3, 6, and 12 months as outlined on CML-3.
  u TKI (alone or in combination with minimal chemotherapy or steroids) is less effective in BP-CML compared to Ph-positive ALL. Interphase FISH for the detection of
     BCR::ABL1 transcript on blood granulocytes is recommended to differentiate between de novo BP-CML and de novo Ph-positive ALL.
  v Imatinib is not recommended for patients with disease progression on prior TKI therapy.
  w Omacetaxine is indicated for the treatment of accelerated phase CML that is resistant and/or intolerant to two or more TKIs. Omacetaxine is a treatment option for
     patients with disease progression to AP-CML. Omacetaxine is not a treatment option for patients who present with AP-CML.
  x 2G or 3G TKI is preferred. Consider imatinib for patients with contraindications to 2G or 3G TKI.




    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                               CML-4A
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 11 of 97 PageID 15052
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                         TREATMENT RECOMMENDATIONS BASED ON BCR::ABL1 MUTATION PROFILE
  • Patients with disease resistant to primary treatment with imatinib should be treated with bosutinib, dasatinib, or nilotinib in the second-line
    setting, taking into account BCR::ABL1 kinase domain mutation status.
  • Patients with disease resistant to primary treatment with bosutinib, dasatinib, or nilotinib can be treated with an alternate TKI (other than
    imatinib) in the second-line setting, taking into account BCR::ABL1 kinase domain mutation status. The durability of these responses is
    frequently limited.
  • The table below lists the BCR::ABL1 kinase domain mutations that should NOT be treated with asciminib, bosutinib, dasatinib, or nilotinib.


                                                                       THERAPY                                                                                               CONTRAINDICATED MUTATIONSz
    Asciminiby                                                                                                                                                   A337T or P465S
    Bosutinib                                                                                                                                                    T315I, V299L, G250E, or F317Laa
    Dasatinib                                                                                                                                                    T315I/A, F317L/V/I/C, or V299L
    Nilotinib                                                                                                                                                    T315I, Y253H, E255K/V, or F359V/C/I
    Ponatinib,bb Omacetaxine,cc allogeneic HCT (CML-6), or clinical trial                                                                                        None




  y Asciminib is a treatment option for CP-CML patients with the T315I mutation and/or CP-CML with resistance or intolerance to at least two prior TKIs.
  z Mutations contraindicated for imatinib are too numerous to include. BCR::ABL35
                                                                                   INS has been reported in patients who do not respond to imatinib; however,        there are
   not enough data to confirm that 2G TKIs could overcome this resistance (Berman E, et al. Leuk Res 2016;49:108-112). See Discussion.
  aa Bosutinib has minimal activity against an F317L mutation. Nilotinib may be preferred over bosutinib in patients with an F317L mutation.
  bb Ponatinib is the preferred treatment option for patients with a T315I mutation. It is also a treatment option for CP-CML with resistance or intolerance to at least two
   prior TKIs or for patients with AP-CML or BP-CML for whom no other TKI is indicated. There are compound mutations that can cause resistance to ponatinib, but those
   are uncommon following treatment with bosutinib, dasatinib, or nilotinib.
  cc Omacetaxine is a treatment option for patients with chronic or accelerated phase CML that is resistant and/or intolerant to two or more TKIs.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-5
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 12 of 97 PageID 15053
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                                                                                                               ADDITIONAL THERAPY




                                                                                                                                                                             Consider TKIi,bb therapy for at least 1 y in
                                                                              Monitor with                                  Negative
                                                                                                                                                                             patients with prior AP-CML or BP-CMLee
                                                                              qPCR (peripheral
                                 CCyRk                                        blood) every 3 mo
                                                                              for 2 y, then every
                                                                                                                                                                             Discuss options with transplant team:
                                                                              3–6 mo thereafter                             Positive
                                                                                                                                                                             TKIi,bb ± DLI (selection of TKI is based on
  Allogeneic                                                                                                                                                                 prior therapy, BCR::ABL1 mutation profile,
  HCTdd                                                                                                                                                                      and post-HCT morbidities)
                                                                                                                                                                             or
                                 Less than                                                                                                                                   Omacetaxinecc
                                 CCyR                                                                                                                                        or
                                 or in relapsek                                                                                                                              Clinical trial




  i Innovator and generic drugs approved by the regulatory authorities based on pharmacokinetic equivalence can be used interchangeably. An FDA-approved generic
    version is an appropriate substitute for an innovator drug (imatinib). Generic versions of other TKIs are likely to be marketed in the near future.
  k See Criteria for Response and Relapse (CML-D).
  bb Ponatinib is the preferred treatment option for patients with a T315I mutation. It is also a treatment option for CP-CML with resistance or intolerance to at least two
    prior TKIs or for patients with AP-CML or BP-CML for whom no other TKI is indicated. There are compound mutations that can cause resistance to ponatinib, but those
    are uncommon following treatment with bosutinib, dasatinib, or nilotinib.
  cc Omacetaxine is a treatment option for patients with chronic or accelerated phase CML that is resistant and/or intolerant to two or more TKIs.
  dd Indications for allogeneic HCT: advanced phase CML at presentation or disease progression to blast phase. Outcomes of allogeneic HCT are dependent on age,
    comorbidities, donor type, and transplant center.
  ee Carpenter PA, et al. Blood 2007;109:2791-2793; Olavarria E, et al. Blood 2007;110:4614-4617; DeFilipp Z, et al. Clin Lymphoma Myeloma Leuk 2016;16:466-471.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-6
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 13 of 97 PageID 15054
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                                             RISK CALCULATION TABLE

                    Risk Score                                       Calculation                                                                                                        Risk Category

                    Sokal score1                                     Exp 0.0116 x (age - 43.4) + 0.0345 x (spleen - 7.51) + 0.188                                                       Low                          <0.8
                                                                     x [(platelet count ÷ 700)2 - 0.563] + 0.0887 x (blasts - 2.10)                                                     Intermediate                 0.8 – 1.2
                                                                                                                                                                                        High                         >1.2

                    Hasford (EURO) score2                            (0.6666 x age [0 when age <50 years; 1, otherwise] + 0.042                                                         Low                          ≤780
                                                                     x spleen size [cm below costal margin] + 0.0584 × percent                                                          Intermediate                 >780 – ≤1480
                                                                     blasts + 0.0413 × percent eosinophils + 0.2039 × basophils                                                         High                         >1480
                                                                     [0 when basophils <3%; 1, otherwise] + 1.0956 × platelet
                                                                     count [0 when platelets <1500 × 109/L; 1, otherwise]) × 1000

                    EUTOS long-term                                  0.0025 × (age/10)3 + 0.0615 × spleen size cm below costal                                                          Low                          ≤1.5680
                    survival (ELTS) score3                           margin + 0.1052 × blasts in peripheral blood + 0.4104 ×                                                            Intermediate                 >1.5680 but ≤2.2185
                                                                     (platelet count/1000)-0.5                                                                                          High                         >2.2185


                Calculation of relative risk based on Sokal or Hasford (EURO) score can be found at:
                 https://www.leukemia net.org/content/leukemias/cml/euro__and_sokal_score/index_eng.html

                Online calculator for the ELTS score can be found at: https://www.leukemia-net.org/content/leukemias/cml/elts_score/index_eng.html




  1 Sokal J, Cox EB, Baccarani M, et al. Prognostic discrimination in "good-risk" chronic granulocytic leukemia. Blood 1984;63:789-799.
  2 Hasford J, Pfirrmann M, Hehlmann R, et al. A new prognostic score for survival of patients with chronic myeloid leukemia treated with interferon alfa. Writing Committee
    for the Collaborative CML Prognostic Factors Project Group. J Natl Cancer Inst 1998;90:850-858.
  3 Pfirrman M, Baccarani M, Saussele S, et al. Prognosis of long-term survival considering disease-specific death in patients with chronic myeloid leukemia. Leukemia
    2016;30:48-56.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-A
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 14 of 97 PageID 15055
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                           DEFINITIONS OF ACCELERATED PHASE1,2

                                            Modified MD Anderson Cancer Center (MDACC) Criteria3,4 (most commonly used in clinical trials)
                                            • Peripheral blood myeloblasts ≥15% and <30%
                                            • Peripheral blood myeloblasts and promyelocytes combined ≥30%
                                            • Peripheral blood basophils ≥20%
                                            • Platelet count ≤100 x 109/L unrelated to therapy
                                            • Additional clonal cytogenetic abnormalities in Ph+ cells5




                                                                                                        DEFINITIONS OF BLAST PHASE1

                                                                                        International Bone Marrow Transplant Registry6,7
                                                                                        • ≥30% blasts in the blood, marrow, or both
                                                                                        • Extramedullary infiltrates of leukemic cells




  1 Any increase   in lymphoblasts is concerning for (nascent) blast phase.
  2 Sokal criteria (Sokal JE, Baccarani M, Russo D, Tura S. Staging and prognosis in chronic myelogenous leukemia. Semin Hematol 1988;25:49-61) and IBMTR criteria
    (Savage DG, Szydlo RM, Chase A, et al. Bone marrow transplantation for chronic myeloid leukemia: The effects of differing criteria for defining chronic phase on
    probabilities of survival and relapse. Br J Haematol 1997;99:30-35) are historically used when HCT is the recommended treatment option.
  3 Kantarjian HM, Deisseroth A, Kurzrock R, et al. Chronic myelogenous leukemia: A concise update. Blood 1993;82:691-703.
  4 Talpaz M, Silver RT, Druker BJ, et al. Imatinib induces durable hematologic and cytogenetic responses in patients with accelerated phase chronic myeloid leukemia:
    results of a phase 2 study. Blood 2002;99:1928-1937.
  5 The prognostic significance of additional chromosomal abnormalities in Ph‑positive cells (ACA/Ph+) is related to the specific chromosomal abnormality and often other
    features of accelerated phase. The presence of “major route” ACA/Ph+ (trisomy 8, isochromosome 17q, second Ph, and trisomy 19) at diagnosis may have a negative
    prognostic impact on survival.
  6 Druker BJ. Chronic Myelogenous Leukemia In: DeVita VT, Lawrence TS, Rosenburg SA, eds. DeVita, Hellman, and Rosenberg's Cancer: Principles & Practice of
    Oncology. Vol. 2 (ed 8): Lippincott, Williams and Wilkins; 2007:2267-2304.
  7 World Health Organization (WHO) criteria may be included in some reports (Swerdlow SH, Harris NL, Jaffe ES, et al. WHO Classification of Tumours of
    Haematopoietic and Lymphoid Tissues. Revised 4th ed. Lyon, France: IARC; 2017): blasts ≥20% of peripheral white blood cells or of nucleated bone marrow cells;
    extramedullary blast proliferation; and large foci or clusters of blasts in the bone marrow biopsy. However, it should be noted that modified MDACC criteria were used in
    most clinical trials leading to the approval of TKIs.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-B
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 15 of 97 PageID 15056
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                         MANAGEMENT OF CML DURING PREGNANCY
  TKI Therapy and Conception                                                                                                                Both interferon alfa-2a or peginterferon alfa-2a have been used during
  • TKI therapy appears to affect some male hormones at least transiently,                                                                  pregnancy.15-21 Most of the data using interferons during pregnancy
    but does not appear to have a deleterious effect on male fertility;                                                                     have been reported in patients with essential thrombocythemia.15,21
    miscarriage or fetal abnormality rate is not elevated in female partners of                                                             If introduced earlier, the use of interferon alfa-2a or peginterferon alfa-
    male patients on TKI therapy.1-5                                                                                                        2a can preserve molecular remission after discontinuation of TKI.22
  • TKI therapy during pregnancy in patients assigned female at birth                                                                       Interferon alfa-2a/2b and peginterferon alfa-2b have been discontinued.
    has been associated with both a higher rate of miscarriage and fetal                                                                    Peginterferon alfa-2a may be substituted for other interferon preparations.
    abnormalities. A prolonged washout period prior to pregnancy, prompt                                                                  • The panel recommends against the use of hydroxyurea during pregnancy,
    consideration of holding TKI therapy (if pregnancy occurs while on TKI                                                                  especially in the first trimester, if possible.23-25
    therapy), and close monitoring should be considered.6-10                                                                              • Leukapheresis can be used for a rising white blood cell (WBC) count,
  • Discontinuation of TKI therapy because of pregnancy in patients who                                                                     although there are no data that recommend at what level of WBC count
    were not in DMR (≥MR4.0; ≤0.01% BCR::ABL1 IS) has only been                                                                             leukapheresis should be initiated.26-29
    reported in a small series of patients.11-14 Conception while on active TKI                                                           • Low-dose aspirin or low-molecular-weight heparin can be considered for
    therapy is strongly discouraged due to the risk of fetal abnormalities.                                                                 patients with thrombocytosis.30,31
  • Prior to attempting pregnancy, patients of childbearing age and their                                                                 • Monthly monitoring with qPCR and initiating treatment if the BCR::ABL1
    partners should be counseled about the potential risks and benefits of                                                                  IS increases to >1.0% is recommended.
    discontinuation of TKI therapy and possible resumption of TKI therapy                                                                 Breastfeeding
    should CML recur during pregnancy. Fertility preservation should be                                                                   • TKI therapy can be restarted after delivery. However, patients should be
    discussed with all patients of childbearing age prior to the initiation of TKI                                                          advised not to breastfeed while on TKI therapy, as TKIs pass into human
    therapy. Referral to a CML specialty center and consultation with a high-                                                               breast milk.32-35
    risk obstetrician is recommended.                                                                                                     • Breastfeeding without TKI therapy may be safe with molecular monitoring,
  Treatment and Monitoring During Pregnancy                                                                                                 but preferably in those patients with CML who have achieved durable
  • In patients assigned male at birth, TKI therapy need not be discontinued                                                                DMR. It may be acceptable to avoid TKIs for the short period of the first
    if a pregnancy is planned. Sperm banking can also be performed prior to                                                                 2–5 days after labor to give the child colostrum.35,36
    starting TKI therapy, although there are no data regarding the quality of                                                             • Close molecular monitoring is recommended for patients who extend the
    sperm in patients with untreated CML.                                                                                                   treatment-free period for breastfeeding. If the loss of MMR after treatment
  • In patients assigned female at birth, TKI therapy should be stopped                                                                     cessation is confirmed, breastfeeding needs to be terminated and TKI
    prior to natural conception, and patients should remain off therapy                                                                     therapy should be restarted.35
    during pregnancy.6-8 Referral to an in vitro fertilization (IVF) center is
    recommended in coordination with the patient’s obstetrician. TKI should
    be stopped prior to attempting a natural pregnancy or oocyte retrieval, but
    the optimal timing of discontinuation is unknown.
  • The use of TKI therapy, particularly during the first trimester, should be
    avoided. If TKI therapy is considered during pregnancy, the potential risks
    and benefits must be carefully evaluated in terms of maternal health and
    fetal risk on an individual basis prior to initiation of TKI therapy during
    pregnancy.
  • If treatment is needed, it is preferable to initiate treatment with interferons.
                                                                                                                                                                                                                                      References
    Note: All recommendations are category 2A unless otherwise indicated.                                                                                                                                                             (CML-C 2 of 2)
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-C
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              1 OF 2
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 16 of 97 PageID 15057
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                         MANAGEMENT OF CML DURING PREGNANCY – REFERENCES
  1 Ramasamy K, Hayden J, Lim Z, et al. Successful pregnancies involving men with chronic                                                 19  Al Bahar S, Pandita R, Nath SV. Pregnancy in chronic myeloid leukemia patients treated with
    myeloid leukaemia on imatinib therapy. Br J Haematol 2007;137:374-375.                                                                  alpha interferon. Int J Gynaecol Obstet 2004;85:281-282.
  2 Breccia M, Cannella L, Montefusco E, et al. Male patients with chronic myeloid leukemia                                               20 Balsat M, Etienne M, Elhamri M, et al. Successful pregnancies in patients with BCR-ABL-
    treated with imatinib involved in healthy pregnancies: report of five cases. Leuk Res                                                   positive leukemias treated with interferon-alpha therapy during the tyrosine kinase inhibitors
    2008;32:519-520.                                                                                                                        era. Eur J Haematol 2018;101:774-780.
  3 Oweini H, Otrock ZK, Mahfouz RAR, Bazarbachi A. Successful pregnancy involving a man                                                  21 Beauverd Y, Radia D, Cargo C, et al. Pegylated interferon alpha-2a for essential
    with chronic myeloid leukemia on dasatinib. Arch Gynecol Obstet 2011;283:133-134.                                                       thrombocythemia during pregnancy: outcome and safety. A case series. Haematologica
  4 Ghalaut VS, Prakash G, Bansal P, et al. Effect of imatinib on male reproductive hormones in                                             2016;101:e182-184.
    BCR-ABL positive CML patients: A preliminary report. J Oncol Pharm Pract 2014;20:243-248.                                             22 Abruzzese E, Turkina AG, Apperley JF, et al. Pregnancy management in CML patients: To
  5 Alizadeh H, Jaafar H, Rajnics P, et al. Outcome of pregnancy in chronic myeloid leukaemia                                               treat or not to treat? Report of 224 outcomes of the European Leukemia Net (ELN) Database
    patients treated with tyrosine kinase inhibitors: short report from a single centre. Leuk Res                                           [abstract]. Blood 2019;134:Abstract 498.
    2015;39:47-51.                                                                                                                        23 Baykal C, Zengin N, Coskun F, et al. Use of hydroxyurea and alpha-interferon in chronic
  6 Pye SM, Cortes J, Ault P, et al. The effects of imatinib on pregnancy outcome. Blood                                                    myeloid leukemia during pregnancy: a case report. Eur J Gynaecol Oncol 2000;21:89-90.
    2008;111:5505-5508.                                                                                                                   24 Thauvin-Robinet C, Maingueneau C, Robert E, et al. Exposure to hydroxyurea during
  7 Cortes JE, Abruzzese E, Chelysheva E, et al. The impact of dasatinib on pregnancy outcomes.                                             pregnancy: a case series. Leukemia 2001;15:1309-1311.
    Am J Hematol 2015;90:1111-1115.                                                                                                       25 Fadilah SA, Ahmad-Zailani H, Soon-Keng C, Norlaila M. Successful treatment of chronic
  8 Barkoulas T, Hall PD. Experience with dasatinib and nilotinib use in pregnancy. J Oncol Pharm                                           myeloid leukemia during pregnancy with hydroxyurea. Leukemia 2002;16:1202-1203.
    Pract 2018;24:121-128.                                                                                                                26 Koh LP, Kanagalingam D. Pregnancies in patients with chronic myeloid leukemia in the era of
  9 Salem W, Li K, Krapp C, et al. Imatinib treatments have long-term impact on placentation and                                            imatinib. Int J Hematol 2006;84:459-462.
    embryo survival. Sci Rep 2019;9:2535.                                                                                                 27 Ali R, Ozkalemkas F, Ozkocaman V, et al. Successful pregnancy and delivery in a patient with
  10 Madabhavi I, Sarkar M, Modi M, Kadakol N. Pregnancy outcomes in chronic myeloid                                                        chronic myelogenous leukemia (CML), and management of CML with leukapheresis during
    leukemia: A single center experience. J Glob Oncol 2019;5:1-11.                                                                         pregnancy: a case report and review of the literature. Jpn J Clin Oncol 2004;34:215-217.
  11 Ault P, Kantarjian H, O'Brien S, et al. Pregnancy among patients with chronic myeloid                                                28 Palani R, Milojkovic D, Apperley JF. Managing pregnancy in chronic myeloid leukaemia. Ann
    leukemia treated with imatinib. J Clin Oncol 2006;24:1204-1208.                                                                         Hematol 2015;94 Suppl 2:S167-176.
  12 Kuwabara A, Babb A, Ibrahim A, et al. Poor outcome after reintroduction of imatinib in patients                                      29 Staley EM, Simmons SC, Feldman AZ, et al. Management of chronic myeloid leukemia in the
    with chronic myeloid leukemia who interrupt therapy on account of pregnancy without having                                              setting of pregnancy: when is leukocytapheresis appropriate? A case report and review of the
    achieved an optimal response. Blood 2010;116:1014-1016.                                                                                 literature. Transfusion 2018;58:456-460.
  13 Lasica M, Willcox A, Burbury K, et al. The effect of tyrosine kinase inhibitor interruption and                                      30 James AH, Brancazio LR, Price T. Aspirin and reproductive outcomes. Obstet Gynecol Surv
    interferon use on pregnancy outcomes and long-term disease control in chronic myeloid                                                   2008;63:49-57.
    leukemia. Leuk Lymphoma 2019;60:1796-1802.                                                                                            31 Deruelle P, Coulon C. The use of low-molecular-weight heparins in pregnancy--how safe are
  14 Stella S, Tirro E, Massimino M, et al. Successful management of a pregnant patient with                                                they? Curr Opin Obstet Gynecol 2007;19:573-577.
    chronic myeloid leukemia receiving standard dose imatinib. In Vivo 2019;33:1593-1598.                                                 32 Russell MA, Carpenter MW, Akhtar MS, et al. Imatinib mesylate and metabolite
  15 Schrickel L, Heidel FH, Sadjadian P et al. Interferon alpha for essential thrombocythemia                                              concentrations in maternal blood, umbilical cord blood, placenta and breast milk. J Perinatol
    during 34 high-risk pregnancies: outcome and safety. J Cancer Res and Clin Oncol 2021:                                                  2007;27:241-243.
                                                                                                                                          33 Ali R, Ozkalemkas F, Kimya Y, et al. Imatinib use during pregnancy and breast feeding: a
    147;1481-1491.
  16 Haggstrom J, Adriansson M, Hybbinette T, et al. Two cases of CML treated with alpha-                                                   case report and review of the literature. Arch Gynecol Obstet 2009;280:169-175.
                                                                                                                                          34 Drugs and Lactation Database (LactMed) [Internet]. Bethesda (MD): National Library of
    interferon during second and third trimester of pregnancy with analysis of the drug in the new-
    born immediately postpartum. Eur J Haematol 1996;57:101-102.                                                                            Medicine (US); 2006-.
  17 Kuroiwa M, Gondo H, Ashida K, et al. Interferon-alpha therapy for chronic myelogenous                                                35 Chelysheva E, Aleshin S, Polushkina E, et al. Breastfeeding in patients with chronic myeloid

    leukemia during pregnancy. Am J Hematol 1998;59:101-102.                                                                                leukaemia: Case series with measurements of drug concentrations in maternal milk and
  18 Lipton JH, Derzko CM, Curtis J. Alpha-interferon and pregnancy in a patient with CML.                                                  literature review. Mediterr J Hematol Infect Dis 2018;10:e2018027.
                                                                                                                                          36 Abruzzese E, Trawinska MM, Perrotti AP, De Fabritiis P. Tyrosine kinase inhibitors and
    Hematol Oncol 1996;14:119-122.
                                                                                                                                            pregnancy. Mediterr J Hematol Infect Dis 2014;6:e2014028.

      Note: All recommendations are category 2A unless otherwise indicated.
      Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-C
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              2 OF 2
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 17 of 97 PageID 15058
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                              CRITERIA FOR RESPONSE AND RELAPSE

           Response/Relapse                                                                                                                                Definition
    Complete hematologic                                  • Complete normalization of peripheral blood counts with leukocyte count <10 x 109/L
    response (CHR)1                                       • Platelet count <450 x 109/L
                                                          • No immature cells, such as myelocytes, promyelocytes, or blasts in peripheral blood
                                                          • No signs and symptoms of disease with resolution of palpable splenomegaly
    Cytogenetic response2,3                               • Complete cytogenetic response (CCyR): No Ph-positive metaphases4
                                                          • Major cytogenetic response (MCyR): 0%–35% Ph-positive metaphases
                                                          • Partial cytogenetic response (PCyR): 1%–35% Ph-positive metaphases
                                                          • Minor cytogenetic response: >35%–65% Ph-positive metaphases
    Molecular response5,6,7                               • Early molecular response (EMR): BCR::ABL1 (IS) ≤10% at 3 and 6 months
                                                          • Major molecular response (MMR): BCR::ABL1 (IS) ≤0.1% or ≥3-log reduction in BCR::ABL1 transcripts from the
                                                            standardized baseline, if qPCR (IS) is not available
                                                          • Deep molecular response (DMR): MR4.0: BCR::ABL1 (IS) ≤0.01% or MR4.5: BCR::ABL1 (IS) ≤0.0032%
    Relapse                                               • Any sign of loss of hematologic response
                                                          • Any sign of loss of CCyR or its molecular response correlate defined as an increase in BCR::ABL1 transcript to >1%4
                                                          • 1-log increase in BCR::ABL1 transcript levels with loss of MMR8




  1 Faderl S, Talpaz M, Estrov Z, Kantarjian HM. Chronic myelogenous leukemia: biology and therapy. Ann Intern Med 1999;131:207-219. The American College of
    Physicians-American Society of Internal Medicine is not responsible for the accuracy of the translation.
  2 A minimum of 20 metaphases should be examined.
  3 O'Brien SG, Guilhot F, Larson RA, et al. Imatinib compared with interferon and low-dose cytarabine for newly diagnosed chronic-phase chronic myeloid leukemia. N
    Engl J Med 2003;348:994-1004.
  4 CCyR correlates with BCR::ABL1 (IS) ≤1%.
  5 Hughes TP, Kaeda J, Branford S, et al. Frequency of major molecular responses to imatinib or interferon alfa plus cytarabine in newly diagnosed chronic myeloid
    leukemia. N Engl J Med 2003;349:1423-1432.
  6 Hughes T, Deininger M, Hochhaus A, et al. Monitoring CML patients responding to treatment with tyrosine kinase inhibitors: review and recommendations for
    harmonizing current methodology for detecting BCR-ABL transcripts and kinase domain mutations and for expressing results. Blood 2006;108:28-37.
  7 Cross NC, White HE, Müller MC, Saglio G, Hochhaus A. Standardized definitions of molecular response in chronic myeloid leukemia. Leukemia 2012;26:2172-2175.
  8 The loss of MMR in the presence of a CCyR does not necessarily constitute treatment failure.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-D
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 18 of 97 PageID 15059
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                               MONITORING RESPONSE TO TKI THERAPY AND MUTATIONAL ANALYSIS

     Test                                                     Recommendation

     Bone marrow                                              • At diagnosis
     cytogenetics1                                            • Failure to reach response milestones
                                                              • Any sign of loss of hematologic response
                                                              • Any sign of loss of CCyR or its molecular response correlate defined as an increase in BCR::ABL1
                                                                transcript to >1%

     qPCR using IS                                            • At diagnosis
                                                              • Every 3 months after initiating treatment. After BCR::ABL1 (IS) ≤1%2 has been achieved, every 3 months
                                                                for 2 years and every 3–6 months thereafter
                                                              • If there is a 1-log increase in BCR::ABL1 transcript levels with MMR, qPCR should be repeated in 1–3
                                                                months

     BCR::ABL1 kinase domain                                  • Chronic phase3
     mutation analysis                                         Failure to reach response milestones
                                                               Any sign of loss of hematologic response
                                                               Any sign of loss of CCyR or its molecular response correlate defined as an increase in BCR::ABL1
                                                                 transcript to >1%
                                                               1-log increase in BCR::ABL1 transcript levels and loss of MMR
                                                              • Disease progression to accelerated or blast phase3




  1 FISH has been inadequately studied for monitoring response to treatment.
  2 CCyR correlates with BCR::ABL1 (IS) ≤1%.
  3 Consider myeloid mutation panel to identify BCR::ABL1–independent resistance                                                     mutations in patients with no BCR::ABL1 kinase domain mutations.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-E
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 19 of 97 PageID 15060
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                                   DISCONTINUATION OF TKI THERAPY
  General Considerations
  • Discontinuation of TKI therapy appears to be safe in select patients with CML.
  • Consult with a CML specialist to review the appropriateness for TKI discontinuation and potential risks and benefits of treatment
    discontinuation, including TKI withdrawal syndrome.
  • Clinical studies that have evaluated the safety and efficacy of TKI discontinuation have employed strict eligibility criteria and have mandated
    more frequent molecular monitoring than typically recommended for patients on TKI therapy.
  • Some patients have experienced significant adverse events that are believed to be due to TKI discontinuation.
  • Discontinuation of TKI therapy should only be performed in consenting patients after a thorough discussion of the potential risks and
    benefits.
  • Consultation with an NCCN Panel Member or center of expertise is recommended in the following circumstances:
   Any significant adverse event is believed to be related to treatment discontinuation.
   There is progression to AP-CML or BP-CML at any time.
   There is failure to regain MMR after 3 months following treatment reinitiation.
  • Outside of a clinical trial, discontinuation of TKI therapy should be considered only if ALL of the criteria included in the list below are met.

  Criteria for TKI Discontinuation
  • Age ≥18 years.
  • CP-CML. No prior history of AP-CML or BP-CML.
  • On approved TKI therapy for at least 3 years.1,2
  • Prior evidence of quantifiable BCR::ABL1 transcript.
  • Stable molecular response (MR4; BCR::ABL1 ≤0.01% IS) for ≥2 years, as documented on at least 4 tests, performed at least 3 months apart.2
  • Access to a reliable qPCR test with a sensitivity of detection of at least MR4.5 (BCR::ABL1 ≤0.0032% IS) and that provides results within 2
    weeks.
  • Monthly molecular monitoring for the first 6 months following discontinuation, bimonthly during months 7–12, and quarterly thereafter
    (indefinitely) for patients who remain in MMR (MR3; BCR::ABL1 ≤0.1% IS).
  • Prompt resumption of TKI within 4 weeks of a loss of MMR with monthly molecular monitoring until MMR is re-established, then every
    3 months thereafter is recommended indefinitely for patients who have reinitiated TKI therapy after a loss of MMR. For those who fail to
    achieve MMR after 3 months of TKI resumption, BCR::ABL1 kinase domain mutation testing should be performed, and monthly molecular
    monitoring should be continued for another 6 months.



  1 The  feasibility of TFR following discontinuation of TKIs other than dasatinib, imatinib, or nilotinib has not yet been evaluated in clinical studies. It is reasonable to
    assume that the likelihood of TFR following discontinuation would be similar irrespective of TKI in patients who have achieved and maintained DMR (MR4.0; ≤0.01%
    BCR::ABL1 IS) for ≥2 years, based on the extrapolation of findings from the studies that have evaluated TFR following discontinuation of imatinib, dasatinib, or nilotinib.
  2 Data from the EURO-SKI study suggest that MR4.0 (BCR::ABL1 ≤0.01% IS) for ≥3 years was the most significant predictor for successful discontinuation of imatinib.
    Total duration of imatinib therapy for at least 6 years was also predictive of successful discontinuation (Saussele S, et al. Lancet Oncol 2018;19:747-757).

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-F
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 20 of 97 PageID 15061
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                              MANAGEMENT OF TOXICITIES AND DRUG INTERACTIONS

                                                                                                              BOSUTINIB (CML-G 1 of 9)

                                                                                                               DASATINIB (CML-G 2 of 9)

                                                                                                                 IMATINIB (CML-G 3 of 9)

                                                                                                               NILOTINIB (CML-G 4 of 9)

                                                                                                           OMACETAXINE (CML-G 5 of 9)

                                                                                                               PONATINIB (CML-G 6 of 9)

                                                                                                               ASCIMINIB (CML-G 7 of 9)

                                                                                            DRUG INTERACTIONS OF TKIs (CML-G 8 of 9)




    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.


  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                CML-G
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 21 of 97 PageID 15062
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                              MANAGEMENT OF BOSUTINIB TOXICITY1
  Dosing:
  Newly diagnosed CP-CML: The recommended initial dose is 400 mg once daily.
  CP-CML, AP-CML or BP-CML with resistance or intolerance to prior therapy: The recommended initial dose is 500 mg once daily.
  Dose Adjustments:
  Hematologic Toxicities
  • Absolute neutrophil count (ANC) <1.0 x 109/L or platelets <50 x 109/L: Hold bosutinib until ANC ≥1.0 x 109/L and platelets ≥50 x 109/L. Resume
    treatment with bosutinib at the same dose if recovery occurs within 2 weeks. If blood counts remain low for >2 weeks, upon recovery reduce
    dose by 100 mg and resume treatment. If cytopenia recurs, reduce dose by an additional 100 mg upon recovery and resume treatment.
    Doses <300 mg/day have not been evaluated.
  • Growth factors can be used in combination with bosutinib for patients with persistent neutropenia and thrombocytopenia.
  • Grade 3–4 anemia:2 Check reticulocyte count, ferritin, iron saturation, B12, folate, and correct nutritional deficiencies if present. Transfusion
    support should be used if patient is symptomatic.
  Non-Hematologic Toxicities
  • Liver transaminases >5 x institutional upper limit of normal (IULN): Hold bosutinib until recovery to ≤2.5 x IULN and resume dose at 400
    mg once daily thereafter. If recovery takes >4 weeks, discontinue bosutinib. If transaminase elevations ≥3 x IULN occur concurrently with
    bilirubin elevations >2 x IULN and alkaline phosphatase <2 x IULN (Hy’s law case definition), discontinue bosutinib.
  • Diarrhea: For NCI Common Terminology Criteria for Adverse Events (CTCAE) grade 3–4 diarrhea (increase of ≥7 stools/day over baseline/
    pretreatment), withhold bosutinib until recovery to grade ≤1. Bosutinib may be resumed at 400 mg once daily.
  • For other clinically significant, moderate, or severe non-hematologic toxicity, withhold bosutinib until the toxicity has resolved, then
    consider resuming bosutinib at 400 mg once daily. If clinically appropriate, consider re-escalating the dose of bosutinib to 500 mg once daily.
  Special Populations
  • In patients with pre-existing mild, moderate, and severe hepatic impairment, the recommended dose of bosutinib is 200 mg daily. A daily
    dose of 200 mg in patients with hepatic impairment is predicted to result in an area under the curve (AUC) similar to the AUC seen in patients
    with normal hepatic function receiving 500 mg daily. However, there are no clinical data for efficacy at the dose of 200 mg once daily in
    patients with hepatic impairment and CML.
  • Monitoring renal function at baseline and during therapy is recommended with particular attention to those patients with preexisting renal
    impairment or risk factors for renal dysfunction. Dose modification (as outlined in the prescribing information) should be considered for
    patients with baseline and treatment-emergent renal impairment.
  Specific Interventions
  • Fluid retention events (ie, pulmonary and/or peripheral edema; pleural and pericardial effusion): Diuretics, supportive care.
  • GI upset: Take medication with a meal and large glass of water.
  • Rash: Topical or systemic steroids, dose reduction, dose interruption, or dose discontinuation.
  1 Please  refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities:
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  2 Although erythropoietin is effective, guidelines from the Centers for Medicare & Medicaid Services (CMS) and the U.S. Food and Drug Administration (FDA) do not
    support the use of erythropoiesis-stimulating agents (ESAs) in myeloid malignancies.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              1 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 22 of 97 PageID 15063
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                              MANAGEMENT OF DASATINIB TOXICITY1
  Dosing:
  • CP-CML: The recommended initial dose is 100 mg once daily.
  • AP-CML and BP-CML: The recommended initial dose is 140 mg once daily.
  Dose Adjustments:
  Hematologic Toxicities
  • Chronic phase ANC <0.5 x 109/L or platelets <50 x 109/L: Hold dasatinib until ANC ≥1.0 x 109/L and platelets ≥50 x 109/L, then resume dasatinib
    at the starting dose if recovery occurs in ≤7 days. If platelets <25 x 109/L or recurrence of ANC <0.5 x 109/L for >7 days, hold drug until ANC
    ≥1.0 x 109/L and platelets ≥50 x 109/L, then resume dasatinib at reduced dose of 80 mg once daily for second episode. For third episode,
    further reduce dose to 50 mg once daily (for newly diagnosed patients) or discontinue dasatinib (for patients with disease that is resistant or
    intolerant to prior therapy including imatinib).
  • Accelerated phase and blast phase, ANC <0.5 x 109/L and/or platelets <10 x 109/L: Patients may have cytopenias related to disease. If
    cytopenia is unrelated to disease, hold dasatinib until ANC ≥1.0 x 109/L and platelets ≥20 x 109/L, and resume at original starting dose. If
    recurrence, hold dasatinib until ANC ≥1.0 x 109/L and platelets ≥20 x 109/L, and resume dasatinib at reduced dose of 100 mg once daily
    (second episode) or 80 mg once daily (third episode).
  • Growth factors can be used in combination with dasatinib for patients with persistent neutropenia and thrombocytopenia.
  • Grade 3–4 anemia:2 Check reticulocyte count, ferritin, iron saturation, B12, folate, and correct nutritional deficiencies if present. Transfusion
    support should be used if patient is symptomatic.
  Non-Hematologic Toxicities
  • If a severe, non-hematologic, adverse reaction develops with dasatinib, treatment must be held until the event has resolved or improved.
    Thereafter, treatment can be resumed as appropriate at a reduced dose depending on the initial severity of the event.
  Rare But Serious Toxicities
  • Pulmonary arterial hypertension (PAH): Dasatinib can cause PAH, which may occur any time after initiation, including after >1 year of
    treatment. PAH may be reversible on discontinuation of dasatinib. Evaluate patients for signs and symptoms of underlying cardiopulmonary
    disease prior to initiating dasatinib and during treatment. If PAH is confirmed, dasatinib should be permanently discontinued.
  Specific Interventions
  • Fluid retention events (ie, ascites, edema, pleural and pericardial effusion): Diuretics, supportive care.
  • Pleural/pericardial effusion: Diuretics, dose interruption. If patient has significant symptoms, consider short course of steroids (prednisone
    20–50 mg/day x 3–4 days, may taper with 20 mg/day x 3–4 days); when resolved, reduce one dose level.
  • GI upset: Take medication with a meal and large glass of water.
  • Rash: Topical or systemic steroids, dose reduction, dose interruption, or dose discontinuation.



  1 Please  refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities:
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  2 Although erythropoietin is effective, guidelines from CMS and the FDA do not support the use of ESAs in myeloid malignancies.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              2 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 23 of 97 PageID 15064
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                               MANAGEMENT OF IMATINIB TOXICITY1,3
  Dosing:
  • CP-CML: The recommended initial dose is 400 mg once daily.
  • AP-CML and BP-CML: The recommended initial dose is 600 mg once daily.
  Dose Adjustments:
  Hematologic Toxicities
  • Chronic phase ANC <1.0 x 109/L, and/or platelets <50 x 109/L: Hold imatinib until ANC ≥1.5 x 109/L and platelets ≥75 x 109/L, then resume
    imatinib at the starting dose of 400 mg. If recurrence of ANC <1.0 x 109/L and/or platelets <50 x 109/L, hold drug until ANC ≥1.5 x 109/L and
    platelets ≥75 x 109/L, then resume imatinib at reduced dose of 300 mg.
  • Accelerated phase and blast phase, ANC <0.5 x 109/L and/or platelets <10 x 109/L: Patients may have cytopenias related to disease. If
    cytopenia is unrelated to disease, reduce dose to 400 mg. If cytopenia persists for 2 weeks, reduce dose further to 300 mg. If cytopenia
    persists for 4 weeks, stop imatinib until ANC ≥1.0 x 109/L and platelet count ≥20 x 109/L and then resume treatment at 300 mg.
  • Growth factors can be used in combination with imatinib for patients with persistent neutropenia.4
  • Grade 3–4 anemia:2 Check reticulocyte count, ferritin, iron saturation, B12, folate, and correct nutritional deficiencies if present. Transfusion
    support should be used if patient is symptomatic.
  Non-Hematologic Toxicities
  • Bilirubin >3 x IULN or liver transaminases >5 x IULN: Hold imatinib until bilirubin <1.5 x IULN and transaminase levels <2.5 x IULN. Resume
    imatinib at a reduced daily dose (400–300 mg, 600–400 mg, or 800–600 mg).
  • Severe hepatotoxicity or severe fluid retention: Hold imatinib until the event has resolved. Treatment can be resumed as appropriate
    depending on the severity of the event.
  • Patients with moderate renal impairment (creatinine clearance [CrCl] = 20–39 mL/min) should receive a 50% decrease in the recommended
    starting dose and future doses can be increased as tolerated. Doses >600 mg are not recommended in patients with mild renal impairment
    (CrCl = 40–59 mL/min). For patients with moderate renal impairment, doses >400 mg are not recommended. Imatinib should be used with
    caution in patients with severe renal impairment.
  Specific Interventions
  • Fluid retention (ie, pleural effusion, pericardial effusion, edema, ascites): Diuretics, supportive care, dose reduction, interruption, or
    discontinuation. Consider echocardiogram to check left ventricular ejection fraction (LVEF).
  • GI upset: Take medication with a meal and large glass of water.
  • Muscle cramps: Calcium supplement, tonic water.
  • Rash: Topical or systemic steroids, dose reduction, dose interruption, or dose discontinuation.

  1 Please  refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities:
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  2 Although erythropoietin is effective, guidelines from CMS and the FDA do not support the use of ESAs in myeloid malignancies.
  3 Many toxicities are self-limiting; consider re-escalating dose at a later time.
  4 Quintas-Cardama A, Kantarjian H, O’Brien S, et al. Granulocyte-colony-stimulating factor (filgrastim) may overcome imatinib-induced neutropenia in patients with
    chronic-phase chronic myelogenous leukemia. Cancer 2004;100:2592-2597.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              3 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 24 of 97 PageID 15065
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                               MANAGEMENT OF NILOTINIB TOXICITY1
  • Nilotinib prolongs the QT interval. Prior to administration of nilotinib and periodically, monitor for hypokalemia or hypomagnesemia and
    correct deficiencies. Electrocardiograms (ECGs) should be obtained to monitor the QT interval at baseline, 7 days after initiation, and
    periodically thereafter, as well as following any dose adjustments.
  • Sudden deaths have been reported in patients receiving nilotinib.
  • Avoid concomitant use of drugs known to prolong the QT interval and strong CYP3A4 inhibitors.
  • Patients should avoid food 2 hours before and 1 hour after taking dose.
  Dosing:                                                                      Non-Hematologic Toxicities
  • Newly diagnosed CP-CML: The recommended initial dose is 300 mg             • Elevated serum lipase, amylase, bilirubin, or hepatic transaminases
    twice daily.                                                                 grade ≥3: Hold nilotinib and monitor serum levels. Resume nilotinib
  • Resistant or intolerant CP-CML and AP-CML: The recommended                   at 400 mg once daily if serum levels return to grade ≤1.
    initial dose is 400 mg twice daily.                                        • Hepatic Impairment: Consider alternate therapies. See prescribing
  • BP-CML: The recommended initial dose is 400 mg twice daily.                  information for dose adjustments related to hepatic impairment.
  Dose Adjustments:                                                            • Assess glucose levels before initiating treatment and monitor
  QT Interval Prolongation                                                       treatment as clinically indicated.
  • ECGs with a QTc >480 msec: Hold nilotinib. If serum potassium              Rare  But Serious Toxicities
    and magnesium levels are below lower limit of normal, correct with         • Peripheral arterial occlusive disease (PAOD): Nilotinib is associated
    supplements to within normal limits. Review concomitant medication           with an increased risk of vascular adverse events, including PAOD,
    usage. Resume within 2 weeks at prior dose if QTcF is <450 msec              and should be used with caution in patients with cardiovascular risk
    and within 20 msec of baseline. If QTcF is between 450 and 480 msec          factors or a history of PAOD. Evaluate patients for a history of PAOD
    after 2 weeks, resume at reduced dose (400 mg once daily). Following         and for vascular risk factors prior to initiating nilotinib and during
    dose reduction, if QTcF returns to >480 msec, nilotinib should               treatment. If PAOD is confirmed, nilotinib should be permanently
    be discontinued. ECG should be obtained 7 days after any dose                discontinued.
    adjustment to monitor QT interval.                                         Specific Interventions
  Hematologic Toxicities                                                       • Rash: Topical or systemic steroids, dose reduction, dose
  • Chronic or accelerated phase, ANC <1.0 x 109/L, and/or platelets             interruption, or dose discontinuation.
    <50 x 109/L: Hold nilotinib and monitor blood counts. Resume within
    2 weeks at prior dose if ANC >1.0 x 109/L and platelets >50 x 109/L.
    If blood counts remain low for >2 weeks, reduce dose to 400 mg
    once daily.
  • Growth factors can be used in combination with nilotinib for patients
    with persistent neutropenia and thrombocytopenia.
  • Grade 3–4 anemia:2 Check reticulocyte count, ferritin, iron
    saturation, B12, folate, and correct nutritional deficiencies if present.
    Transfusion support should be used if patient is symptomatic.
  1 Please  refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities:
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  2 Although erythropoietin is effective, guidelines from CMS and the FDA do not support the use of ESAs in myeloid malignancies.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              4 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 25 of 97 PageID 15066
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                          MANAGEMENT OF OMACETAXINE TOXICITY1
  Dosing:
  • Resistant or intolerant CP-CML and AP-CML:
   Induction dose: The recommended initial dose is 1.25 mg/m2 twice daily for 14 consecutive days of a 28-day cycle.
   Maintenance dose: 1.25 mg/m2 twice daily for 7 consecutive days of a 28-day cycle.
  Dose Adjustments:
  Hematologic Toxicities
  • CBCs should be performed weekly during induction and initial maintenance cycles. After initial maintenance cycles, monitor CBCs every 2
    weeks or as clinically indicated. ANC <0.5 x 109/L or platelet count <50 x 109/L: Delay starting the next cycle until ANC ≥1.0 x 109/L and platelet
    count ≥50 x 109/L and reduce the number of dosing days by 2 days for the next cycle.
  Non-Hematologic Toxicities
  • Grade 3 or 4 hyperglycemia: Monitor blood glucose levels frequently, especially in patients with diabetes or risk factors for diabetes. Avoid
    omacetaxine in patients with poorly controlled DM until good glycemic control has been established.
  • Manage other clinically significant non-hematologic toxicity symptomatically. Interrupt and/or delay omacetaxine until toxicity is resolved.




  1 Please  refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities:
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.

    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              5 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 26 of 97 PageID 15067
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                              MANAGEMENT OF PONATINIB TOXICITY1
  • Arterial occlusive events (AOEs; including fatal myocardial infarction and stroke) and venous thromboembolic events (VTEs), have occurred in patients treated
    with ponatinib. Monitor for evidence of thromboembolism and vascular occlusion. Interrupt or stop ponatinib immediately for vascular occlusion.
  • Heart failure has occurred in patients treated with ponatinib. Monitor cardiac function. Interrupt or stop ponatinib for new or worsening heart failure.
  • Hepatotoxicity: Hepatotoxicity, liver failure, and death have occurred in patients treated with ponatinib. Monitor hepatic function prior to and during treatment.
    Interrupt ponatinib if hepatotoxicity is suspected.
  • Cardiovascular risk: Identify and control traditional risk factors for atherosclerosis (eg, diabetes, hypertension, hyperlipidemia, smoking, estrogen use) before
    starting ponatinib. Patients with cardiovascular risk factors should be referred to a cardiologist. Consider use of low-dose aspirin if there is no contraindication.
  • Ponatinib is also associated with grade ≥3 skin rash and pancreatitis leading to dose modifications (dose delays or dose reductions).
  Dosing:                                                                                                                                  • Serum lipase elevation, grade 1 or 2 (asymptomatic): Consider dose
  • CP-CML: The recommended initial dose is 45 mg once daily with a                                                                          interruption or reduction. Serum lipase elevation, grade 3 or 4 (>2 x IULN)
    reduction to 15 mg once daily upon achievement of BCR::ABL1 (IS) ≤1%.                                                                    (asymptomatic) or asymptomatic radiologic pancreatitis: Hold drug until
    In patients with a loss of response, the dose can be re-escalated to a                                                                   serum levels are <1.5 x IULN. Resume at lower dose after recovery (30
    previously tolerated dose of 30 mg or 45 mg once daily and continued at                                                                  mg if patient is receiving 45 mg; 15 mg if patient is receiving 30 mg).
    the re-escalated dose until loss of response or unacceptable toxicity.                                                                   Discontinue ponatinib if patient is receiving 15 mg.
  • AP-CML or BP-CML: The recommended initial dose is 45 mg once daily.                                                                    • Pancreatitis (symptomatic), grade 3: Hold drug until serum lipase levels
    Consider reducing the dose for patients with AP-CML who have achieved                                                                    are ≤grade 1. Resume at lower dose after recovery (30 mg if patient
    an MCyR. Consider discontinuing ponatinib if response has not occurred                                                                   is receiving 45 mg; 15 mg if patient is receiving 30 mg). Discontinue
    by 3 months.                                                                                                                             ponatinib if patient is receiving 15 mg. Grade 4: Discontinue ponatinib.
  Dose Adjustments:                                                                                                                        Rare But Serious Toxicities
  Hematologic Toxicities                                                                                                                   • Hemorrhage: Hemorrhagic events were reported in clinical trials. Cerebral
  • ANC <1.0 x 109/L or platelets <50 x 109/L                                                                                                and gastrointestinal hemorrhage were the most commonly reported
   First occurrence: Hold ponatinib until ANC ≥1.5 x 109/L and platelets ≥75                                                                serious bleeding events. Serious hemorrhage should be managed with
      x 109/L and resume at initial dose of 45 mg.                                                                                           dose interruption.
   Second occurrence: Hold ponatinib until ANC ≥1.5 x 109/L and platelets                                                                 • Cardiac arrhythmias: Advise patients to report signs and symptoms
      ≥75 x 109/L and resume at 30 mg.                                                                                                       suggestive of alterations in heart rate (fainting, dizziness, chest pain, or
   Third occurrence: Hold ponatinib until ANC ≥1.5 x 109/L and platelets ≥75                                                                palpitations).
      x 109/L and resume at 15 mg.                                                                                                         • Tumor lysis syndrome: Ensure adequate hydration and correct high
  • Growth factors can be used in combination with ponatinib for patients with                                                               uric acid levels prior to initiating therapy with ponatinib in patients with
    persistent neutropenia and thrombocytopenia.                                                                                             advanced phase CML.
  • Grade 3–4 anemia:2 Check reticulocyte count, ferritin, iron saturation, B12,                                                           Specific Interventions
    folate, and correct nutritional deficiencies if present. Transfusion support                                                           • Fluid retention events (ie, edema, ascites, pleural and pericardial effusion)
    should be used if patient is symptomatic.                                                                                                are managed with dose interruption, dose reduction, or discontinuation of
  Non-Hematologic Toxicities                                                                                                                 ponatinib as clinically indicated.
  • Liver transaminase >3 x IULN (grade ≥2): Monitor hepatic function. Hold                                                                • Hypertension: Monitor and manage blood pressure elevations.
    drug until serum levels are <3 x IULN. Resume at lower dose after recovery                                                             • Rash: Topical or systemic steroids, dose reduction, dose interruption, or
    (30 mg if patient is receiving 45 mg; 15 mg if patient is receiving 30 mg).                                                              dose discontinuation.
    Discontinue ponatinib if patient is receiving 15 mg.
  • AST or ALT ≥3 x IULN concurrent with bilirubin >2 x IULN and alkaline
    phosphatase <2 x IULN: Discontinue ponatinib.
  1 Please refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities: https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  2 Although erythropoietin is effective, guidelines from CMS and the FDA do not support the use of ESAs in myeloid malignancies.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              6 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 27 of 97 PageID 15068
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                                                                                              MANAGEMENT OF ASCIMINIB TOXICITY1
  Dosing:
  • Asciminib should be taken orally without food. Patients should avoid food 2 hours before and 1 hour after taking asciminib.
  • CP-CML (previously treated with ≥2 TKIs): The recommended initial dose is 80 mg orally once daily or 40 mg twice daily (at approximately 12-
    hour intervals).
  • CP-CML with T315I mutation: The recommended initial dose is 200 mg orally twice daily (at approximately 12-hour intervals).
  Dose Adjustments:
  Hematologic Toxicities
  • ANC <1.0 x 10⁹/L, and/or platelets <50 x 10⁹/L: Hold asciminib until ANC ≥1.0 x 10⁹/L and/or platelets ≥50 x 10⁹/L. Resume asciminib at starting
    dose (if resolved within 2 weeks) or at reduced dose (if resolved after 2 weeks).
  • For recurrent severe thrombocytopenia and/or neutropenia, withhold asciminib until resolved to ANC ≥1.0 x 10⁹/L and platelets ≥50 x 10⁹/L,
    then resume at reduced dose.
  Non-Hematologic Toxicities
  • Elevated serum amylase and/or lipase (>2.0 x IULN): Hold asciminib and resume asciminib at reduced dose, after serum levels return to
    <1.5 x IULN. If events reoccur at reduced dose or if serum levels do not return to <1.5 x IULN, permanently discontinue asciminib. Perform
    diagnostic tests to exclude pancreatitis.
  • Hypertension: Monitor blood pressure and manage hypertension as clinically indicated. Interrupt, dose reduce, or permanently discontinue
    asciminib if hypertension is not medically controlled.
  • Hypersensitivity: May cause hypersensitivity reactions. Monitor patients for signs and symptoms and initiate appropriate treatment as
    clinically indicated.
   Grade ≥3: Hold asciminib until recovery to grade ≤1 and resume asciminib at reduced dose. If not resolved, permanently discontinue
      asciminib.
  • Cardiovascular toxicity: Monitor patients with history of cardiovascular risk factors for cardiovascular signs and symptoms. Initiate
    appropriate treatment as clinically indicated.
   Grade ≥3: Hold asciminib until recovery to grade ≤1 and resume asciminib at reduced dose. If not resolved, permanently discontinue
      asciminib.
  Drug Interactions:
  • Strong CYP3A4 inhibitors: Closely monitor for adverse reactions during concomitant use of asciminib 200 mg twice daily dosing.
  • Itraconazole oral solution containing hydroxypropyl-β-cyclodextrin: Avoid concomitant use of asciminib at all recommended doses.
  • CYP3A4 substrates: Closely monitor for adverse reactions during concomitant use of asciminib at 80 mg total daily dose. Avoid concomitant
    use of asciminib 200 mg twice daily dosing.
  • CYP2C9 substrates: Avoid concomitant use of asciminib at all recommended doses. If concomitant use is unavoidable, reduce CYP2C9
    substrate dosage for use with asciminib 80 mg total daily dose or consider alternative therapy with non-CYP2C9 substrate for use with
    asciminib 200 mg twice daily dosing.
  • P‑glycoprotein substrates: Closely monitor for adverse reactions during concomitant use of asciminib at all recommended doses.


  1 Please refer to package insert for full prescribing information and monitoring of hematologic or biochemical abnormalities: https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                              CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                              7 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 28 of 97 PageID 15069
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                            DRUG INTERACTIONS OF TKIs WITH MOST COMMONLY USED DRUGS AND SUPPLEMENTS1,5
    Drug interactions with TKIs are not uncommon. It is always important to take a detailed medication history (including herbal supplements) at every visit.
    Drugs/                                                                                                                    Change in TKI Level
    Supplements                             Asciminib                         Bosutinib                                Dasatinib            Imatinib             Nilotinib                                                            Ponatinib
    Proton Pump                          No major                        Decrease in                              Decrease in          No major interaction Decrease in                                                           Minor decrease in
    Inhibitors (PPIs)                    interaction                     exposure                                 exposure                                  exposure                                                              exposure; Monitor
    • Lansoprazole
    • Rabeprazole
    • Esomeprazole
    • Omeprazole
    • Pantoprazole
    Histamine                            No major                        Decrease in                              Decrease in          No major interaction                    Decrease in                                        No major
    2 Receptor                           interaction                     exposure; AVOID; If                      exposure; AVOID; If                                          exposure; AVOID; If                                interaction
    Antagonists                                                          absolutely necessary                     absolutely necessary                                         absolutely necessary
    (H2RAs)                                                              consider once-daily                      consider once-daily                                          consider once-daily
    • Famotidine                                                         H2RA ≥2 hours after                      H2RA ≥2 hours after                                          H2RA ≥2 hours after
    • Ranitidine                                                         taking bosutinib                         taking dasatinib                                             or ≥10 hours before
    • Nizatidine                                                                                                                                                               taking nilotinib
    Antacids                             No major                        Decrease in                              Decrease in                             No major interaction Decrease in                                        No major
                                         interaction                     exposure if                              exposure if                                                  exposure if                                        interaction
                                                                         concomitant; Use                         concomitant; Use                                             concomitant; Use
                                                                         antacids at least 2                      antacids at least 2                                          antacids at least 2
                                                                         hours before or at                       hours before or at                                           hours before or at
                                                                         least 2 hours after                      least 2 hours after                                          least 2 hours after
                                                                         taking bosutinib                         taking dasatinib                                             taking nilotinib
    Antidepressants                      No major                        Minor increase in                        Minor increase in                       Minor increase in    AVOID if possible                                  Minor increase in
    • Fluoxetine                         interaction                     exposure; Monitor                        exposure; Monitor                       exposure; Monitor    due to cumulative                                  exposure; Monitor
    • Bupropion                                                          QTc monitoring                           QTc monitoring                          QTc monitoring       QTc prolongation risk                              QTc monitoring
    • Citalopram
    Cardiovascular                       No major                        Increase in exposure                     Increase in exposure                    Increase in                            Increase in exposure Increase in
    Medications                          interaction                     and arrhythmia risk;                     and arrhythmia risk;                    exposure;                              and arrhythmia risk; exposure;
    • Amiodarone                                                         Strongly consider                        Strongly consider                       Strongly consider                      AVOID                Strongly consider
    • Diltiazem                                                          alternative cardiac                      alternative cardiac                     alternative cardiac                                         alternative cardiac
    • Verapamil                                                          medication or TKI                        medication or TKI                       medication or TKI                                           medication or TKI
                                                                         dose adjustment                          dose adjustment                         dose adjustment                                             dose adjustment

    Note: All recommendations are category 2A unless otherwise indicated.
                                                                                                                                                                                                                                            Continued
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                                CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                                8 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 29 of 97 PageID 15070
                                                            NCCN Guidelines Version 1.2023                                                                                                                                      NCCN Guidelines Index
                                                                                                                                                                                                                                    Table of Contents
                                                            Chronic Myeloid Leukemia                                                                                                                                                       Discussion


                            DRUG INTERACTIONS OF TKIs WITH MOST COMMONLY USED DRUGS AND SUPPLEMENTS1,5
    Drug interactions with TKIs are not uncommon. It is always important to take a detailed medication history (including herbal supplements) at every visit.
    Drugs/Supplements                                                                                                                  Change in TKI Level
                                                         Asciminib                            Bosutinib                           Dasatinib            Imatinib                                             Nilotinib                   Ponatinib
    Anti-infectives                                 Increase in                          Increase in                         Increase in         Increase in                                          Increase in                  Increase in
    • Azole Antifungals                             exposure;                            exposure;                           exposure;           exposure;                                            exposure;                    exposure;
     Fluconazole ≥200 mg                           Strongly consider                    Strongly consider                   Strongly consider Strongly consider                                      Strongly consider            Strongly consider
     Voriconazole                                  alternative anti-                    alternative anti-                   alternative anti-   alternative anti-                                    alternative anti-            alternative anti-
     Itraconazole                                  infective or TKI                     infective or TKI                    infective or TKI    infective or TKI                                     infective or TKI             infective or TKI
     Posaconazole                                  dose adjustment                      dose adjustment                     dose adjustment     dose adjustment                                      dose adjustment              dose adjustment
     Isavuconazole
    • Clarithromycin
    • Telithromycin
    • Ritonavir
    Anti-infectives                                 No major                             QTc monitoring                      QTc monitoring                       No major                            Use with caution             No major
    • Fluoroquinolones                              interaction                                                                                                   interaction                                                      interaction
     Levofloxacin
     Moxifloxacin
     Ciprofloxacin
    Herbal Supplements6,7                           Increase in                          Increase in                         Increase in                          Increase in                         Increase in                  Increase in
    • Curcumin (Turmeric)                           exposure;                            exposure;                           exposure;                            exposure;                           exposure;                    exposure;
    • Ginkgo Biloba                                 Strongly consider                    Strongly consider                   Strongly consider                    Strongly consider                   Strongly consider            Strongly consider
    • Green Tea Extract                             supplement                           supplement                          supplement                           supplement                          supplement                   supplement
                                                    discontinuation                      discontinuation                     discontinuation                      discontinuation                     discontinuation              discontinuation
    Herbal Supplements6,7                           Decrease in                          Decrease in                         Decrease in                          Decrease in                         Decrease in                  Decrease in
    • St. John’s Wort                               exposure; AVOID                      exposure; AVOID                     exposure; AVOID                      exposure; AVOID                     exposure; AVOID              exposure; AVOID




  1 Please refer to package insert for full prescribing information and drug interactions: https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm.
  5 van Leeuwen RW, van Gelder T, Mathijssen RH, et al. Drug-drug interactions with tyrosine-kinase inhibitors: a clinical perspective. Lancet Oncol 2014;15:e315-e326.
  6 Zhang W, Lim LY. Effects of spice constituents on P-glycoprotein-mediated transport and CYP3A4-mediated metabolism in vitro. Drug Metab Dispos 2008;36:1283-1290.
  7 Scott GN, Elmer GW. Update on natural product–drug interactions. Am J Health Syst Pharm 2002;59:339-347.


    Note: All recommendations are category 2A unless otherwise indicated.
    Clinical Trials: NCCN believes that the best management of any patient with cancer is in a clinical trial. Participation in clinical trials is especially encouraged.
                                                                                                                                                                                                                                                 CML-G
  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network (NCCN ), All rights reserved. NCCN Guidelines and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                         ®        ®                                     ®
                                                                                                                                                                                                                                                 9 OF 9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 30 of 97 PageID 15071
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                                                                                       ABBREVIATIONS

   1G                  first-generation                                                      DLI               donor lymphocyte infusion                                                  MCyR                 major cytogenetic response
   2G                  second-generation                                                     DMR               deep molecular response                                                    MMR                  major molecular response
   3G                  third-generation
                                                                                             ECG               electrocardiogram                                                          NCI                National Cancer Institute
   ACAs                additional chromosomal                                                ELTS              EUTOS long-germ survival
                       abnormalities                                                         EMR               early molecular response                                                   PAH                pulmonary arterial hypertension
   ALL                 acute lymphoblastic leukemia                                          ESA               erythropoiesis-stimulating agent                                           PAOD               peripheral arterial occlusive
   ALT                 alanine aminotransferase                                              EURO              European System for Cardiac                                                                   disease
   AML                 acute myeloid leukemia                                                                  Operative Risk Evaluation                                                  PCyR               partial cytogenetic response
   ANC                 absolute neutrophil count                                             EUTOS             European Treatment and Outcome                                             Ph                 Philadelphia chromosome
   AOEs                arterial occlusive events                                                               Study                                                                      PPI                proton pump inhibitor
   AP-CML              accelerated phase CML
   AST                  spartate aminotransferase                                            FDA               U.S. Food and Drug Administration                                          QD                 once daily
   AUC                 area under the curve                                                  FISH              fluorescence in situ hybridization                                         qPCR               quantitative RT-PCR

   BID                 twice a day                                                           GI                gastrointestinal                                                           RT-PCR             reverse transcription polymerase
   BP-CML              blast phase CML                                                                                                                                                                       chain reaction
                                                                                             H&P               history and physical
   CBC                 complete blood count                                                  H2RA              histamine 2 receptor antagonist                                            TFR                treatment-free remission
   CCyR                complete cytogenetic response                                         HCT               hematopoietic cell transplant                                              TKI                tyrosine kinase inhibitor
   CHR                 complete hematologic response                                         HLA               human leukocyte antigen
   CML                 chronic myeloid leukemia                                                                                                                                           VTE                venous thromboembolism
   CMS                 Centers for Medicare & Medicaid                                       IS                International Scale
                       Services                                                              IULN              institutional upper limit of normal                                        WBC                white blood cell
   CNS                 central nervous system                                                IVF               in vitro fertilization                                                     WHO                World Health Organization
   CP-CML              chronic phase CML
   CrCl                creatinine clearance                                                  LVEF              left ventricular ejection fraction
   CTCAE               common terminology criteria for
                       adverse events

  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                               ABBR-1
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 31 of 97 PageID 15072
                                                             NCCN Guidelines Version 1.2023                                                                                                                                       NCCN Guidelines Index
                                                                                                                                                                                                                                      Table of Contents
                                                             Chronic Myeloid Leukemia                                                                                                                                                        Discussion


                                                             NCCN Categories of Evidence and Consensus
                         Category 1    Based upon high-level evidence, there is uniform NCCN consensus that the intervention is appropriate.
                         Category 2A Based upon lower-level evidence, there is uniform NCCN consensus that the intervention is appropriate.
                         Category 2B Based upon lower-level evidence, there is NCCN consensus that the intervention is appropriate.
                         Category 3    Based upon any level of evidence, there is major NCCN disagreement that the intervention is appropriate.
                         All recommendations are category 2A unless otherwise indicated.




                                                                                                           NCCN Categories of Preference
                                                                      Interventions that are based on superior efficacy, safety, and evidence; and, when appropriate,
                        Preferred intervention                        affordability.
                        Other recommended       Other interventions that may be somewhat less efficacious, more toxic, or based on less mature data;
                        intervention            or significantly less affordable for similar outcomes.
                        Useful in certain
                                                Other interventions that may be used for selected patient populations (defined with recommendation).
                        circumstances
                        All recommendations are considered appropriate.




  Version 1.2023, 08/05/22 © 2022 National Comprehensive Cancer Network® (NCCN®), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                                                 CAT-1
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 32 of 97 PageID 15073
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Discussion                            This discussion corresponds to the NCCN Guidelines for Chronic Myeloid Leukemia. Last updated: January 27, 2022.


  Table of Contents
  Overview ............................................................................................................................................................................................................. MS-2

  Literature Search Criteria and Guidelines Update Methodology ...................................................................................................................... MS-2

  Diagnosis and Workup ....................................................................................................................................................................................... MS-3

  Additional Evaluation ......................................................................................................................................................................................... MS-5

  Management of Chronic Phase CML ................................................................................................................................................................. MS-6

  Management of Advanced Phase CML ............................................................................................................................................................ MS-19

  Emerging Treatment Options ........................................................................................................................................................................... MS-21

  Management of CML During Pregnancy and Breastfeeding ........................................................................................................................... MS-22

  Specific Considerations for Children with CML .............................................................................................................................................. MS-24

  Immunizations .................................................................................................................................................................................................. MS-25

  References ........................................................................................................................................................................................................ MS-39




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-1
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 33 of 97 PageID 15074
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Overview                                                                                                                                 accelerated phase CML (AP-CML) or blast phase CML (BP-CML) in 3 to 5
  Chronic myeloid leukemia (CML) accounts for 15% of adult leukemias.                                                                      years on average.5 Progression to AP-CML and BP-CML bridges a
  The median age of disease onset is 67 years; however, CML occurs in all                                                                  continuum of clinical features (ie, fever, bone pain, spleen size),
  age groups (SEER statistics). In 2022, an estimated 8,860 people will be                                                                 cytogenetic changes, and blast count. Gene expression profiling has
  diagnosed with CML in the United States, and 1,220 people will die from                                                                  shown a close correlation of gene expression between AP-CML and
  the disease.1                                                                                                                            BP-CML indicating that the bulk of the genetic changes in progression
                                                                                                                                           occur in the transition from CP-CML to AP-CML.6 The activation of
  CML is defined by the presence of Philadelphia chromosome (Ph) in a                                                                      beta-catenin signaling pathway in CML granulocyte-macrophage
  patient with a myeloproliferative neoplasm (MPN). Ph results from a                                                                      progenitors (which enhances the self-renewal activity and leukemic
  reciprocal translocation between chromosomes 9 and 22 [t(9;22] that gives                                                                potential of these cells) may be a key pathobiologic event in the evolution
  rise to a BCR-ABL1 fusion gene.2 In the majority of patients, the                                                                        to BP-CML.7
  chromosomal break points are located in intron 13 or 14 of the BCR gene
  on chromosome 22 (major breakpoint cluster region; M-BCR); in the ABL1                                                                   The NCCN Guidelines for CML discuss the clinical management of CML in
  gene they are located between the two alternative ABL1 exons Ib and Ia,                                                                  all three phases (chronic, accelerated, or blast phase). Evaluation for
  or between ABL1 exons 1 and 2.3,4 Irrespective of the precise ABL1                                                                       diseases other than CML as outlined in the NCCN Guidelines for MPN is
  breakpoint, splicing almost invariably fuses ABL1 exon 2 with BCR exons                                                                  recommended for all patients with BCR-ABL1–negative MPN.
  13 or 14, resulting in e13a2 and e14a2 transcripts that code for a protein,
                                                                                                                                           Literature Search Criteria and Guidelines Update
  p210, with deregulated tyrosine kinase activity, which causes CML.                                                                       Methodology
  Unusual BCR-ABL1 transcripts, e1a2 encoding for p190 (involving the
                                                                                                                                           Prior to the update of this version of the NCCN Guidelines® for Chronic
  minor breakpoint cluster region; m-BCR), or e19a2 encoding for p230
                                                                                                                                           Myeloid Leukemia, an electronic search of the PubMed database was
  (involving the micro breakpoint cluster region; µ-BCR), are found
                                                                                                                                           performed to obtain key literature in Chronic Myeloid Leukemia since the
  infrequently.3,4 p190 is usually produced in the setting of Ph-positive acute
                                                                                                                                           last guideline update using the following search terms: chronic myeloid
  lymphoblastic leukemia (ALL), and p230 is associated with enhanced
                                                                                                                                           leukemia or chronic myelogenous leukemia. The PubMed database was
  neutrophil differentiation. Atypical BCR-ABL1 transcripts (eg, e13a3,
                                                                                                                                           chosen as it remains the most widely used resource for medical literature
  e14a3, e6a2) have also been detected in about 1% to 2% of patients with
                                                                                                                                           and indexes peer-reviewed biomedical literature.8
  CML. The proportion of different BCR-ABL1 transcripts and the impact of
  BCR-ABL1 transcript type on response to TKI therapy are discussed on                                                                     The search results were narrowed by selecting studies in humans
  MS-3.                                                                                                                                    published in English. Results were confined to the following article types:
                                                                                                                                           Clinical Trial, Phase II; Clinical Trial, Phase III; Clinical Trial, Phase IV;
  CML occurs in three different phases (chronic, accelerated, and blast
                                                                                                                                           Guideline; Randomized Controlled Trial; Meta-Analysis; Systematic
  phase) and is usually diagnosed in the chronic phase in the developed                                                                    Reviews; and Validation Studies.
  world. Untreated chronic phase CML (CP-CML) will eventually progress to

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-2
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 34 of 97 PageID 15075
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  The data from key PubMed articles selected by the panel for review during                                                                Quantitative RT-PCR (qPCR) should be done at initial workup to establish
  the Guidelines update meeting as well as articles from additional sources                                                                the presence of quantifiable BCR-ABL1 mRNA transcripts. qPCR, usually
  deemed as relevant to these Guidelines have been included in this version                                                                done on peripheral blood, is the most sensitive assay available for the
  of the Discussion section. Recommendations for which high-level                                                                          measurement of BCR-ABL1 mRNA and it can detect one CML cell in a
  evidence is lacking are based on the panel’s review of lower-level                                                                       background of ≥100,000 normal cells. qPCR results can be expressed in
  evidence and expert opinion.                                                                                                             various ways, for instance as the ratio of BCR-ABL1 transcript numbers
                                                                                                                                           to the number of control gene transcripts.13 An International Scale (IS)
  The complete details of the Development and Update of the NCCN
                                                                                                                                           has been established to standardize molecular monitoring with qPCR
  Guidelines are available at www.NCCN.org.
                                                                                                                                           across different laboratories with the use of one of three control genes
  Diagnosis and Workup                                                                                                                     (BCR, ABL1, or GUSB) and a qPCR assay with a sensitivity of at least
                                                                                                                                           4-log reduction from the standardized baseline.14 In recent years, IS has
  Initial evaluation should consist of a history and physical exam, including
                                                                                                                                           become the gold standard of expressing qPCR values. More details on
  palpation of spleen, complete blood count (CBC) with differential,
                                                                                                                                           monitoring with qPCR using IS are provided on MS-9. Qualitative RT-PCR
  chemistry profile, and hepatitis B panel. Bone marrow aspirate and biopsy
                                                                                                                                           for the detection of atypical BCR-ABL1 transcripts should be considered if
  for morphologic and cytogenetic evaluation and quantitative reverse
                                                                                                                                           there is discordance between FISH and qPCR results. See the section on
  transcriptase polymerase chain reaction (RT-PCR) to establish the
                                                                                                                                           BCR-ABL1 Transcript Variants in CML below.
  presence of quantifiable BCR-ABL1 mRNA transcripts at baseline are
  recommended to confirm the diagnosis of CML (CML-1).                                                                                     BCR-ABL1 transcripts in the peripheral blood at very low levels (1–10 out
                                                                                                                                           of 108 peripheral blood leukocytes) can be detected in approximately 30%
  Bone marrow cytogenetics should be done at initial workup to detect
                                                                                                                                           of normal individuals, and the incidence of this increases with age. The
  additional chromosomal abnormalities in Ph-positive cells (ACA/Ph+),
                                                                                                                                           risk of developing CML for these individuals is extremely low, and neither
  also known as clonal cytogenetic evolution.9 If bone marrow evaluation is
                                                                                                                                           continued monitoring nor therapy are indicated.15,16
  not feasible, fluorescence in situ hybridization (FISH) on a peripheral
  blood specimen with dual probes for BCR and ABL1 genes is an                                                                             BCR-ABL1 Transcript Variants in CML
  acceptable method to confirm the diagnosis of CML. Interphase FISH is
  performed on peripheral blood but can be associated with a                                                                               e13a2 and e14a2 transcripts (both encoding for p210) were the most
  false-positive rate of 1% to 5% depending on the specific probe used in                                                                  common BCR-ABL1 transcript variants identified in about 39% and 62%
  the assay.10 Hypermetaphase FISH is more sensitive and can analyze up                                                                    of patients, respectively; e13a2 was more frequent in males and the
  to 500 metaphases at a time, but it is applicable only to dividing cells in                                                              proportion decreased with age in both sexes.17,18 Unusual or atypical
  the bone marrow.11 Double-fusion FISH is associated with low                                                                             transcripts were identified in about 2% of patients (e1a2, e19a2, e13a3,
  false-positive rates and can detect all variant translocations of the                                                                    and e14a3 were the most frequently identified transcripts).17 The
  Ph-chromosome.12                                                                                                                         incidence of these atypical transcripts was higher in females and the
                                                                                                                                           proportion decreased with age in both genders. The presence of e14a2

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-3
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 35 of 97 PageID 15076
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  at baseline was associated with higher molecular response rates to                                                                       course in the pre-TKI era.31-33 Referral to centers with expertise in the
  imatinib.19-25 While some studies have demonstrated a trend towards                                                                      management of CML is recommended.
  better survival outcomes with e14a2 transcript,21,22 in other studies the
  type of transcript did not have any significant impact on long-term                                                                      Qualitative RT-PCR, nested RT-PCR, or Sanger sequencing are useful
  survival outcomes.20,23,26                                                                                                               for the identification of atypical BCR-ABL1 transcripts.34,35 qPCR using
                                                                                                                                           log-reduction from standardized baseline can be used to monitor e1a2
  There are very limited data regarding the impact of these transcripts on                                                                 transcripts, and monitoring e19a2 transcripts is usually performed using
  response to second-generation tyrosine kinase inhibitor (TKI)                                                                            qualitative RT-PCR or nested RT-PCR. However, there are no
  therapy.21,27 In the study that included 213 patients treated with imatinib,                                                             standardized qPCR assays for monitoring molecular response to TKI
  dasatinib, or nilotinib, the probability of achieving a cytogenetic or                                                                   therapy in patients with atypical BCR-ABL1 transcripts.36,37 The utility of
  molecular response with imatinib 400 mg was lower in patients with                                                                       multiplex PCR assays and patient-specific genomic DNA
  e13a2 transcripts and nilotinib was also associated with inferior                                                                        quantitative PCR assay for monitoring atypical BCR-ABL1 transcripts
  molecular response rates in patients with e13a2 as well as e14a2                                                                         has been demonstrated in some reports.38-42
  transcripts compared to imatinib 800 mg or dasatinib.21 The findings from
  another more recent retrospective analysis also showed that first-line                                                                   Clonal Cytogenetic Evolution
  nilotinib results in lower rates of deep molecular responses (DMRs) in                                                                   The prognostic significance of ACA/Ph+ is related to the specific
  patients with e13a2 transcripts.27 These findings suggest that initial                                                                   chromosomal abnormality and other features of accelerated phase.43-47
  treatment with imatinib 800 mg or dasatinib might be beneficial for                                                                      The presence of “major route” ACA/Ph+ (trisomy 8, isochromosome 17q,
  patients with e13a2 transcripts, although this finding needs to be                                                                       second Ph, and trisomy 19) at diagnosis may have a negative prognostic
  confirmed in a prospective study.                                                                                                        impact on survival and disease progression to accelerated or blast
                                                                                                                                           phase.48-51 However, in a more recent analysis that evaluated the
  The presence of e1a2 transcript (encoding for p190) is associated with
                                                                                                                                           outcomes of patients with CP-CML (with or without ACA) treated with TKI
  higher risk of disease progression and inferior cytogenetic and molecular
                                                                                                                                           therapy in prospective studies, the presence of ACA/Ph+ at the time of
  responses to TKI therapy.28-32 In a multivariate analysis, e1a2 transcript
                                                                                                                                           diagnosis was not associated with worse prognosis.52 Survival outcomes
  was also identified as an independent predictor of inferior survival
                                                                                                                                           were not statistically significantly different among patients with ACA/Ph+
  outcomes.30 It is important to be aware that these data refer to the
                                                                                                                                           based on TKI therapy (imatinib vs. second-generation TKIs) or imatinib
  presence of dominant e1a2 transcript, not to the presence of low-level
                                                                                                                                           dose (400 mg vs. 800 mg). It remains uncertain if second-generation TKIs
  e1a2 transcripts in patients with dominant e13a2 or e14a2 transcripts.
                                                                                                                                           or high-dose imatinib would be more beneficial for patients with ACA/Ph+.
  The presence of e19a2 transcript (encoding for p230) is associated with
                                                                                                                                           Patients with ACA/Ph+ at diagnosis should be watched carefully for
  lower rates of cytogenetic and molecular response to TKIs and inferior
                                                                                                                                           evidence of therapy failure.
  survival outcomes, despite previous reports of an indolent disease



  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-4
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 36 of 97 PageID 15077
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Clonal cytogenetic evolution in Ph-negative cells has also been reported in                                                              in clinical trials evaluating TKIs (CML-A).73,74 The Sokal score is based on
  a small subset of patients treated with TKI therapy.53-64 The most common                                                                the patient’s age, spleen size on clinical exam, platelet count, and
  abnormalities include trisomy 8 and loss of Y chromosome. Previous work                                                                  percentage of blasts in the peripheral blood.73 The Euro score includes
  suggested that the overall prognosis of Ph-negative CML with clonal                                                                      eosinophils and basophils in the peripheral blood in addition to the same
  evolution is good and is dependent on response to imatinib therapy.57                                                                    clinical variables used in the Sokal score.74
  Recently, however, the presence of chromosome abnormalities other than
  loss of Y chromosome has been associated with decreased survival in                                                                      The European Treatment and Outcome Study long-term survival (ELTS)
  patients with CP-CML treated with various TKIs, suggesting that closer                                                                   score is based on the same variables as the Sokol score and provides the
  follow-up is indicated.65 Progression to myelodysplastic syndromes (MDS)                                                                 most useful predictor of CML-related death in patients treated with first-line
  and acute myeloid leukemia (AML) have been reported in patients with                                                                     imatinib.75 The ELTS score has been validated in a cohort of 1120 patients
  monosomy 7 (del 7q).66-68                                                                                                                with CP-CML treated with imatinib in six clinical trials. Higher age, higher
                                                                                                                                           peripheral blasts, bigger spleen, and low platelet counts were significantly
  Role of NGS                                                                                                                              associated with increased probabilities of dying of CML. Patients in the
                                                                                                                                           intermediate- and the high-risk group had significantly higher probabilities
  NGS allows for the detection of low-level BCR-ABL1 kinase domain
                                                                                                                                           of dying of CML than those in the low-risk group, and the probabilities
  mutations as well as resistance mutations in genes other than
                                                                                                                                           were also significantly different between the intermediate- and high-risk
  BCR-ABL1 that may confer resistance to TKIs or portend disease
                                                                                                                                           groups. Unlike other scoring systems, the ELTS score is focused on
  progression.69-72 In a recent, prospective, multicenter study
                                                                                                                                           CML-specific overall survival (OS). This is important, as many patients
  (NEXT-in-CML) that assessed the feasibility of NGS in detection of
                                                                                                                                           with CML die from non-CML causes, reflecting the efficacy of TKI therapy.
  low-level mutations in 236 consecutive patients with CML and
  inadequate response to TKI therapy, NGS was more effective than                                                                          Determination of risk score using either the Sokal or Euro or ELTS scoring
  conventional Sanger sequencing in the detection of low-level                                                                             systems prior to initiation of TKI therapy is recommended for patients
  mutations.72 Prospective monitoring of mutation kinetics demonstrated                                                                    diagnosed with CP-CML.73-75
  that TKI-resistant low-level mutations are invariably selected if the
  patients are not switched to another TKI or if they are switched to an                                                                   Advanced Phase CML (CML-1)
  inappropriate TKI or TKI dose.72 NGS with myeloid mutation panel should
                                                                                                                                           The modified MD Anderson Cancer Center criteria for AP-CML (15% and
  be considered for patients with no identifiable BCR-ABL1 mutations.
                                                                                                                                           29% peripheral blood or bone marrow myeloblasts; ≥30% or more of
                                                                                                                                           peripheral blood myeloblasts and promyelocytes; ≥20% of peripheral
  Additional Evaluation
                                                                                                                                           blood or bone marrow basophils; platelet count ≤100 x 109/L unrelated to
  Chronic Phase CML (CML-1)
                                                                                                                                           therapy; and clonal cytogenetic evolution in Ph+ cells) are used in many
  Sokal and Hasford (Euro) scoring systems have been used for the risk                                                                     clinical trials that have evaluated the efficacy of TKIs (CML-B).76 The
  stratification of patients into three risk groups (low, intermediate, and high)                                                          revised 2017 WHO diagnostic criteria for AP-CML include a “provisional”

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-5
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                       Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 37 of 97 PageID 15078
                                                          NCCN Guidelines Version 1.2023
                                                          Chronic Myeloid Leukemia

  response to TKI criteria in addition to hematologic and cytogenetic                                                      imatinib, generally result in faster cytogenetic and molecular responses,
  criteria.77 These diagnostic criteria require validation in prospective clinical                                         with less progression to advanced phase CML; and 3) as of yet, in
  trials. AP-CML defined only by clonal cytogenetic evolution on imatinib                                                  randomized clinical trials, there are no significant differences in OS in
  therapy is associated with a better prognosis than AP-CML defined by                                                     patients who initiate imatinib versus a second-generation TKI (dasatinib,
  clonal cytogenetic evolution and additional features of progression.48,78                                                nilotinib, and bosutinib).

  The International Bone Marrow Transplant Registry (IBMTR) criteria define                                                The selection of first-line TKI therapy (bosutinib, dasatinib, imatinib, or
  blast phase as the presence of ≥30% myeloblasts in the blood, bone                                                       nilotinib) in a given patient should be based on the risk score, toxicity
  marrow, or both, or as the presence of extramedullary disease (CML-B).79                                                 profile, patient’s age, ability to tolerate therapy, and the presence of
  Any increase in lymphoblasts should be concerning for nascent lymphoid                                                   comorbid conditions. Allogeneic HCT is no longer recommended as a
  blast phase disease. IBMTR criteria were used in most of the clinical trials                                             first-line treatment for patients with CP-CML.
  leading to the approval of TKIs, and is best aligned with prognostication
  systems derived from these studies. The WHO diagnostic criteria                                                          Clinical Considerations for the Selection of First-Line Therapy
  (presence of ≥20% blast cells in the peripheral blood or bone marrow, the                                                Risk Stratification
  presence of extramedullary blast proliferation, and large foci or clusters of                                            Imatinib (400 mg daily) and second-generation TKIs (bosutinib [400 mg
  blasts in the bone marrow biopsy) were included in some reports.77                                                       daily], dasatinib [100 mg once daily], and nilotinib [300 mg twice daily])
  However, as clinical trials in the TKI era have almost uniformly utilized                                                are all appropriate options for first-line TKI therapy for patients with
  modified MD Anderson Cancer Center or IBMTR criteria, the use of WHO                                                     CP-CML across all risk scores.80-83
  criteria for staging is disfavored.
                                                                                                                           Data from randomized phase III studies that have evaluated high-dose
  Flow cytometry to determine cell lineage, mutational analysis, and                                                       imatinib as first-line therapy for CP-CML suggest that imatinib 800 mg
  human leukocyte antigen (HLA) testing, if considering allogeneic                                                         was not associated with lower rates of disease progression than imatinib
  hematopoietic cell transplant (HCT), are recommended for patients with                                                   400 mg in any of these studies, despite improved early responses (Table
  advanced phase CML.                                                                                                      2).84-86 Imatinib 800 mg was also associated with higher rates of dose
                                                                                                                           interruption, reduction, or discontinuation due to grade 3 or 4 adverse
  Management of Chronic Phase CML                                                                                          events in all of the studies. However, patients who were able to tolerate
  Primary Treatment (CML-2)                                                                                                the higher dose of imatinib achieved higher response rates than those
  Long-term efficacy data from randomized phase III studies for first-line                                                 receiving standard-dose imatinib.87 Imatinib 800 mg is not recommended
  TKI therapy in patients with newly diagnosed CP-CML are summarized in                                                    as initial therapy, given the recent data showing superior efficacy of
  Table 1.80-83 In summary, 1) all TKIs recommended are highly effective in                                                second-generation TKIs in newly diagnosed CP-CML.
  newly diagnosed CP-CML, with long-term OS expected to be similar to                                                                       Disease progression is more frequent in patients with intermediate- or
  that of aged-matched controls; 2) second-generation TKIs, compared to                                                                     high-risk score, and prevention of disease progression to AP-CML or
  Version 1.2023 © 2022 National Comprehensive Cancer Network©        ©
                                                                 (NCCN ), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-6
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 38 of 97 PageID 15079
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  BP-CML is the primary goal of TKI therapy in patients with CP-CML.                                                                       Bosutinib
  Second-generation TKIs are associated with lower risk of disease                                                                         In the BFORE study, diarrhea, increased alanine aminotransferase (ALT),
  progression than imatinib and are therefore preferred for patients with an                                                               and aspartate aminotransferase (AST) were more common with bosutinib
  intermediate- or high-risk Sokal or Euro score. Second-generation TKIs                                                                   whereas muscle spasms and peripheral edema were more common with
  also result in quicker molecular responses and higher rates of major                                                                     imatinib.82 Grade 3/4 thrombocytopenia was higher with bosutinib and
  molecular response (MMR; ≤0.1% BCR-ABL1 IS) and DMR (MR4.0                                                                               grade 3/4 neutropenia was higher with imatinib. Grade 3/4 anemia was
  [≤0.01% BCR-ABL1 IS] or MR4.5 [≤0.0032% BCR-ABL1 IS]) in patients                                                                        similar in both groups. Discontinuation of therapy due to drug-related
  with CP-CML across all risk scores (Table 3A), which may facilitate                                                                      adverse events occurred in 14% of patients in the bosutinib group
  subsequent discontinuation of TKI therapy in selected patients.81-83 In the                                                              compared to 11% in the imatinib group. Increased ALT (5%) and
  ENESTnd study, nilotinib was also associated with lower rates of disease                                                                 increased AST (2%) were the most common adverse events leading to
  progression and higher PFS rates in patients with intermediate- and                                                                      discontinuation of bosutinib. However, there were no hepatotoxicity-related
  high-risk score (Table 3B).83                                                                                                            fatalities during the study.

  Therefore, second-generation TKIs may be preferred over imatinib for                                                                     Dasatinib
  younger patients, particularly females since the achievement of a deep
                                                                                                                                           In the DASISION study, the incidences of grade 3/4 hematologic
  and rapid molecular response may allow for eventual safe interruption of
                                                                                                                                           toxicities (anemia, neutropenia, and thrombocytopenia) were higher for
  TKI therapy for fertility purposes. Imatinib may be preferred for older
                                                                                                                                           dasatinib than imatinib.81 Nonhematologic adverse events such as
  patients with comorbidities, especially cardiovascular comorbidities.
                                                                                                                                           muscle spasms, peripheral edema, and hypophosphatemia were more
  Toxicity Profile                                                                                                                         frequent with imatinib. Discontinuation of therapy because of
  All the TKIs are generally well tolerated. Since bosutinib, dasatinib, and                                                               drug-related adverse events occurred in 16% and 7% of patients in the
  nilotinib have very good efficacy in the upfront setting, differences in their                                                           dasatinib and imatinib arms, respectively. Dasatinib is associated with
  potential toxicity profiles may inform the selection of a specific TKI as initial                                                        significant but reversible inhibition of platelet aggregation that may
  therapy. Nilotinib or bosutinib may be preferred for patients with a history                                                             contribute to bleeding in some patients, especially if accompanied by
  of lung disease or deemed to be at risk of developing pleural effusions.                                                                 thrombocytopenia.88
  Dasatinib or bosutinib may be preferred in patients with a history of
                                                                                                                                           Pleural effusion was also more common with dasatinib (28% in the
  arrhythmias, heart disease, pancreatitis, or hyperglycemia.
                                                                                                                                           DASISION study compared to <1% with imatinib and 33% in a dose
  Adverse events of first-line TKI therapy in patients with CP-CML reported                                                                optimization study) and age has been identified as a significant risk factor
  in phase III randomized studies are discussed below and are also                                                                         for the development of pleural effusion.89 The occurrence of pleural
  summarized in Table 4. See CML-F for the management of toxicities                                                                        effusion is significantly reduced with dasatinib 100 mg once daily
  associated with TKI therapy.                                                                                                             compared with 70 mg twice daily. Patients with prior cardiac history, with
                                                                                                                                           hypertension, and receiving dasatinib 70 mg twice daily are at increased

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-7
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 39 of 97 PageID 15080
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  risk of developing pleural effusions.90 Close monitoring and timely                                                                      pancreatitis may be at greater risk of elevated serum lipase. The overall
  intervention are necessary for patients at risk of developing pleural                                                                    incidences of adverse events leading to discontinuation of therapy were
  effusions.                                                                                                                               comparable in the nilotinib 300 mg twice-daily and imatinib arms (12% and
                                                                                                                                           14%, respectively) and slightly higher in the nilotinib 400 mg twice-daily
  Largely reversible pulmonary arterial hypertension has been reported as a                                                                arm (20%).
  rare but serious side effect of dasatinib.91-93 In the DASISION study,
  pulmonary hypertension was reported in 5% of patients treated with                                                                       Nilotinib labeling contains a black box warning regarding the risk of QT
  dasatinib compared to <1% of patients treated with imatinib.81 Evaluation                                                                interval prolongation, and sudden cardiac death has been reported in
  for signs and symptoms of underlying cardiopulmonary disease prior to                                                                    patients receiving nilotinib.93 QT interval prolongation could be managed
  initiating and during treatment with dasatinib is recommended. If                                                                        with dose reduction. Electrolyte abnormalities should be corrected prior to
  pulmonary arterial hypertension is confirmed, dasatinib must be                                                                          initiation of treatment with nilotinib and electrolytes should be monitored
  permanently discontinued.                                                                                                                periodically. Drugs that prolong QT interval should be avoided.
                                                                                                                                           Electrocardiogram (ECG) should be obtained to monitor the QT interval at
  Imatinib                                                                                                                                 baseline, 7 days after initiation of nilotinib, and periodically thereafter, as
  Chronic fatigue (often correlated with musculoskeletal pain and muscular                                                                 well as following any dose adjustments. Patients with cardiovascular risk
  cramps) is a major factor reducing quality of life.94 Hypophosphatemia and                                                               factors should be referred to a cardiologist.
  decrease in bone mineral density have been noted in a small group of
  patients, suggesting that monitoring bone health should be considered for                                                                Nilotinib is associated with an increased risk of peripheral arterial
  patients taking imatinib.95,96 Skin hypopigmentation has also been reported                                                              occlusive disease (PAOD).100-104 Patients should be evaluated for
  as a side effect of imatinib and is reversible upon discontinuation or dose                                                              pre-existing PAOD and vascular risk factors prior to initiating and during
  reduction.97,98 Reversible renal dysfunction with prolonged use of imatinib                                                              treatment with nilotinib. If PAOD is confirmed, nilotinib should be
  has also been reported.99                                                                                                                permanently discontinued.

  Nilotinib                                                                                                                                Management of Hematologic Toxicities of TKI Therapy
                                                                                                                                           Cytopenias (anemia, neutropenia, and thrombocytopenia) should be
  In the ENESTnd study, rates of nonhematologic adverse events such as
                                                                                                                                           managed with transient interruptions of TKI therapy and dose
  nausea, diarrhea, vomiting, muscle spasm, and peripheral edema of any
                                                                                                                                           modifications. Please see the package insert for full prescribing
  grade were higher for patients receiving imatinib. Conversely, rash and
                                                                                                                                           information, available at www.accessdata.fda.gov, for the recommended
  headache were more common with nilotinib.83 Grade 3 or 4 neutropenia
                                                                                                                                           dose modifications of specific TKI therapy.
  was more frequently observed in the imatinib group, whereas
  thrombocytopenia and anemia were similar in both groups. Electrolyte                                                                     Assessment of reticulocyte count, ferritin, iron saturation, vitamin B12,
  abnormalities and elevations in lipase, glucose, and bilirubin were more                                                                 and folate and correction of nutritional deficiencies if present is
  frequent with nilotinib than with imatinib. Patients with a previous history of                                                          recommended for patients with grade 3–4 anemia. Red blood cell

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-8
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 40 of 97 PageID 15081
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  transfusions are indicated in symptomatic patients. Myeloid growth factor                                                                qPCR is the only tool capable of monitoring responses after the patient
  support can be used in combination with TKI therapy for the                                                                              has achieved CCyR, since BCR-ABL1 transcripts typically remain
  management of neutropenia.105,106 The use of erythropoiesis-stimulating                                                                  detectable after CCyR is achieved. A major advantage of qPCR is the
  agents (ESAs) did not impact survival or cytogenetic response rate, but                                                                  strong correlation between the results obtained from the peripheral blood
  was associated with a higher thrombosis rate in patients with CP-CML.107                                                                 and the bone marrow, allowing for molecular monitoring without bone
  Recent guidelines from the U.S. Centers for Medicare & Medicaid                                                                          marrow aspirations.113,114
  Services (CMS) and the FDA do not support the use of ESAs in patients
                                                                                                                                           Standardization of Molecular Monitoring Using the International Scale
  with myeloid malignancies.
                                                                                                                                           In the IS, the standardized baseline (defined as the average expression of
  Monitoring Response to TKI Therapy                                                                                                       BCR-ABL1 transcripts in 30 patients with untreated CML enrolled in the
                                                                                                                                           IRIS trial) is set to 100%. Molecular response is expressed as
  Response to TKI therapy is determined by the measurement of
                                                                                                                                           log-reduction from 100%. For example, a 2-log reduction or greater (≤1%
  hematologic (normalization of peripheral blood counts), cytogenetic
                                                                                                                                           BCR-ABL1 IS; MR2.0) generally correlates with CCyR and a ≥3-log
  (decrease in the number of Ph-positive metaphases using bone marrow
                                                                                                                                           reduction (≤0.1% BCR-ABL1 IS) is referred to as MMR or MR3.0.14,115,116
  cytogenetics), and molecular assessments (decrease in the amount of
  BCR-ABL1 chimeric mRNA using qPCR). The criteria for hematologic,                                                                        DMR is defined by the assay's level of sensitivity [≤0.01% BCR-ABL1 (IS),
  cytogenetic, and molecular response are summarized in CML-D.                                                                             MR4.0; ≤0.0032% BCR-ABL1 (IS), MR4.5].117 The sensitivity of a qPCR
                                                                                                                                           assay depends not only on the performance of the assay, but also on the
  Conventional bone marrow cytogenetics is the standard method for
                                                                                                                                           quality of a given sample.
  monitoring cytogenetic responses, and many clinical trial response
  analyses have been based on conventional bone marrow cytogenetics.                                                                       As such, the term “complete molecular response” to denote undetectable
  With the advent of qPCR, bone marrow cytogenetic analyses to assess                                                                      BCR-ABL1 transcripts (a negative qPCR test) should be abandoned, as
  response are rarely performed at this time. If conventional bone marrow                                                                  it may refer to very different levels of response, dependent on the quality
  cytogenetics yield no analyzable metaphases, cytogenetic response can                                                                    of the sample and sensitivity of the test. Laboratories can use their
  be evaluated by FISH, preferably with a dual color probe to minimize                                                                     individual assays, but the BCR-ABL1 transcripts obtained in a given
  false-positive rates. FISH and cytogenetic results are correlated, but are                                                               laboratory should be converted to the IS by applying a laboratory-specific
  not superimposable.108-110 Although some investigators have reported that                                                                conversion factor (CF).14,118
  interphase FISH can be used to monitor complete cytogenetic response
  (CCyR), endpoints for TKI failure have not been defined on the basis of                                                                  Recommendations for Monitoring Response to TKI Therapy
  FISH analysis.111,112 The panel feels that FISH has been inadequately                                                                    qPCR (IS) is the preferred method to monitor response to TKI therapy.
  studied for monitoring response to TKI therapy and is not generally                                                                      qPCR assays with a sensitivity of ≥4.5-log reduction from the standardized
  recommended for monitoring response if conventional cytogenetics or                                                                      baseline are recommended for the measurement of BCR-ABL1 transcripts
  qPCR are available.                                                                                                                      (CML-C). In patients with prolonged myelosuppression who may not be in

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-9
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 41 of 97 PageID 15082
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  complete hematologic response (CHR) due to persistent cytopenias or                                                                      at 3 months.123 From a practical perspective, it is important to consider
  unexplained drop in blood counts during therapy, bone marrow                                                                             these data points within the clinical context. For instance, if BCR-ABL1
  cytogenetics is indicated to confirm response to TKI therapy and exclude                                                                 transcript level is minimally above the 10% cutoff (e.g. 11% to 15% at 3
  other pathology, such as MDS or the presence of chromosomal                                                                              months), it is reasonable to re-assess at 6 months before considering
  abnormalities other than Ph.                                                                                                             major changes to the treatment strategy.

  Monitoring with qPCR (IS) every 3 months is recommended for all patients                                                                 Quite recently, studies have suggested that the rate of decline in
  after initiating TKI therapy, including those who meet response milestones                                                               BCR-ABL1 transcripts correlates with longer-term response.124-126 Among
  at 3, 6, and 12 months (≤10% BCR-ABL1 IS at 3 and 6 months, ≤1%                                                                          patients with >10% BCR-ABL1 IS after 3 months of treatment with
  BCR-ABL1 IS at 12 months, and ≤0.1% BCR-ABL1 IS at >12 months).                                                                          imatinib, those with a faster decline in BCR-ABL1 (BCR-ABL1 halving
  After CCyR (≤1% BCR-ABL1 IS) has been achieved, molecular monitoring                                                                     time <76 days) had a superior outcome compared to those with a slower
  is recommended every 3 months for 2 years and every 3 to 6 months                                                                        decline (4-year PFS rate was 92% vs. 63%, respectively).124 In the
  thereafter.                                                                                                                              German CML IV study, lack of a half-log reduction of BCR-ABL1
                                                                                                                                           transcripts at 3 months was associated with a higher risk of disease
  Frequent molecular monitoring with qPCR (IS) can help to identify                                                                        progression on imatinib therapy.125 The results of the D-First study also
  non-adherence to TKI therapy early in the treatment course.119 Since                                                                     showed that in patients treated with dasatinib, BCR-ABL1 halving time of
  adherence to TKI therapy is associated with better clinical outcomes,                                                                    ≤14 days was a significant predictor of MMR by 12 months and DMR
  frequent molecular monitoring is essential if there are concerns about the                                                               (MR4.0; ≤0.01% BCR-ABL1 IS) by 18 months.126
  patient's adherence to TKI therapy. In patients with deeper molecular                                                                    Achievement of CCyR or ≤1% BCR-ABL1 IS within 12 months after
  responses (MMR and better) and who are compliant with TKI therapy, the                                                                   first-line TKI therapy is an established prognostic indicator of long-term
  frequency of molecular monitoring can be reduced, though the optimal                                                                     survival.127,128 In the IRIS study, the estimated 6-year PFS rate was 97%
  frequency is unknown. Molecular monitoring of response to TKI therapy                                                                    for patients achieving a CCyR at 6 months compared to 80% for patients
  more frequently than every 3 months is not presently recommended.                                                                        with no cytogenetic response at 6 months.127 In an analysis of patients
                                                                                                                                           with newly diagnosed CP-CML treated with imatinib or
  Prognostic Significance of Cytogenetic and Molecular Response
                                                                                                                                           second-generation TKIs, the 3-year event-free survival (EFS) and OS
  Early molecular response (EMR; ≤10% BCR-ABL1 IS at 3 and 6 months)                                                                       rates were 98% and 99% for patients who achieved CCyR at 12 months
  after first-line TKI therapy has emerged as an effective prognosticator of                                                               compared to 67% and 94% in patients who did not achieve a CCyR.128
  favorable long-term PFS and OS (Table 5).81,83,86,120 Some reports
                                                                                                                                           MMR (≤0.1% BCR-ABL1 IS) as a predictor of PFS and OS has also been
  suggest that EMR at 3 months has a superior prognostic value and
                                                                                                                                           evaluated in several studies.113,129-135 In all of these studies, the analyses
  supports the use of early intervention strategies based on the BCR-ABL1
                                                                                                                                           were done for different outcomes measures at multiple time points, but
  transcript level at 3 months.121,122 However, other studies yielded partially
                                                                                                                                           failed to adjust for multiple comparisons, thereby reducing the validity of
  conflicting results regarding the predictive value of BCR-ABL1 transcripts
                                                                                                                                           the conclusions. The general conclusion from these studies is that the

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-10
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 42 of 97 PageID 15083
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  achievement of MMR is associated with durable long-term cytogenetic                                                                      clinical context, before making drastic changes to the treatment strategy,
  remission and lower rate of disease progression, but MMR is not a                                                                        especially in ambiguous situations.
  significant predictor of superior OS in patients who are in stable CCyR.
  Importantly, with longer follow-up, CCyR becomes an ever-stronger                                                                        The panel has included ≤10% BCR-ABL1 IS at 3 and 6 months after
  indicator of MMR, reducing the added prognostic value of MMR.                                                                            initiation of first-line TKI therapy as a response milestone, since the
  Although the CML IV study showed that MR4.5 (≤0.0032% BCR-ABL1                                                                           achievement of EMR after first-line TKI therapy is an effective
  IS) at 4 years was associated with a significantly higher OS (independent                                                                prognosticator of favorable long-term PFS. Achievement of >0.1%–1%
  of therapy) than MR2.0 (≤1% BCR-ABL1 IS which corresponds to CCyR),                                                                      BCR-ABL1 IS (≤1% BCR-ABL1 IS, which correlates with CCyR) is
  this study demonstrated no significant differences in OS in patients who                                                                 considered the optimal response milestone at 12 months if the goal of
  achieved MMR (≤0.1% BCR-ABL1 IS) and those who achieved MR2.0                                                                            therapy in an individual patient is long-term survival, whereas the
  (≤1% BCR-ABL1 IS).134                                                                                                                    achievement of MMR (≤0.1% BCR-ABL1 IS) at 12 months should be
                                                                                                                                           considered as the optimal response milestone if the treatment goal in an
  The absence of MMR in the presence of a CCyR is therefore not                                                                            individual patient is TFR. Patients who achieve these response milestones
  considered a treatment failure. While some investigators have reported                                                                   are considered to have TKI-sensitive disease, and continuation of the
  that dose escalation of imatinib might benefit patients in CCyR with no                                                                  same dose of TKI and assessment of BCR-ABL1 transcripts with qPCR
  MMR,136 there are no randomized studies to show that a change of                                                                         (IS) every 3 months is recommended for this group of patients.
  therapy would improve survival, PFS, or EFS in this group of patients.137
  However, the achievement of MMR (≤0.1% BCR-ABL1 IS) at 12 months                                                                         In patients with a >10% BCR-ABL1 IS at 3 months and >1% BCR-ABL1 IS
  is associated with a very low probability of subsequent loss of response                                                                 at 12 months, clinical judgment should be used, considering problems with
  and a high likelihood of achieving a subsequent DMR (MR4.0; ≤0.01%                                                                       adherence (which can be common given drug toxicity at initiation of
  BCR-ABL1 IS), which may facilitate discontinuation of TKI therapy.37,135                                                                 therapy), rate of decline in BCR-ABL1 (the faster, the better), and how far
  In view of the ongoing evolution of treatment goals (OS vs.                                                                              from the cutoff the BCR-ABL1 value falls. That being said, failure to
  treatment-free remission [TFR]), expert panels have emphasized the                                                                       achieve ≤10% BCR-ABL1 IS at 3 months or ≤1% BCR-ABL1 IS at 12
  importance of joint decision-making between patient and provider,                                                                        months is associated with a higher risk for disease progression. Patients
  particularly in ambiguous situations.138                                                                                                 with >10% BCR-ABL1 at 3 months or >1% BCR-ABL1 at 12 months can
                                                                                                                                           continue the same dose of dasatinib, nilotinib, or bosutinib for another 3
  Response Milestones After First-Line TKI Therapy (CML-3)                                                                                 months. BCR-ABL1 mutational analysis and evaluation for allogeneic HCT
                                                                                                                                           should be considered. Bone marrow cytogenetics should be considered to
  The most important goals of TKI therapy are to prevent disease
                                                                                                                                           assess for major cytogenetic response (MCyR) at 3 months or CCyR at 12
  progression to AP-CML or BP-CML and to achieve either MR2.0 (≤1%
                                                                                                                                           months.
  BCR-ABL1 IS, which corresponds to CCyR) or MMR (≤0.1% BCR-ABL1
  IS) within 12 months after first-line TKI therapy. The guidelines emphasize                                                              In patients with >0.1%–1% BCR-ABL1 IS at 12 months, shared
  that achievement of response milestones must be interpreted within the                                                                   decision-making is recommended depending on the goal of therapy in

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-11
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 43 of 97 PageID 15084
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  individual patients (longer-term survival vs. TFR). As discussed before,                                                                 effective treatment options for patients with CP-CML intolerant or resistant
  although not associated with increased OS, MMR at 12 months is                                                                           to imatinib.146-148 Bosutinib also has demonstrated activity in patients with
  associated with lower rate of disease progression and a higher likelihood                                                                CP-CML resistant to multiple TKIs (imatinib, dasatinib, and nilotinib).149,150
  of achieving DMR, which is a prerequisite for TFR. Switching to a                                                                        Ponatinib and asciminib (specifically targeting the ABL myristoyl pocket
  second-generation TKI from imatinib might be considered to increase the                                                                  [STAMP] inhibitor) are active against most of the resistant BCR-ABL1
  probability of achieving MMR (≤0.1% BCR-ABL1 IS) at 12 months.                                                                           kinase domain mutants including T315I.151-154 Long-term efficacy data from
  However, there is a possibility that a switch will be associated with                                                                    phase II/III studies on second-line and subsequent TKI therapy for
  increased toxicity. Referral to specialized CML centers and/or enrollment                                                                CP-CML are summarized in Table 6.146,147,149,151,154
  in a clinical trial should be considered.
                                                                                                                                           Ponatinib was initially approved as a treatment option for patients with a
  Patients with >10% BCR-ABL1 IS at 6 and 12 months are considered to                                                                      T315I mutation and/or for patients for whom no other TKI is indicated
  have TKI-resistant disease. Evaluation for allogeneic HCT (that is, a                                                                    based on the results of the PACE trial (Table 6).151 The recommended
  discussion with a transplant specialist, which might include HLA testing) is                                                             initial dose of ponatinib was 45 mg once daily. The high-dose intensity of
  recommended. Alternate treatment options should be considered as                                                                         ponatinib has been associated with increased risk of arterial occlusive
  described below.                                                                                                                         events (AOE) and the incidence of cardiovascular adverse events was
                                                                                                                                           highest among patients with preexisting cardiovascular risk
  Second-Line Therapy                                                                                                                      factors.151,155-157 In the PACE trial, serious AOE (cardiovascular,
  Dose escalation of imatinib up to 800 mg daily has been shown to                                                                         cerebrovascular, and peripheral vascular) and venous thromboembolic
  overcome some cases of primary resistance and is particularly effective                                                                  events occurred in 31% and 6% of patients, respectively.151
  for cytogenetic relapse in patients who had achieved cytogenetic response                                                                Cardiovascular, cerebrovascular, and peripheral AOEs were reported in
  with imatinib 400 mg daily, although the duration of responses has                                                                       16%, 13%, and 14% of patients, respectively.
  typically been short.139-142 However, it is unlikely to benefit patients with
                                                                                                                                           Recent reports (including the OPTIC trial) suggest that substantial
  hematologic failure or those who never had a cytogenetic response with
                                                                                                                                           responses can be observed at lower dose levels (30 mg or 15 mg) with
  imatinib 400 mg daily. In patients with >10% BCR-ABL1 IS at 3 months
                                                                                                                                           decreased incidence of cardiovascular events and responses were
  after imatinib 400 mg, switching to nilotinib or dasatinib has been shown to
                                                                                                                                           maintained in most of the patients independent of the dose
  result in higher rates of MMR at 12 months than dose escalation of
                                                                                                                                           reductions.151,152,158
  imatinib.143-145 Although dose escalation of imatinib has been shown to be
  beneficial for patients in CCyR without MMR, no randomized studies have                                                                  In the OPTIC trial that evaluated the safety and efficacy of
  shown that a change of therapy would improve PFS or EFS in this group                                                                    response-adjusted dosing regimen, patients were randomized to ponatinib
  of patients.136,137 Dasatinib, nilotinib, and bosutinib, which are more potent                                                           starting doses of 45 mg, 30 mg, and 15 mg, with dose reduction to 15 mg
  than imatinib in vitro and retain activity against many of the                                                                           with achievement of ≤1% BCR-ABL1 (IS).152 Ponatinib was effective at all
  imatinib-resistant BCR-ABL1 kinase domain mutants except T315I, are                                                                      3 dose levels (45 mg, 30 mg, and 15 mg) with the maximum benefit

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-12
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 44 of 97 PageID 15085
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  observed with 45 mg. After a median follow-up of 32 months, BCR-ABL1                                                                     higher with bosutinib. AOEs were reported in 3% and 1% of patients
  (IS) ≤1% at 12 months was achieved in 44% of patients in the 45 mg                                                                       treated with asciminib and bosutinib, respectively. Patients with a history
  cohort compared to 29% and 23% in the 30 mg and 15 mg cohorts,                                                                           of cardiovascular risk factors for cardiovascular signs and symptoms
  respectively. The estimated 24-month PFS rate was 80%, 76%, and 78%                                                                      should be carefully monitored and appropriate treatment should be
  in the 3 cohorts, respectively and the estimated 24-month OS rate was                                                                    initiated as clinically indicated. The recommended initial dose of asciminib
  more than 90% in all 3 cohorts. The rate of any AOE reported in the                                                                      is 80 mg once daily or 40 mg twice daily in patients without a T315I
  OPTIC trial (10% in the 45 mg cohort; 5% and 3% in the 30 mg and 15 mg                                                                   mutation and 200 mg twice daily for patients with a T315I mutation. In the
  cohorts, respectively) was lower than that reported for ponatinib 45 mg in                                                               phase I study, the majority of patients with a T315I mutation achieving
  the PACE trial. Based on the results of the OPTIC trial, the FDA has                                                                     CCyR and MMR had received >150 mg twice-daily asciminib.153
  approved a response-adjusted dosing regimen for ponatinib [starting dose
  of 45 mg once daily with a reduction to 15 mg upon achievement of                                                                        Omacetaxine is a treatment option for patients with CP-CML resistant or
  BCR-ABL1 (IS) ≤1%] for patients with CP-CML with resistance or                                                                           intolerant to ≥2 TKIs including those with a T315I mutation.160,161
  intolerance to at least two prior kinase inhibitors.                                                                                     Omacetaxine resulted in MCyR, CCyR, and MMR rates of 23%, 16%, and
                                                                                                                                           17%, respectively, in the cohort of patients with CP-CML resistant to prior
  Cardiovascular risk factors (eg, diabetes mellitus, hypertension,                                                                        TKI therapy and T315I mutation (CML 202 study; n = 62) and the T315I
  hyperlipidemia, smoking, estrogen use) should be identified and controlled                                                               clone declined to below detection limits in 61% of patients.160 The median
  before starting ponatinib. Patients should be monitored for high blood                                                                   PFS was 8 months and the median OS had not yet been reached. In the
  pressure, evidence of arterial occlusive or thromboembolic events, and                                                                   cohort of patients with CP-CML resistant or intolerant to ≥2 TKIs (CML 203
  reduced cardiac function.159 Ponatinib should be interrupted or stopped                                                                  study; n = 46), the MCyR and CCyR rates were 22% and 4%, respectively.
  immediately for vascular occlusion and for new or worsening heart failure.                                                               The median PFS and OS were 7 months and 30 months, respectively.161
  Patients with cardiovascular risk factors should be referred to a                                                                        The response rates and survival outcomes, however, were substantially
  cardiologist. Asciminib was recently approved for patients with CP-CML                                                                   lower than that observed with ponatinib in the PACE trial. Omacetaxine
  having the T315I mutation and/or CP-CML with resistance or intolerance                                                                   had an acceptable toxicity profile and the most common grade 3/4 adverse
  to at least two prior TKIs.                                                                                                              events were thrombocytopenia (67%), neutropenia (47%), and anemia
                                                                                                                                           (37%).
  In the phase III randomized study (ASCEMBL), asciminib 40 mg twice
  daily achieved higher molecular response rates (MMR, MR4.0, and                                                                          Clinical Considerations for the Selection of Second-Line TKI
  MR4.5) than bosutinib 500 mg once daily in patients with CP-CML                                                                          Therapy
  previously treated with ≥2 prior TKIs, and the incidence of adverse events
                                                                                                                                           Switching to a second-generation TKI is recommended for patients with
  leading to treatment discontinuation was also lower with asciminib (6% vs.
                                                                                                                                           disease that is resistant to imatinib 400 mg daily. Patients with disease
  21%).154 Gastrointestinal toxicities (diarrhea, nausea, and vomiting) and
                                                                                                                                           that is resistant to bosutinib, dasatinib, or nilotinib could be switched to
  biochemical abnormalities (increased ALT and AST levels) were notably
                                                                                                                                           an alternate TKI (other than imatinib). However, there is no clear

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-13
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 45 of 97 PageID 15086
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  evidence to support that switching to alternate TKI therapy would                                                                        Drug interactions between TKIs and some of the most commonly used
  improve long-term clinical outcome for this group of patients. Evaluation                                                                drugs and supplements are summarized in CML-F. Concomitant use of
  of allogeneic HCT should be considered for this group of patients. The                                                                   drugs that are metabolized by these enzymes requires caution, and
  use of an alternate second-generation TKI after treatment failure with two                                                               appropriate alternatives should be explored to optimize treatment
  prior TKIs, is not associated with durable responses except in occasional                                                                outcome. If coadministration cannot be avoided, dose modification should
  patients with CP-CML.162 Treatment with ponatinib, asciminib or                                                                          be considered.
  enrollment in a clinical trial should be considered.
                                                                                                                                           Adherence to Therapy
  EMR (≤10% BCR-ABL1 IS at 3 and 6 months) after second-line TKI                                                                           Treatment interruptions and non-adherence to therapy may lead to
  therapy with dasatinib or nilotinib has also been reported to be a                                                                       undesirable clinical outcomes.165-167 In the ADAGIO study, non-adherence
  prognosticator of OS and PFS (Table 7). Patients who do not achieve                                                                      to imatinib was associated with poorer response. Patients with suboptimal
  cytogenetic or molecular responses at 3, 6, or 12 months after                                                                           response missed significantly more imatinib doses (23%) than did those
  second-line and subsequent TKI therapy should be considered for                                                                          with optimal response (7%).165 Adherence to imatinib therapy has been
  alternative therapies or allogeneic HCT if deemed eligible.                                                                              identified as the only independent predictor for achieving CMR on
                                                                                                                                           standard-dose imatinib.166 Poor adherence to imatinib therapy has also
  BCR-ABL1 kinase domain mutation analysis (see below), evaluation of                                                                      been identified as the most important factor contributing to cytogenetic
  drug interactions, and compliance to therapy are recommended prior to                                                                    relapse and imatinib failure.167 Patients with adherence of ≤85% had a
  the initiation of second-line TKI therapy.                                                                                               higher probability of losing CCyR at 2 years than those with adherence
                                                                                                                                           of >85% (27% and 2%, respectively). Poor adherence to therapy has also
  Drug Interactions
                                                                                                                                           been reported in patients receiving dasatinib and nilotinib following
  All TKIs are metabolized in the liver by cytochrome P450 (CYP) enzymes,
                                                                                                                                           imatinib failure.168,169
  and concomitant use of drugs that induce or inhibit CYP3A4 or CYP3A5
  enzymes may alter the therapeutic effect of TKIs.163,164 Drugs that are                                                                  Patient education on adherence to therapy and close monitoring of
  CYP3A4 or CYP3A5 inducers may decrease the therapeutic plasma                                                                            patient’s adherence is critical to achieving optimal responses. In a
  concentration of TKIs, whereas CYP3A4 inhibitors and drugs that are                                                                      significant proportion of patients with TKI-induced toxicities, responses
  metabolized by the CYP3A4 or CYP3A5 enzyme might result in increased                                                                     have been observed with doses well below their determined maximum
  plasma levels of TKIs. In addition, imatinib is also a weak inhibitor of the                                                             tolerated doses.170 Short interruptions or dose reductions, when medically
  CYP2D6 and CYP2C9 isoenzymes and nilotinib is a competitive inhibitor                                                                    necessary, may not have a negative impact on disease control or other
  of CYP2C8, CYP2C9, CYP2D6, and UGT1A1, potentially increasing the                                                                        outcomes. Adequate and appropriate management of side effects and
  plasma concentrations of drugs eliminated by these enzymes. Asciminib is                                                                 scheduling appropriate follow-up visits to review side effects may be
  also a CYP2C9 inhibitor and concomitant use of asciminib increases the                                                                   helpful to improve patient adherence to therapy.171 Switching to an
  plasma concentration of other drugs that are CYP2C9 substrates.                                                                          alternate TKI because of intolerance might be beneficial for selected


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-14
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 46 of 97 PageID 15087
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  patients with acute grade 3/4 non-hematologic toxicities or in those with                                                                Bosutinib and dasatinib have demonstrated activity in patients with
  chronic, low-grade nonhematologic toxicities that are not manageable with                                                                BCR-ABL1 mutants resistant to nilotinib (Y253H, E255K/V, and
  adequate supportive care measures.172,173                                                                                                F359C/I/V).149,197 Bosutinib has minimal activity against F317L mutation
                                                                                                                                           (which is resistant to dasatinib) and nilotinib may be preferred over
  Resistance to TKI Therapy
                                                                                                                                           bosutinib in patients with F317L mutation.191,196,198 Ponatinib is active
  Aberrant expressions of drug transporters174-176 and plasma protein                                                                      against BCR-ABL1 mutants resistant to dasatinib or nilotinib, including
  binding of TKI177-179 could contribute to primary resistance by altering the                                                             E255V, Y253H, and F359V, in addition to T315I.151 There are not enough
  intracellular and plasma concentration of TKI.                                                                                           data available regarding the impact of mutations on the efficacy of
                                                                                                                                           asciminib because of the heterogeneity of reported mutations and low
  Pretreatment levels of organic cation transporter 1 (OCT1) have been
                                                                                                                                           patient numbers in the ASCEMBL trial.154 Patients with detectable
  reported as the most powerful predictor of response to imatinib.180 On the
                                                                                                                                           bosutinib-resistant BCR-ABL1 mutations (T315I or V299L) were ineligible
  other hand, cellular uptake of dasatinib or nilotinib seems to be
                                                                                                                                           to participate in this trial.154 Although new myristoyl-pocket mutations have
  independent of OCT1 expression, suggesting that patients with low
                                                                                                                                           been detected during asciminib treatment, there is insufficient data as yet
  OCT1 expression might have better outcomes with dasatinib or nilotinib
                                                                                                                                           to determine their significance.
  than with imatinib.181-184
                                                                                                                                           Response rates to TKI therapy based on BCR-ABL mutation status are
  Monitoring imatinib plasma levels may be useful in determining patient
                                                                                                                                           listed in Table 8.
  adherence to therapy. However, there are no data to support that change
  of therapy based on plasma imatinib levels will affect treatment                                                                         BCR-ABL1 compound mutations (variants containing ≥2 mutations within
  outcomes, and assays that measure plasma levels of imatinib are not                                                                      the same BCR-ABL1 allele that presumably arise sequentially) confer
  widely available.                                                                                                                        different levels of resistance to TKI therapy, and T315I-inclusive
  BCR-ABL1 Kinase Domain Mutation Analysis
                                                                                                                                           compound mutants confer the highest level of resistance to all TKIs,
  Point mutations in the BCR-ABL1 kinase domain are a frequent                                                                             including ponatinib.199,200 In a more recent study that used NGS to detect
  mechanism of secondary resistance to TKI therapy and are associated                                                                      low-level and BCR-ABL1 compound mutations in 267 patients with heavily
  with poor prognosis and higher risk of disease progression.185-190 E255K/V,                                                              pretreated CP-CML from the PACE trial, no compound mutation was
  F359C/V, Y253H, and T315I mutants are most commonly associated with                                                                      identified that consistently conferred resistance to ponatinib, suggesting
  disease progression and relapse.191,192 Among the BCR-ABL1 kinase                                                                        that such compound mutations are uncommon following treatment with
  domain mutations, T315I confers complete resistance to imatinib,                                                                         bosutinib, dasatinib, or nilotinib for CP-CML.201
  dasatinib, nilotinib, and bosutinib.193,194 The T315A, F317L/I/V/C, and
                                                                                                                                           BCR-ABL1 kinase domain mutational analysis is helpful in the selection of
  V299L mutants are resistant to dasatinib and E255K/V, F359V/C, and                                                                       subsequent TKI therapy for patients with inadequate initial response to
  Y253H mutants are resistant to nilotinib.191,195-197 G250E, and V299L                                                                    first-line or second-line TKI therapy.202 The guidelines recommend
  mutants are resistant to bosutinib.149                                                                                                   BCR-ABL1 kinase domain mutational analysis for patients who do not

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-15
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 47 of 97 PageID 15088
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  achieve response milestones, for those with any sign of loss of response                                                                 depending on whether they occur in Ph-positive or Ph-negative clones.209
  (hematologic or cytogenetic relapse), and if there is a 1-log increase in                                                                Therefore, these results are not indicative of the frequency of mutations in
  BCR-ABL1 level with loss of MMR. Treatment options based on                                                                              cancer-associated genes in patients with CP-CML at diagnosis and results
  BCR-ABL1 kinase domain mutation status are outlined on CML-5.                                                                            are not definitive.

  BCR-ABL1 kinase domain mutational analysis provides additional                                                                           Rising BCR-ABL1 Transcripts
  guidance in the selection of subsequent TKI therapy only in patients with                                                                Rising BCR-ABL1 transcripts are associated with an increased likelihood
  identifiable mutations. In patients with no identifiable mutations, the                                                                  of detecting BCR-ABL1 kinase domain mutations and cytogenetic
  selection of subsequent TKI therapy should be based on the toxicity                                                                      relapse.211-215 In patients who had achieved very low levels of BCR-ABL1
  profile of the TKI, patient’s age, ability to tolerate therapy, and presence                                                             transcripts, emergence of BCR-ABL1 kinase domain mutations was more
  of comorbid conditions. Adverse events of second-line TKI therapy in                                                                     frequent in those who had a >2-fold increase in BCR-ABL1 transcripts
  patients with CP-CML are summarized in Table 9.                                                                                          compared to those with stable or decreasing BCR-ABL1 transcripts.211 A
                                                                                                                                           serial rise has been reported to be more reliable than a single ≥2-fold
  BCR-ABL1–independent Mutations                                                                                                           increase in BCR-ABL1 transcripts.212,213 Among patients in CCyR with a
  Mutations in a variety of cancer-associated genes other than BCR-ABL1                                                                    ≥0.5-log increase in BCR-ABL1 transcripts on at least two occasions, the
  (eg, ASXL1, RUNX1, IKZF1, TET1/2, IDH1/2, JAK2, DNMT3A/3B, EZH2,                                                                         highest risk of disease progression was associated with loss of MMR and
  WT1, NPM1, NRAS, KRAS, CBL, BCOR, CREBBP, TP53) have been                                                                                >1-log increase in BCR-ABL1 transcripts.213
  described in patients with CML at diagnosis; in patients with AP-CML or
  BP-CML203-210 IKZF1 exon deletions and mutations in ASXL1, RUNX1, and                                                                    Rising transcript levels should prompt investigation of treatment
  BCOR genes were the most frequently described in advanced phase                                                                          adherence and reassessment of coadministered medications. The precise
  CML, while IDH1/2 mutations were detected at a markedly lower                                                                            increase in BCR-ABL1 transcripts that warrants a mutation analysis
  frequency.209,210 IKZF1 and RUNX1 alterations, both involved in cell                                                                     depends on the performance characteristics of the qPCR assay.215 Some
  differentiation, were identified as important markers of disease progression                                                             labs have advocated a 2- to 3-fold range,132,214,215 while others have taken
  from CP-CML to BP-CML.203,208 In one study that analyzed the mutation                                                                    a more conservative approach (5- to 10-fold).213 Obviously, some common
  landscape of patients with CML using a panel of 92 genes associated with                                                                 sense must prevail, since the amount of change in absolute terms
  myeloid malignancy, the presence of mutations in genes involved in                                                                       depends on the level of molecular response. For example, a finding of any
  epigenetic regulation pathways at diagnosis (eg, ASXL1, BCOR, TET1/2,                                                                    BCR-ABL1 after achieving a DMR (MR4.5; ≤0.0032% BCR-ABL1 IS) is an
  IDH1/2, DNMT3A/3B, EZH2) was associated with poor response to TKI                                                                        infinite increase in BCR-ABL1 transcripts. However, a change in
  therapy (CCyR at 12 months, P = .02; MMR at 24 months, P = .04; and                                                                      BCR-ABL1 transcripts from a barely detectable level to MR4.5 is clearly
  MR4.5 at 36 months, P = .03) independent of other clinical factors.206                                                                   different from a 5-fold increase in BCR-ABL1 transcripts after achieving
                                                                                                                                           MMR.
  However, many of these studies did not indicate whether the patients had
  CP-CML at diagnosis, and the impact of mutations is also variable

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-16
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 48 of 97 PageID 15089
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Currently there are no specific guidelines for changing therapy only based                                                               The recommended starting dose of nilotinib is 300 mg twice daily for
  on rising BCR-ABL1 levels as detected by qPCR, and it should be done                                                                     patients with newly diagnosed CP-CML and 400 mg twice daily for
  only in the context of a clinical trial.                                                                                                 resistant or intolerant CP-CML. Limited data from small cohorts of patients
                                                                                                                                           suggest that lower doses of nilotinib (<600 mg per day) may be associated
  Dose Modifications of TKI Therapy                                                                                                        with better safety and efficacy than nilotinib 300 mg twice daily.220 The
  Limited available evidence suggests that initiation of TKIs (bosutinib,                                                                  ENESTswift study showed that switching to nilotinib 300 mg twice daily
  dasatinib or nilotinib) at lower doses and dose reduction (with close                                                                    (which is lower than the recommended dose of 400 mg daily in the
  monitoring) in patients who achieve optimal responses are appropriate                                                                    second-line setting) was effective and well-tolerated in most patients with
  strategies for the prevention and management of treatment-related                                                                        CP-CML with intolerance to imatinib or dasatinib in the first-line setting.221
  adverse events and to avoid long-term toxicities.
                                                                                                                                           The recommended initial dose of ponatinib was 45 mg once daily. Initiation
  The recommended starting dose of bosutinib is 400 mg daily for patients                                                                  of ponatinib at lower dose levels (30 mg or 15 mg) has resulted in durable
  with newly diagnosed CP-CML (which is better tolerated than the 500 mg                                                                   responses with decreased incidence of cardiovascular events.151,152,158 The
  daily dose that was used in the initial randomized phase III trial) and 500                                                              OPTIC trial (discussed earlier) demonstrated the safety and efficacy of
  mg once daily for intolerant or resistant CP-CML. Recent                                                                                 response-adjusted dosing regimen for ponatinib.152
  recommendations from an expert panel suggest initiating bosutinib at a                                                                   TKI de-escalation has also been shown to be feasible in patients who
  lower dose of 200 to 300 mg once daily with dose escalation as clinically                                                                had received TKI therapy for ≥3 years with either a stable MMR or
  indicated in most patients.216 Initiation at the standard dose of 400 mg                                                                 MR4.0 for ≥12 months.222 Switching to nilotinib once daily at a reduced
  daily is recommended only for patients with high-risk disease.                                                                           dose as maintenance therapy has also been shown to be feasible
                                                                                                                                           (without compromising efficacy) after achievement of an MMR on
  The recommended starting dose of dasatinib is 100 mg once daily for
                                                                                                                                           nilotinib twice-daily standard dose.223
  patients with newly diagnosed CP-CML. Long-term follow-up results of a
  single-arm study in a small cohort of patients suggest that dasatinib 50 mg                                                              However, with the exception of ponatinib (OPTIC trial), the minimum
  once daily may have similar efficacy.217 Dasatinib at 50 mg (20 mg with                                                                  effective dose or de-escalation of TKI (bosutinib, dasatinib, or nilotinib)
  careful monitoring in selected patients) should be considered for patients                                                               has yet not been established in prospective randomized clinical trials.
  with clinically significant intolerance to dasatinib 100 mg once daily to
  avoid serious adverse events necessitating the discontinuation of                                                                        Discontinuation of TKI Therapy (CML-E)
  dasatinib (eg, pleural effusion, myelosuppression). Treatment interruption
                                                                                                                                           The feasibility of discontinuation of TKI therapy (with close monitoring) in
  of dasatinib at 100 mg once daily and reintroduction at a lower dose (40
                                                                                                                                           carefully selected patients who have achieved and maintained DMR
  mg twice daily or 60 mg once daily) has been shown to be effective for
                                                                                                                                           (≥MR4.0; ≤0.01% BCR-ABL1 IS) for ≥2 or more years has been evaluated
  patients with intolerance to dasatinib at 100 mg once daily.218,219
                                                                                                                                           in several clinical studies. Limited longer-term follow-up data from the TKI
                                                                                                                                           discontinuation trials are summarized in Table 10.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-17
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 49 of 97 PageID 15090
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  The possibility of TFR after discontinuation of imatinib was first evaluated                                                             Approximately 40% to 60% of patients who discontinue TKI therapy after
  in the Stop Imatinib (STIM1) study in 100 patients with undetectable                                                                     achieving DMR experience recurrence within 12 months of treatment
  BCR-ABL1 transcripts for at least 2 years (5-log reduction in BCR-ABL1                                                                   cessation, in some cases as early as one month after discontinuation of
  transcripts and undetectable minimal residual disease on qPCR with a                                                                     TKI therapy. Resumption of TKI therapy immediately after recurrence
  sensitivity of ≥4.5-log reduction from the standardized baseline).224,225                                                                results in the achievement of DMR in almost all patients.224-234,236,237 TKI
  With a median follow-up of 77 months after discontinuation of imatinib,                                                                  withdrawal syndrome (aggravation or new development of musculoskeletal
  the molecular recurrence-free survival was 43% at 6 months and 38% at                                                                    pain and/or pruritus after discontinuation of TKI therapy) has been
  60 months.225 Other subsequent studies that have evaluated the                                                                           reported during the TFR period in some TKI discontinuation
  discontinuation of imatinib have also reported similar findings.226-230                                                                  studies,229,234,236,237 and the occurrence of imatinib withdrawal syndrome
                                                                                                                                           was associated with a lower rate of molecular relapse in the KID study.229
  More recent studies have also confirmed the feasibility of TFR after
  discontinuation of dasatinib or nilotinib in patients with CP-CML who                                                                    In the STIM study, molecular relapse (trigger to resume TKI therapy) was
  have achieved and maintained MR4.5 for 12 months after ≥2 years of                                                                       defined as positivity for BCR-ABL1 transcripts by qPCR confirmed by a
  TKI therapy in the first-line or second-line setting (TFR rates ranging                                                                  1-log increase in BCR-ABL1 transcripts between two successive
  from 44% to 54%; Table 10).231-237                                                                                                       assessments or loss of MMR at one point.224,225 The results of the A-STIM
                                                                                                                                           study showed that loss of MMR (≤0.1% BCR-ABL1 IS) could be used as a
  The feasibility of TFR following discontinuation of TKIs other than                                                                      practical criterion for restarting therapy. The estimated probability of MMR
  dasatinib, imatinib, or nilotinib has not yet been evaluated in clinical                                                                 loss was 35% at 12 months and 36% at 24 months after discontinuation of
  studies. In the EURO-SKI study that evaluated TFR after discontinuation                                                                  imatinib.227 Several factors may help predict the risk of recurrence after
  of any first-line TKI therapy (imatinib, dasatinib, or nilotinib) in eligible                                                            discontinuation of TKI therapy (a higher Sokal risk score, female gender,
  patients, the type of first-line TKI therapy did not significantly affect                                                                lower natural killer cell counts, suboptimal response or resistance to
  molecular relapse-free survival.233 Therefore, it is reasonable to assume                                                                imatinib, duration of TKI therapy, and DMR prior to TKI
  that the likelihood of TFR following discontinuation would be similar                                                                    discontinuation).224,225,229,231-234,236,237,239 However, only the duration of TKI
  irrespective of TKI in patients who have achieved and maintained DMR                                                                     therapy and DMR prior to TKI discontinuation therapy have been
  (MR4.0; ≤0.01% BCR-ABL1 IS) for ≥2 years.                                                                                                associated with TFR with a high level of consistency.224,229,233,234 In the
                                                                                                                                           EURO-SKI study, duration of treatment with imatinib (≥6 years) and
  The results of the RE-STIM study demonstrated the safety of a second
                                                                                                                                           duration of DMR (MR4.0 for 3 years) were significantly associated with
  TKI discontinuation after a first unsuccessful attempt.238 The rate of
                                                                                                                                           MMR maintenance at 6 months after discontinuation of imatinib.233
  molecular relapse after the first TKI discontinuation attempt was the only
  factor significantly associated with outcome. The TFR rate at 24 months                                                                  Based on available evidence from clinical studies that have evaluated the
  after second TKI discontinuation was higher for patients who remained in                                                                 feasibility of TFR, the panel members feel that discontinuation of TKI
  DMR within the first 3 months after the first TKI discontinuation (72% vs.                                                               therapy (with close monitoring) is feasible in carefully selected, consenting
  32% for other patients).

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-18
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 50 of 97 PageID 15091
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  patients (in early CP-CML) who have achieved and maintained a DMR                                                                        Long-term follow-up data from phase II/III studies evaluating TKI therapy
  (≥MR4.0) for ≥2 years. Clinical studies that have evaluated the safety and                                                               for disease progression to AP-CML and BP-CML are summarized in Table
  efficacy of discontinuation of TKI have employed strict eligibility criteria                                                             11 and Table 12, respectively.
  and have mandated more frequent molecular monitoring than typically
  recommended for patients on TKI therapy. Access to a reliable qPCR (IS)                                                                  The efficacy of imatinib in combination with decitabine or
  with a sensitivity of detection of at least MR4.5 (BCR-ABL1 ≤0.0032% IS)                                                                 cytarabine-based chemotherapy in AP-CML and myeloid BP-CML has
  and the availability of test results within 2 weeks is one of the key                                                                    been demonstrated in several small studies.251-254 Hyper-CVAD in
  requirements to monitor patients after discontinuation of TKI therapy and                                                                combination with imatinib or dasatinib is also effective for patients with
  ascertain their safety.                                                                                                                  lymphoid BP-CML, particularly when followed by allogeneic HCT.255,256

  The criteria for the selection of patients suitable for discontinuation of TKI                                                           A significant proportion of patients with AP-CML or BP-CML treated with
  therapy are outlined on CML-E. The guidelines emphasize that                                                                             TKI therapy achieve a MCyR but not a concomitant CHR because of
  discontinuation of TKI therapy outside of a clinical trial should be                                                                     persistent cytopenias, which in turn is associated with an inferior
  considered only if ALL the criteria included on the list are met. The panel                                                              outcome.257 Omacetaxine has shown efficacy in patients with AP-CML that
  acknowledges that more frequent molecular monitoring is essential                                                                        is resistant to multiple TKIs as well as in patients with a T315I mutation.258
  following discontinuation of TKI therapy for the early identification of loss                                                            Among the 51 patients with AP-CML, after a median follow-up of 16
  of MMR. Frequency of molecular monitoring has varied substantially                                                                       months, major hematologic response (MaHR), CHR, and minor
  among different studies, and the optimal frequency of molecular                                                                          cytogenetic response were achieved or maintained in 37%, 29%, and 11%
  monitoring in patients with a loss of MMR after discontinuation of TKI                                                                   of patients, respectively.258 The MaHR rates were 55% and 58%,
  therapy has not been established. The panel recommendations for                                                                          respectively, for patients with a history of a T315I mutation and for those
  molecular monitoring in TFR phase are outlined on CML-E.                                                                                 with confirmed T315I mutation at baseline. The median PFS and OS were
                                                                                                                                           5 months and 18 months, respectively. As with CP-CML, the response
  Management of Advanced Phase CML                                                                                                         rates and survival outcomes were lower than that observed with ponatinib
  Imatinib has induced favorable hematologic and cytogenetic response                                                                      in the PACE trial for patients with AP-CML (Table 11; the estimated 5-year
  rates in patients with AP-CML or BP-CML.240-244 Dasatinib,245-247                                                                        PFS rates were 19% for patients with CP-CML resistant or intolerant to ≥2
  nilotinib,248,249 bosutinib,250 and ponatinib151 have demonstrated activity in                                                           TKIs and 29% for those with a T315I mutation. The corresponding 5-year
  imatinib-resistant or imatinib-intolerant AP-CML and/or BP-CML. Ponatinib                                                                OS rates were 48% and 52%, respectively).151 The most common grade
  is a treatment option for patients with a T315I mutation or patients for                                                                 3/4 hematologic adverse events were thrombocytopenia (51%), anemia
  whom no other TKI is indicated.                                                                                                          (39%), neutropenia (20%), and febrile neutropenia (14%).




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-19
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                       Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 51 of 97 PageID 15092
                                                          NCCN Guidelines Version 1.2023
                                                          Chronic Myeloid Leukemia

  Treatment Considerations (CML-4)                                                                                         blood brain barrier and may represent the best TKI option for patients with
                                                                                                                           CNS disease.266 TKI therapy has not been optimized for patients with CNS
  Disease progression to AP-CML or BP-CML while on TKI therapy has a
                                                                                                                           involvement.
  worse prognosis than de novo AP-CML or BP-CML. Participation in clinical
  trials and evaluation for allogeneic HCT is recommended for all patients                                                 Allogeneic Hematopoietic Cell Transplant
  with AP-CML and BP-CML. In patients with disease progression to
  AP-CML or BP-CML, the selection of TKI therapy is based on prior therapy                                                 Allogeneic HCT is a potentially curative treatment for patients with CML.
  and/or BCR-ABL1 kinase domain mutational analysis.                                                                       Ongoing advances in alternative donor sources (such as unrelated donors
                                                                                                                           and cord blood), more accurate HLA testing for a stringent selection of
  De novo AP-CML can often be initially managed like CP-CML with                                                           unrelated matched donors, and the use of reduced-intensity conditioning
  single-agent TKI followed by evaluation for allogeneic HCT.259,260                                                       regimens have improved outcomes following allogeneic HCT.267-273
  However, patients with disease progression from CP-CML to AP-CML
  while on a TKI therapy have a high rate of progression to BP-CML, with                                                   Allogeneic HCT is an appropriate treatment option for the very rare
  predictably poor survival. These patients should be considered for a                                                     patients presenting with BP-CML at diagnosis, patients with disease that is
  clinical trial and/or allogeneic HCT. Treatment with a course of alternate                                               resistant to TKIs, patients with progression to AP-CML or BP-CML while
  TKI (not received before) can be beneficial as a “bridge” to allogeneic HCT                                              on TKI therapy, and patients with CML that is resistant and/or intolerant to
  in patients with disease progression to AP-CML. There is a lack of                                                       all TKIs.274-277 Several studies have confirmed that prior TKI therapy does
  evidence for the definition of optimal response milestones on TKI therapy.                                               not compromise the outcome following allogeneic HCT or increase
  Evaluation for allogeneic HCT should be considered if response                                                           transplant-related toxicity.278-284
  milestones (recommended for CP-CML) are not achieved at 3, 6, and 12
                                                                                                                           Disease phase, HLA matching, age and sex of the donor and recipient,
  months. Omacetaxine is also an option for patients with disease
                                                                                                                           and time from diagnosis to transplant have been identified as
  progression to AP-CML on TKI therapy.258
                                                                                                                           pretransplant risk factors.285 A low HCT comorbidity index is a prognostic
  TKI in combination with chemotherapy (ALL-type chemotherapy for                                                          indicator of lower non-relapse mortality and improved survival.286 The
  lymphoid BP-CML and AML-type chemotherapy for myeloid BP-CML) or                                                         disease phase at the time of transplant remains an important prognostic
  steroids followed by allogeneic HCT is recommended for de novo BP-CML                                                    factor, and the survival outcomes following transplant are clearly better for
  and disease progression to BP-CML.261                                                                                    patients in second chronic CP-CML compared to patients with AP-CML or
                                                                                                                           BP-CML.287-292 Therefore, the potential use of allogeneic HCT must be tied
  Central nervous system (CNS) involvement has been described in case                                                      to faithful monitoring of disease, since the major potential pitfall in delaying
  reports of BP-CML.262-265 Lumbar puncture and CNS prophylaxis is                                                         transplantation is “missing” the chronic phase interval.
  recommended for lymphoid BP-CML. Documented CNS involvement in
                                                                                                                           Monitoring Response After Allogeneic HCT (CML-6)
  patients with lymphoid BP-CML should be managed according to the
  standard of care for AML or ALL. Dasatinib has been reported to cross the                                                                 BCR-ABL1 transcripts may persist for many years in patients after
                                                                                                                                            allogeneic HCT. The prognostic significance of BCR-ABL1 positivity is
  Version 1.2023 © 2022 National Comprehensive Cancer Network©        ©
                                                                 (NCCN ), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-20
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                       Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 52 of 97 PageID 15093
                                                          NCCN Guidelines Version 1.2023
                                                          Chronic Myeloid Leukemia

  influenced by the time of testing after allogeneic HCT. A positive qPCR                                                  TKI therapy is also effective to prevent relapse following allogeneic HCT
  assay for BCR-ABL1 at ≥18 months after allogeneic HCT is associated                                                      in high-risk patients.328-330
  with a lower risk of relapse than a positive qPCR assay for BCR-ABL1 at 6
  to 12 months after allogeneic HCT.293-300 Early detection of BCR-ABL1                                                    Patients who are in CCyR (qPCR-negative) should undergo regular
  transcripts after allogeneic HCT may be useful to identify patients who                                                  qPCR monitoring (every 3 months for 2 years, then every 3–6 months
  may be in need of alternative therapies before overt relapse occurs.                                                     thereafter). Given the high risk for hematologic relapse in patients with
                                                                                                                           prior accelerated or blast phase, post-transplant TKI therapy should be
  Management of Post-transplant Relapse (CML-6)                                                                            considered for at least one year in this cohort of patients who are in
  Donor lymphocyte infusion (DLI) is effective in inducing durable molecular                                               remission following allogeneic HCT.328-330
  remissions in the majority of patients with relapsed CML following
  allogeneic HCT, though it is more effective in patients with chronic phase                                               TKI with or without DLI or omacetaxine can be considered for patients who
  relapse than advanced phase relapse.301-307 However, DLI is associated                                                   are not in remission or in cytogenetic relapse or those with an increasing
  with complications such as graft-versus-host disease (GVHD),                                                             level of molecular relapse. The selection of TKI depends on prior TKI, the
  susceptibility to infections, and immunosuppression.301 Improvements in                                                  side effect profile of the TKI under consideration, the presence of
  the methods of detecting BCR-ABL1 transcripts to predict relapse, the                                                    comorbidities, and BCR-ABL1 mutation status. Pre-existing mutations in
  development of reduced-intensity conditioning regimens, modified delivery                                                the BCR-ABL1 kinase domain, frequently associated with resistance to
  of lymphocytes with the depletion of CD8+ cells, and the use of escalating                                               TKIs, are detectable in the majority of patients who relapse after
  cell dosage regimens have reduced the incidence of GVHD associated                                                       allogeneic HCT.331 BCR-ABL1 mutational analysis is therefore essential
  with DLI.308-312                                                                                                         prior to the selection of TKI for the treatment of post-transplant relapse.

  Imatinib induces durable cytogenetic and molecular responses in the                                                      In patients with CML that has previously failed imatinib, there are no data
  majority of patients relapsing with chronic and advanced phase CML                                                       to support the use of post-transplant imatinib, and dasatinib, nilotinib,
  following allogeneic HCT, and the response rates are higher in patients                                                  bosutinib, ponatinib, or omacetaxine may be more appropriate options.
  with chronic phase relapse than advanced phase relapse.313-320 Very                                                      However, there are no data to support the use of post-transplant bosutinib,
  limited data are available on the use of dasatinib and nilotinib in patients                                             ponatinib, or omacetaxine. CNS relapse of CML following allogeneic HCT
  with post-transplant relapse.321-324 There are also data suggesting that the                                             has been described in few case reports.332,333 Dasatinib may also be an
  use of DLI in combination with imatinib may be more effective at inducing                                                effective treatment for extramedullary relapse following allogeneic
  rapid molecular remissions than either modality alone.325 Recent                                                         HCT.266,334,335 Participation in a clinical trial is highly desirable.
  retrospective studies have shown that TKIs are superior to DLI alone or in
                                                                                                                           Emerging Treatment Options
  combination with TKI for post-transplant relapse.326,327 However, these
  observations are yet to be confirmed in randomized trials. Post-transplant                                                                Novel BCR-ABL1 inhibitors and small molecule inhibitors targeting
                                                                                                                                            several BCR-ABL1–independent pathways have demonstrated efficacy
                                                                                                                                            in preliminary clinical trials.336,337 These novel agents (either as
  Version 1.2023 © 2022 National Comprehensive Cancer Network©        ©
                                                                 (NCCN ), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-21
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 53 of 97 PageID 15094
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  monotherapy or in combination with currently approved TKIs) are being                                                                    TKI Therapy and Conception
  evaluated in ongoing clinical trials in all three phases of CML. Results
                                                                                                                                           TKI therapy appears to affect some male hormones at least transiently,
  from selected published clinical trials of novel agents are outlined in
                                                                                                                                           but does not appear to have a deleterious effect on male fertility.
  Table 13.
                                                                                                                                           Furthermore, the miscarriage or fetal abnormality rate is not elevated in
  The use of low-dose interferon in combination with TKI for a limited                                                                     female partners of males on TKI therapy.341-345
  period prior to discontinuation of TKI, and gradual de-escalation of TKI
                                                                                                                                           The situation is more complex for patients assigned female at birth, as
  prior to discontinuation of TKI therapy in patients with DMR are also
                                                                                                                                           TKI therapy during pregnancy has been associated with both a higher
  being explored in ongoing clinical trials as potential strategies to improve
                                                                                                                                           rate of miscarriage and fetal abnormalities. Limited evidence from case
  TFR outcome.337,338 Pegylated interferon in combination with TKIs has
                                                                                                                                           reports indicates the need for close monitoring, a prolonged washout
  demonstrated promising results, and ongoing clinical trials are evaluating
                                                                                                                                           period prior to pregnancy, and prompt consideration of holding TKI
  the combination of second-generation TKIs with various pegylated
                                                                                                                                           therapy if pregnancy occurs while on imatinib, nilotinib, or dasatinib.346-351
  interferons.339
                                                                                                                                           In one report on the outcome of pregnancies in 180 patients exposed to
  Immunologic approaches such as the use of BCR-ABL1 immune                                                                                imatinib during pregnancy, 50% of pregnancies with known outcome
  peptides, immune checkpoint blockade, leukemia-associated antigens,                                                                      were normal and 10% of pregnancies with known outcome had fetal
  and dendritic cell vaccines are also being evaluated to improve                                                                          abnormalities.346 Eighteen pregnancies ended in spontaneous abortion.
  molecular response.336                                                                                                                   In another report on the outcomes of pregnancy and conception during
                                                                                                                                           treatment with dasatinib, among 46 patients treated with dasatinib, 15
  Management of CML During Pregnancy and                                                                                                   patients (33%) delivered a normal infant.347 Elective or spontaneous
  Breastfeeding                                                                                                                            abortions were reported in 18 (39%) and 8 patients (17%), respectively,
  The median age of disease onset is 65 years, but CML occurs in all age                                                                   and 5 patients (11%) had an abnormal pregnancy. Fetal abnormalities
  groups. The EUTOS population-based registry has reported that                                                                            were reported in 7 cases. Among 33 patients who conceived with
  approximately 37% of patients at the time of diagnosis are of                                                                            dasatinib-treated males, 30 (91%) delivered infants who were normal at
  reproductive age.340 Clinical care teams should be prepared to address                                                                   birth. A recent report of 16 pregnancy cases among patients assigned
  issues relating to fertility and pregnancy as well as counsel these                                                                      female at birth treated with bosutinib noted six live births, four abortions,
  patients about the potential risks and benefits of treatment                                                                             and six unknown outcomes.352 Although there is paucity of data
  discontinuation and possible resumption of TKI therapy should CML                                                                        regarding the outcome of pregnancy in patients receiving bosutinib or
  recur during pregnancy.                                                                                                                  ponatinib or asciminib at the time of conception, these TKIs also must be
                                                                                                                                           considered unsafe for use during pregnancy.

                                                                                                                                           Discontinuation of TKI therapy because of pregnancy in patients
                                                                                                                                           assigned female at birth who were not in DMR (≥MR4.0; ≤0.01%

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-22
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 54 of 97 PageID 15095
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  BCR-ABL1 IS) has only been reported in a small series of patients.353-356                                                                prior to the initiation of TKI therapy. Referral to a CML specialty center
  In one series, among 10 patients who stopped imatinib because of                                                                         and consultation with a high-risk obstetrician is recommended.
  pregnancy after a median of 8 months of therapy, five of the nine
  patients who had achieved a CHR lost the response after stopping                                                                         Planning a Pregnancy
  therapy, and six had an increase in Ph-positive metaphases.353 At 18                                                                     In patients assigned male at birth, the general recommendation is that
  months after resuming therapy, all nine patients had achieved a CHR but                                                                  TKI therapy need not be discontinued if a pregnancy is planned.
  only three females achieved a CCyR and none had achieved an MMR. In                                                                      However, experience is limited. Sperm banking can also be performed
  another series that reported the outcomes of seven patients who were                                                                     prior to starting TKI therapy, although there are no data regarding quality
  not in DMR at the time imatinib was stopped because of pregnancy,                                                                        of sperm in males with untreated CML.
  three were in an MMR.354 All seven patients had disease relapse. The
  three who had an MMR at the time imatinib was stopped were able to                                                                       In patients assigned female at birth, due to the risk of miscarriage and
  regain the same response once the drug was restarted, whereas the                                                                        fetal abnormalities during pregnancy, TKI therapy should be stopped
  remaining four patients were not.                                                                                                        prior to natural conception and the patient should remain off therapy
                                                                                                                                           during pregnancy.346-348 Referral to an in vitro fertilization (IVF) center is
  Depending on other factors such as age, a natural pregnancy may occur                                                                    recommended in coordination with the patient’s obstetrician. TKI should
  months after stopping TKI therapy. Assuming the earliest time a patient                                                                  be stopped prior to attempting a natural pregnancy or oocyte retrieval,
  assigned female at birth could conceive and give birth naturally (without                                                                but the optimal timing of discontinuation is unknown. Compounding the
  any washout period), is 10 months after stopping TKI, the likelihood is                                                                  high incidence of disease recurrence off TKI therapy are the significant
  about 60% that her PCR will become positive if the patient was in DMR                                                                    obstacles that exist for those choosing one of the above forms of IVF,
  at the time of getting pregnant.353,354                                                                                                  chief among which is the lack of access to centers that perform the
                                                                                                                                           procedure, high costs associated with drugs and surgical procedures that
  Conception while on active TKI therapy is strongly discouraged due to
                                                                                                                                           may not be covered by insurance, costs of embryo/oocyte storage, and
  the risk of fetal abnormalities. Prior to attempting pregnancy, patients
                                                                                                                                           access to surrogate programs. Some patients may require more than
  and their partners should be counseled that no guidelines exist regarding
                                                                                                                                           one IVF cycle to obtain enough potentially viable embryos for
  how best to monitor CML during pregnancy, nor how best to manage
                                                                                                                                           implantation. In addition, patients may need to take family medical leave
  progressive disease should it occur during pregnancy. Fertility
                                                                                                                                           from work to attend IVF appointments. It is also important to note that not
  preservation should be discussed with all patients of childbearing age
                                                                                                                                           all states allow surrogacy.

                                                                                                                                           Treatment and Monitoring During Pregnancy
                                                                                                                                           Most of the literature regarding treatment during pregnancy consists of
                                                                                                                                           case reports. The use of TKI therapy, particularly during the first
                                                                                                                                           trimester, should be avoided. If TKI therapy should be considered during

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-23
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 55 of 97 PageID 15096
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  pregnancy, the potential benefit for the mother and the potential risk to                                                                treatment cessation is confirmed, breastfeeding needs to be terminated
  the fetus of continuing TKI therapy versus the risk of treatment                                                                         and TKI should be restarted.377
  interruption leading to the loss of optimal disease response must be
  carefully evaluated on an individual basis prior to initiation of TKI                                                                    Specific Considerations for Children with CML
  therapy.                                                                                                                                 CML accounts for less than 3% of all pediatric leukemias. In general,
                                                                                                                                           children are diagnosed at a median age of 11 to 12 years, with
  Interferon alfa-2a or peginterferon alfa-2a have been used during                                                                        approximately 10% presenting in advanced phase. Due to its rarity, there
  pregnancy and most of the data using interferons during pregnancy have                                                                   are no evidence-based recommendations for the management of CML in
  been reported in patients with essential thrombocythemia.357-362 If                                                                      the pediatric population. Many pediatric oncologists follow treatment
  treatment is needed during pregnancy, it is preferable to initiate                                                                       guidelines that are designed for adult patients. However, clinical
  treatment with interferons and if introduced earlier, interferons can                                                                    presentations and host factors are different between children and adults,
  preserve molecular remission after discontinuation of TKI.363,364 The                                                                    and several factors should be considered when treating pediatric patients
  panel recommends against the use of hydroxyurea during pregnancy,                                                                        with CML.379
  especially in the first trimester, if possible.365-367
  Leukapheresis can be used for a rising white blood cell (WBC) count,                                                                     Selection of TKI
  although there are no data that recommend at what level of WBC count                                                                     Imatinib, dasatinib, and nilotinib are currently approved for treatment of
  leukapheresis should be initiated.368-371 Low-dose aspirin or                                                                            CML in children.380-382 Higher dose imatinib (340 mg/m²) has also been
  low-molecular-weight heparin can be considered for patients with                                                                         shown to be effective and well tolerated in children.383-385 There are very
  thrombocytosis.372,373                                                                                                                   little data on the safety and efficacy of bosutinib and ponatinib in
                                                                                                                                           children.386
  Monthly monitoring with qPCR and initiating treatment if the BCR-ABL1
  IS increases to >1.0% is recommended.                                                                                                    The validity of prognostic scores (eg, Sokal, Euro) for risk assessment or
  Breastfeeding                                                                                                                            to make treatment decisions has not been established in the pediatric
                                                                                                                                           population.387 The ELTS score has demonstrated better differentiation of
  TKI therapy can be restarted after delivery. However, patients on TKI                                                                    PFS than Sokal and Euro scores in children treated with imatinib.388
  therapy should be advised not to breastfeed, as TKIs pass into human
  breast milk.374-377 Breastfeeding without TKI treatment may be safe with                                                                 Monitoring for Long-Term Side Effects
  molecular monitoring, but preferably in those patients with CML who
                                                                                                                                           Children have a much longer life expectancy than adults and TKI therapy
  have durable DMR. It may be acceptable to avoid TKIs for the short
                                                                                                                                           may be needed for many decades; therefore, there are potential long-term
  period of the first 2 to 5 days after labor to give the child colostrum.377,378
                                                                                                                                           side effects (such as delayed growth, changes in bone metabolism, thyroid
  Close molecular monitoring is recommended for females who extend the                                                                     abnormalities, and effects on puberty and fertility) that may not be seen in
  treatment-free period for breastfeeding. If the loss of MMR after                                                                        adults.389

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-24
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 56 of 97 PageID 15097
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  A number of studies have reported impaired longitudinal growth in children                                                               In general, the use of inactivated killed vaccines for children on TKI
  with CML treated with TKI therapy, and the effect is more significant when                                                               therapy is safe, although it is unknown whether responses are comparable
  treatment was initiated during prepubertal age.390-396 Growth should be                                                                  to those seen in healthy children. Administration of live vaccines during
  monitored closely and a bone age x-ray should be obtained if longitudinal                                                                TKI therapy is not recommended in general, although preliminary findings
  growth is delayed. A dual-energy x-ray absorptiometry (DEXA) scan                                                                        from a few recent case reports have shown that MMR and varicella
  should be obtained if bone mineral density is decreased on plain                                                                         vaccine could be safely given to some children with immune
  radiograph or if there is unprovoked fracture. Further evaluation and                                                                    deficiency.401,402 Live attenuated annual influenza vaccine (nasal spray)
  referral to an endocrinologist is also warranted.                                                                                        should be avoided, and the inactivated killed vaccine (flu shot) should be
                                                                                                                                           used for children receiving TKI therapy. Live vaccines could be considered
  In an international study (STOP IMAPED) that evaluated the                                                                               after stopping TKI therapy for several weeks in patients with a DMR.403 In
  discontinuation of imatinib in 14 children who were in sustained DMR, the                                                                the United States, all required live vaccines are completed by the age of 4
  overall probability of maintaining DMR at 6 months was 29%.397 Further                                                                   to 6 years (http://www.cdc.gov/vaccines/). As CML is rarely seen in
  studies in a larger cohort of patients are needed to identify the criteria for                                                           children younger than this age, few patients face this issue.
  discontinuation of TKI therapy in children. Therefore, discontinuation of
  TKI therapy in children at this time is not recommended outside the                                                                      The mRNA-based vaccines have shown safety and efficacy against the
  context of a clinical trial.398                                                                                                          SARS-CoV-2 infection (COVID-19) among immunocompetent
                                                                                                                                           individuals.404 Studies that have evaluated the efficacy of these vaccines in
  Immunizations                                                                                                                            patients with hematologic malignancies have reported higher
  There are little data regarding the long-term impact of TKIs on the immune                                                               seroconversion rate and robust memory T-cell responses in patients with
  function of patients with CML receiving TKI therapy. Available evidence                                                                  CML in contrast to patients with solid tumors or other hematologic
  suggests that TKI therapy could potentially hinder routine immunization                                                                  malignancies.405-408 The mRNA-based vaccines are considered inactivated
  with some vaccines in adults and children with CML.399-401 A study that                                                                  vaccines. The FDA has given full approval for their use in individuals ≥16
  evaluated the safety and efficacy of H1N1 influenza vaccine in patients                                                                  years and emergency use authorization (EUA) for use in children aged 5
  with hematologic malignancies showed a higher seroconversion rate in                                                                     to 15 years. The NCCN COVID-19 Vaccination Advisory Committee
  adult patients with CML compared to patients with B-cell malignancies or                                                                 recommends that COVID-19 vaccines should be given to all adult patients
  HCT recipients.399 The findings from another study that evaluated the                                                                    with cancer. See NCCN: Cancer and COVID-19 Vaccination for additional
  impact of TKI therapy on B-cell responses to vaccination in patients with                                                                updated general information. The Centers for Disease Control and
  CML suggest that TKI therapy with dasatinib, imatinib, or nilotinib is                                                                   Prevention (CDC) recommends COVID-19 vaccination for adolescents
  associated with impaired B-cell response to polysaccharide pneumococcal                                                                  ≥12 years and children aged 5 through 11 years. See the CDC’s
  (PPS) vaccine due to the off-target inhibition of kinases involved in B-cell                                                             COVID-19 Vaccines for Children and Teens for dosage and administration
  signaling pathway.400                                                                                                                    of vaccines in children and teens.



  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.
                                                                                                                                                                                                                        MS-25
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 57 of 97 PageID 15098
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

                                                    Table 1: First-Line TKI Therapy for CP-CML: Long-Term Follow-up Data from Phase III Studies
                                                                                                                                                                                                  Disease
                                                                                                         No. of              Median
                              Trial                              Study Arms                                                                          CCyRa                   MMRb               Progression             PFSc   OS
                                                                                                        Patients            Follow-up
                                                                                                                                                                                                   n (%)

                                                  Imatinib (400 mg once daily)                              553                                        83%                      —                    38 (7%)            92%    83%
                              80,d
                       IRIS                                                                                                  11 years
                                                  Interferon alpha plus                                                                                  —                      —
                                                                                                            553                                                                                    71 (13%)              —     79%e
                                                  low-dose cytarabine
                                                                                                                                                                             76%
                                                  Dasatinib (100 mg once daily)                             259                                          —                                           12 (5%)            85%    91%
                                                                                                                                                                          (P = .002)
                       DASISION81                                                                                             5 years
                                                  Imatinib (400 mg once daily)                              260                                          —                    64%                    19 (7%)            86%    90%
                                                                                                                                                                            78%
                                                  Nilotinib (300 mg twice daily)                            282                                          —                                           11 (4%)            86%    88%
                                       83
                                                                                                                                                                         (P < .0001)
                       ENESTnd                                                                                               10 years
                                                  Imatinib (400 mg once daily)                              283                                          —                    63%                  24 (8.5%)            87%    88%

                                                                                                                                                     77%                     47%
                                                  Bosutinib (400 mg once daily)                             268                                                                                       4 (2%)             —      —
                                                                                                                                                  (P = .0075)              (P = .02)
                       BFORE82,f                                                                                            12 months
                                                  Imatinib (400 mg once daily)                              268                                        66%                    37%                     6 (3%)             —      —

                    CCyR, complete cytogenetic response; MMR, major molecular response (≤0.1% BCR-ABL1 IS); OS, overall survival; PFS, progression-free survival;

                     a.    Confirmed CCyR rate at 12 months was the primary endpoint of DASISION study.
                     b.    MMR (≤0.1% BCR-ABL1 IS) rate at 12 months was the primary endpoint of ENESTnd and BFORE studies.
                     c.    Primary endpoint of IRIS trial in the imatinib group.
                     d.    Due to the high rate of crossover to imatinib (66%) and the short duration of therapy (<1 year) before crossover among patients who had been randomly assigned to
                           interferon alfa plus cytarabine, the long-term follow-up data focused on patients who had been randomly assigned to receive imatinib.
                     e.    Data include survival among the 363 patients who crossed over to imatinib.
                     f.    There were no differences in survival rates between the two treatment arms after a minimum follow-up of 12 months; long-term follow-up is ongoing.




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                 MS-26
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 58 of 97 PageID 15099
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

                           Table 2: High-Dose Imatinib as First-Line Therapy for CP-CML: Long-Term Follow-up Data from Phase III Studies

                                                                                                                     No. of              Median
                                   Trial                                  Study Arms                                                                              MMR               MR4.5                   PFS             OS
                                                                                                                    Patients            Follow-up
                                                                                                                                                                                                         96%                93%
                                                          Imatinib (800 mg once daily)                                  319                                        79%                 —
                                                                                                                                                                                                     at 48 months       at 48 months
                        TOPS study84,a                                                                                                  42 months
                                                                                                                                                                                                         94%                94%
                                                          Imatinib (400 mg once daily)                                  157                                        76%                 —
                                                                                                                                                                                                     at 48 months       at 48 months
                                                          Imatinib (800 mg once daily)                                  420                                        89%               71%                    77%            79%
                        CML IV study86,b                                                                                                  10 years
                                                          Imatinib (400 mg once daily)                                  400                                        92%               67%                    80%            80%
                                                                                                                                                                                                         92%                95%
                                                          Imatinib (800 mg once daily)                                   73                                        53%               19%
                                                                                                                                                                                                     (4-year PFS)       (4-year OS)
                        SWOG study85,c                                                                                                  12 months
                                                                                                                                                                                                         80%                90%
                                                          Imatinib (400 mg once daily)                                   72                                        36%                9%
                                                                                                                                                                                                     (4-year PFS)       (4-year OS)

                      MMR, major molecular response (≤0.1% BCR-ABL1 IS); MR, molecular response; MR4.5: ≥4.5-log reduction in BCR-ABL1 transcripts from baseline; OS, overall
                      survival; PFS, progression-free survival;

                      a.    Primary endpoint: MMR rate at 12 months (≤0.1% BCR-ABL1), which corresponds to a 3-log reduction in BCR-ABL1 transcripts compared with the standardized
                            baseline established in IRIS study.
                      b.    Primary endpoint: The impact of MMR on survival at 12 months. This study had 5 treatment arms (imatinib 400 mg once daily alone; imatinib 800 mg twice daily;
                            imatinib 400 mg once daily with interferon or cytarabine; and imatinib after interferon failure). Only the data for imatinib 400 mg once daily alone vs. imatinib 800 mg
                            twice daily are included in this table.
                      c.    Primary endpoint: MR4.0 (≥4-log reduction in BCR-ABL1 transcripts from baseline) at 12 months. Results from the first part of SWOG S0325 study; follow-up after 12
                            months was not required for this study.




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                  MS-27
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 59 of 97 PageID 15100
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

                           Table 3A: First-Line TKI Therapy for CP-CML: Molecular Response Rates According to Risk Score


                                                                                                                               Low-Risk                               Intermediate-Risk                                  High-Risk
                                     Trial                                Study Arms
                                                                                                                       MMR                     MR4.5                  MMR                  MR4.5                 MMR               MR4.5

                                                           Dasatinib (100 mg once daily)                               90%                      55%                   71%                   43%                   67%               31%
                           DASISION81
                           (Euro risk score)
                                                           Imatinib (400 mg once daily)                                 69%                     44%                   65%                   28%                   54%               30%
                                                                                                                          —                                             —                   55%                     —
                                                           Nilotinib (300 mg twice daily)                                                       51%                                                                                 40%
                           ENESTnd83
                           (Sokal risk score)                                                                             —                                             —                                           —
                                                           Imatinib (400 mg once daily)                                                         39%                                         30%                                     23%
                                                                                                                                                  —                                           —                                      —
                                                           Bosutinib (400 mg once daily)                                58%                                           45%                                         34%
                           BFORE82
                           (Sokal risk score)                                                                                                     —                                           —                                      —
                                                           Imatinib (400 mg once daily)                                 46%                                           39%                                         17%



                           Table 3B: First-Line TKI Therapy for CP-CML: 10-Year Outcomes According to Sokal Risk Score


                                                                                                          Low-Risk                                            Intermediate-Risk                                                  High-Risk
                     Trial                               Study Arms                                Disease                                                 Disease                                                Disease
                                                                                                 Progression   PFS                            OS         Progression PFS        OS                              Progression           PFS    OS
                                                                                                    n (%)                                                   n (%)                                                  n (%)
                                             Nilotinib (300 mg twice daily)                            2 (2%)                 94%           95%                2 (2%)              87%            88%                   7 (9%)        74%    77%
          ENESTnd83
                                             Imatinib (400 mg once daily)                              1 (1%)                 98%           99%              10 (10%)               84%           84%              13 (17%)           78%    79%


              MMR, major molecular response (≤0.1% BCR-ABL1 IS); MR, molecular response; MR4.5: 4.5-log reduction in BCR-ABL1 transcripts from baseline;
              OS, overall survival; PFS, progression-free survival




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                         MS-28
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 60 of 97 PageID 15101
                                                                  NCCN Guidelines Version 1.2023
                                                                  Chronic Myeloid Leukemia

      Table 4. Adverse Events of First-Line TKI Therapy in CP-CML
                                                                              DASISION81                                                             ENESTnd83                                                              BFORE82
                       Toxicity
                                                       Dasatinib 100 mg QD                 Imatinib 400 mg QD                Nilotinib 300 mg BID               Imatinib 400 mg QD               Bosutinib 400 mg QD             Imatinib 400 mg QD
        Hematologic toxicities (Grade 3/4)

        Anemia                                                    13%                                  9%                                6%                                7%                                 3%                        5%

        Neutropenia                                               29%                                 24%                               12%                               15%                                 7%                       12%

        Thrombocytopenia                                          22%                                 14%                               10%                                9%                                14%                        6%

        Biochemical abnormalities (Grade 3/4)

        Increased lipase                                           NR                                  NR                               10%                                4%                                13%                        6%

        Increased glucose                                          NR                                  NR                                9%                               <1%                                 2%                        2%

        Decreased phosphate                                        7%                                 28%                                9%                               13%                                 5%                       17%

        Increased ALT                                              NR                                  NR                                4%                                3%                                23%                        3%

        Increased AST                                              NR                                  NR                                NR                                NR                                12%                        3%
                                                              *
        Nonhematologic toxicities (any grade)

        Rash                                                      13%                                 18%                               39%                               21%                                20%                       13%

        Headache                                                  13%                                 11%                               34%                               25%                                19%                       13%

        Fatigue                                                    9%                                 11%                               25%                               20%                                19%                       18%

        Muscle spasms                                             23%                                 41%                               14%                               35%                                 2%                       26%

        Peripheral edema                                          13%                                 37%                               12%                               23%                                 4%                       14%

        Pleural effusion                                          28%                                 <1%                                NR                                NR                                 NR                        NR

        Hypertension                                               NR                                  NR                               16%                                6%                                 NR                        NR

        Pulmonary hypertension                                     5%                                 <1%                                NR                                NR                                 NR                        NR

        Diarrhea                                                  21%                                 22%                               21%                               48%                                70%                       34%

        Constipation                                               NR                                  NR                               23%                                9%                                 NR                        NR

        Nausea                                                    10%                                 24%                               22%                               42%                                35%                       39%

        Vomiting                                                   5%                                 11%                               17%                               28%                                18%                       16%
      ALT, alanine aminotransferase; AST, aspartate aminotransferase; BID, twice daily; QD, once daily. * Non-hematologic toxicities from the DASISION study (except pleural effusion) are from the
      3-year follow-up. No new adverse events were observed with 5-year follow-up.


      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                             MS-29
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 61 of 97 PageID 15102
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia




                               Table 5. Early Molecular Response (≤10% BCR-ABL1 IS at 3 months) After First-Line TKI Therapy and Survival Outcomes

                                                                                                                                      5-Year PFS                                                           5-Year OS
                                    Trial                               Study Arms
                                                                                                                BCR-ABL1 ≤10%                     BCR-ABL1 >10%                      BCR-ABL1 ≤10%                     BCR-ABL1 >10%
                                                          Dasatinib (100 mg once daily)                                    89%                               72%                                94%                         81%
                         DASISION81
                                                          Imatinib (400 mg once daily)                                     93%                               72%                                95%                         81%

                                                          Nilotinib (300 mg twice daily)                                   95%                               78%                                98%                         82%

                         ENESTnd409                       Nilotinib (400 mg twice daily)                                   96%                               89%                                96%                         93%

                                                          Imatinib (400 mg once daily)                                     98%                               79%                                99%                         79%

                         CML IV Study120                  Imatinib (400 mg once daily)                                     92%                               87%                                94%                         87%

                                                                                                  OS, overall survival; PFS, progression-free survival




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.              MS-30
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 62 of 97 PageID 15103
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia


                               Table 6. Second-Line and Subsequent TKI Therapy for CP-CML: Long-Term Follow-up Data from Phase II/III Studies

                                                                                                                                      Median
                                   TKI/Trial                              Study Arms (No. of patients)                                                    MCyR           CCyR                MMR                      PFS        OS
                                                                                                                                     Follow-up

                                                                   Imatinib-R (n = 124)                                                                       —             —
                             Dasatinib146,a                                                                                                                                                   43%                    39%        63%
                                                                                                                                        7 years
                          (100 mg once daily)                      Imatinib-I (n = 43)                                                                        —             —                                                   70%
                                                                                                                                                                                              55%                    51%
                              Nilotinib147,b                       Imatinib-R (n = 226)
                                                                                                                                        4 years             59%           45%                   —                    57%        78%
                          (400 mg twice daily)                     Imatinib-I (n = 95)

                                                                   Imatinib and dasatinib-R (n = 38)                                                        39%           22%                   —                      —        67%
                                               149,b
                             Bosutinib                                                                                                                                                          —                      —
                                                                   Imatinib and dasatinib-I (n = 50)                                    4 years             42%           40%                                                   80%
                          (500 mg once daily)
                                                                   Imatinib and nilotinib-R (n = 26)                                                        38%           31%                   —                      —        87%

                                                                   Dasatinib or nilotinib-R or I (n = 203)                                                                                                          52%          76%
                                                                                                                                                            56%           49%                 35%
                         Ponatinib (PACE)151,c                                                                                                                                                                   at 5 years   at 5 years
                                                                                                                                     57 months
                          (45 mg once daily)                                                                                                                                                                        50%          66%
                                                                   T315I mutation (n = 64)                                                                  72%           70%                 58%
                                                                                                                                                                                                                 at 5 years   at 5 years
                                                                   Asciminib (40 mg twice daily; n = 157)                                                                                  25.5%
                                                                                                                                                              —             —                                          —         —
                         Asciminib (ASCEMBL)                                                                                                                                            at 24 weeks
                                                                                                                                     15 months
                         (40 mg twice daily)154,d                                                                                                                                           13%
                                                                   Bosutinib (500 mg once daily; n = 76)                                                      —             —                                          —         —
                                                                                                                                                                                        at 24 weeks

                    I, Intolerant; R, Resistant; CCyR, complete cytogenetic response; MCyR, major cytogenetic response; MMR, major molecular response (≤0.1% BCR-ABL1 IS); OS,
                    overall survival; PFS, progression-free survival;

                    a.     Primary endpoint: MCyR rate at 6 months when administered 100 mg once daily vs. 70 mg twice daily.
                    b.     Primary endpoint: MCyR rate in patients with imatinib intolerance or imatinib-resistant disease.
                    c.     Primary endpoint: MCyR at any time within the first 12 months.
                    d.     Primary endpoint: MMR rate at 24 weeks.




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                  MS-31
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 63 of 97 PageID 15104
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia



                               Table 7. Early Molecular Response (≤10% BCR-ABL1 IS) After Second-Line TKI Therapy and Survival Outcomes

                                                                                                Progression-Free Survival (PFS)                                                               Overall Survival (OS)
                                                                Median
                                     TKI                                                BCR-ABL1 ≤10%                             BCR-ABL1 >10%                             BCR-ABL1 ≤10%                              BCR-ABL1 >10%
                                                               Follow-up
                                                                                    3 months             6 months             3 months             6 months             3 months             6 months             3 months    6 months

                            Dasatinib146
                                                                 7 years                 56%                  57%                  21%                   4%                  72%                  74%                  56%      50%
                        (100 mg once daily)

                            Nilotinib147
                                                                 4 years                 67%                  58%                  42%                  39%                  81%                  82%                  71%      73%
                       (400 mg twice daily)




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                MS-32
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 64 of 97 PageID 15105
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia


                                                                 Table 8. Responses to TKI Therapy Based on BCR-ABL1 Mutation Statusa

                                                                                                Bosutinib149                             Dasatinib197                                       Nilotinib191                    Ponatinib201
                                        BCR-ABL1 Mutations
                                                                                                      MCyR                       CCyR                       MCyR                     CCyR                  MCyR               MCyR
                                 Contraindicated to
                                                                              G250E                 0/5 (0%)                 20/60 (33%)               29/60 (48%)               3/5 (60%)              3/5 (60%)           8/12 (67%)
                                     bosutinib

                               Contraindicated to                             F317Lb               1/7 (14%)                   1/14 (7%)                2/14 (14%)                     —                      —             13/29 (45%)
                             bosutinib and dasatinib                          V299L                                                                            —                       —                      —              3/8 (38%)
                                                                                                    0/2 (0%)                         —
                                                                              E255K                      —                    6/16 (38%)                9/16 (56%)                                                          8/13 (62%)
                                                                                                                                                                                  0/7 (0%)              3/7 (43%)
                                                                              E255V                      —                    4/11 (36%)                4/11 (36%)                                                           1/4 (25%)

                                 Contraindicated to                           F359C                1/2 (50%)                   3/5 (60%)                 3/5 (60%)                                                           1/7 (14%)
                                                                                                                                                                                 0/11 (0%)              1/11 (9%)
                                          nilotinib                           F359V                2/3 (67%)                 14/27 (52%)               17/27 (63%)                                                          11/20 (55%)

                                                                               F359I              2/2 (100%)                  7/12 (58%)               10/12 (83%)                     —                      —              3/4 (75%)

                                                                              Y253H                5/6 (83%)                 14/23 (61%)               15/23 (65%)                0/8 (0%)              1/8 (13%)            1/2 (50%)



                         a. Mutations contraindicated for imatinib are too numerous to include. There are compound mutations that can cause resistance to ponatinib, but those are
                            uncommon following treatment with bosutinib, dasatinib, or nilotinib.
                         b. Bosutinib has minimal activity against F317L mutation. Nilotinib may be preferred over bosutinib in patients with an F317L mutation.




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                  MS-33
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 65 of 97 PageID 15106
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia

                                                         Table 9. Adverse Events of Second-Line and Subsequent TKI Therapy in CP-CML
                                                                    Dasatinib146                                Nilotinib147                            Bosutinib149                          Ponatinib151                       Asciminib
               Toxicity (any grade)
                                                                (100 mg once daily)                         (400 mg twice daily)                    (500 mg once daily)                    (45 mg once daily)               (40 mg twice daily)154
         Rash                                                                33%                                        31%                                       28%                                   47%                          7%
         Headache                                                              —                                        18%                                       27%                                   43%                         16%
         Fatigue                                                             37%                                        21%                                       24%                                   30%                         10%
         Myalgias/Arthralgias                                                38%                                        11%                                      18%                               24%/33%                           9%

         Pleural effusion                                                    28%                                          —                                      17%                                     —                           —

         Hypertension                                                          —                                          —                                       8%                                   37%                          12%

         Hemorrhage                                                          26%                                          —                                        —                                     —                           —

         Diarrhea                                                            42%                                        12%                                      83%                                   20%                          12%

         Constipation                                                          —                                        13%                                      13%                                   41%                           —

         Nausea                                                                                                         25%                                      48%                                   29%                          12%
                                                                             27%
         Vomiting                                                                                                       13%                                      38%                                   19%                           7%

         Increased blood creatinine                                            —                                          —                                      13%                                     —                           —

         Increased lipase                                                      —                                          —                                        —                                   27%

         Increased ALT/AST                                                     —                                          —                                      15%                                     —                           4%

                                                                 ALT, alanine aminotransferase; AST, aspartate aminotransferase; BID, twice daily; QD, once daily




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                       MS-34
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 66 of 97 PageID 15107
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia

                               Table 10. Summary of Limited Longer-Term Follow-up Data from the TKI Discontinuation Trials
                                                                                                               Depth and Duration of MR                                Trigger to
                                                 Treatment Prior to                        No. of                                                                                                       Median                Treatment-free
                    Trial                                                                                            Required for                                     Resume TKI
                                                  Discontinuation                         Patients                                                                                                     Follow-up            Remission (TFR) Rate
                                                                                                                   Discontinuation                                      Therapy
         STIM1225                           Imatinib ± interferon                             100            MR5.0 for at least 2 years                          Loss of MR5.0                         77 months              38% at 60 months

                                                                                                                                                                                                                                      45%
         TWISTER230                         Imatinib ± interferon                              40            MR4.5 for at least 2 years                          Loss of MR5.0                        103 months            (molecular relapse-free
                                                                                                                                                                                                                            survival 45% at 8 years)

         HOVON226                           Imatinib + cytarabine                              15            MR4.5 for at least 2 years                          Loss of MR4.5                         36 months              33% at 24 months

         A-STIM227                          Imatinib ± interferon                              80            MR5.0 for at least 2 years                          Loss of MMR                           31 months              61% at 36 months

                                            Imatinib (after failure of
         ISAV study228                                                                        108            CMR for at least 18 months                          Loss of MMR                           36 months              52% at 36 months
                                            interferon or hydroxyurea)

         KID study229                       Imatinib ± interferon                              90            MR4.5 for at least 2 years                          Loss of MMR                           27 months              59% at 24 months

                                            Dasatinib/Nilotinib
         Stop 2G-TKI231                                                                        60            MR4.5 for at least 24 months                        Loss of MMR                           47 months              54% at 48 months
                                            (first- or second-line)

                                            Dasatinib
         DASFREE234                                                                            84            MR4.5 for 12 months                                 Loss of MMR                             2 years              46% at 24 months
                                            (first- or second-line)

         ENESTFreedom236                    Nilotinib (first-line)                            190            MR4.5 for 12 months                                 Loss of MMR                             5 years                43% at 5 years

         ENESTop study237                   Nilotinib (second-line)                           126            MR4.5 for 12 months                                 Loss of MMR                             5 years                43% at 5 years

         DADI235                            Dasatinib (first-line)                             68            MR4.5 for at least 24 months                        Loss of MMR                           23 months               55% at 6 months

         DADI232                            Dasatinib (second-line)                            63            MR4.0 for at least 12 months                        Loss of MR4.0                         44 months              44% at 36 months

         EURO-SKI233                         Any TKI                                          758            MR4.0 for at least 1 year                           Loss of MMR                           27 months              50% at 24 months

         CMR, complete molecular response (undetectable BCR-ABL1 by qPCR as determined by local laboratories); MMR, major molecular response (≤0.1% BCR-ABL1 IS); MR,
         molecular response; MR4.0, ≤0.01% BCR-ABL1 IS; MR4.5, ≤0.0032% BCR-ABL1 IS or >4.5-log reduction of BCR-ABL1 and undetectable minimal residual disease on qPCR
         with a sensitivity of ≥4.5-log reduction; MR5.0, 5-log reduction in BCR ABL1 levels and undetectable minimal residual disease on qPCR with a sensitivity of ≥4.5-log reduction




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                         MS-35
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 67 of 97 PageID 15108
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia


                                Table 11. TKI Therapy for Disease Progression to AP-CML: Long-Term Follow-up Data from Phase II/III Studies

                                                                                                                                                      Median
                                         TKI                                                No. of Patients                                                                 MCyR             CCyR                 OS          PFS
                                                                                                                                                     Follow-up

                              Dasatinib245,a                     Imatinib-R (n = 117)                                                                                         36%              29%
                                                                                                                                                     24 months                                                   63%          51%
                           (140 mg once daily)                   Imatinib-I (n = 41)                                                                                          46%              41%

                               Nilotinib248,b                    Imatinib-R (n = 109)                                                                                         30%              19%
                                                                                                                                                     24 months                                                   70%          33%
                           (400 mg twice daily)                  Imatinib-I (n = 27)                                                                                          41%              30%

                                                                 Prior imatinib only (n = 49)                                                                                 48%              35%               66%           —
                              Bosutinib250,c
                                                                                                                                                     48 months
                           (500 mg once daily)
                                                                 Imatinib followed by dasatinib or nilotinib (n = 30)                                                         27%              23%               45%           —

                                                                 Dasatinib or nilotinib-R or I (n = 65)                                                                                                         48%            19%
                                                                                                                                                                              45%              28%
                                 Ponatinib151,d                                                                                                                                                              at 5 years     at 5 years
                                                                                                                                                     32 months
                              (45 mg once daily)                                                                                                                                                                52%            29%
                                                                 T315I mutation (n = 18)                                                                                      67%              44%
                                                                                                                                                                                                             at 5 years     at 5 years

                        I, Intolerant; R, Resistant; CCyR, Complete cytogenetic response; MCyR, major cytogenetic response; OS, overall survival;
                        PFS, progression-free survival;

                         a.    Primary endpoint: Major hematologic response (MaHR). The rate of MaHR at 5 years was 67% for 140 mg once daily and 69% for 70 mg twice daily (Ottmann O,
                               et al. Blood Cancer J 2018;8:88).
                         b.    Primary endpoint: Confirmed complete hematologic response rate, achieved in 30% of patients with imatinib-resistant disease and 37% of imatinib-intolerant
                               patients.
                         c.    Primary endpoint: Confirmed overall hematologic response by 48 weeks.
                         d.    Primary endpoint: MaHR at any time within the first 6 months.




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                MS-36
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                        Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 68 of 97 PageID 15109
                                                                 NCCN Guidelines Version 1.2023
                                                                 Chronic Myeloid Leukemia

                               Table 12. TKI Therapy for Disease Progression to BP-CML: Long-Term Follow-up Data from Phase II/III Studies

                                                                                                                                                                 Median
                                                  TKI                                                   No. of Patients                                                                MCyR               CCyR                 OS
                                                                                                                                                                Follow-up

                                         Dasatinib247,a                      Lymphoid blast phase (n = 33)                                                                              50%                38%                21%
                                      (140 mg once daily)                                                                                                       24 months
                                                                             Myeloid blast phase (n = 75)                                                                               25%                14%                24%

                                          Nilotinib249,b                     Lymphoid blast phase (n = 31)                                                                              52%                32%                10%
                                      (400 mg twice daily)                                                                                                      24 months
                                                                             Myeloid blast phase (n = 105)                                                                              38%                30%                32%

                                         Bosutinib250,c                      Prior imatinib only (n = 36)                                                                               50%                37%                28%
                                      (500 mg once daily)                                                                                                       48 months
                                                                             Imatinib followed by dasatinib or nilotinib (n = 28)                                                       21%                17%                17%

                                                                             Dasatinib or nilotinib-R or -I (n = 38)                                                                    18%                16%
                                         Ponatinib151,d                                                                                                                                                                         9%
                                                                                                                                                                 6 months
                                      (45 mg once daily)                     T315I mutation (n = 24)                                                                                                                        at 3 years
                                                                                                                                                                                        29%                21%

                               I, Intolerant; R, Resistant; CCyR, complete cytogenetic response; MCyR, major cytogenetic response; OS, overall survival

                                 a.    Primary endpoint: Major hematologic response (MaHR).
                                 b.    Endpoints: Duration of MaHR, MCyR, and OS.
                                 c.    Primary endpoint: Confirmed overall hematologic response by 48 weeks.
                                 d.    MaHR at any time within the first 6 months.




      Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                MS-37
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 69 of 97 PageID 15110
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia


             Table 13: Results from Selected Published Clinical Trials Evaluating Novel Treatment Options
                                                                                                                                                                                              Median
            Drug Class                                 Clinical Trial                                                  TKI                                  No. of Patients                                             Response Rates
                                                                                                                                                                                             Follow-up
                                                                                               Radotinib (300 mg twice daily)                                       n = 79                                        MMR: 85%; MR4.5: 58%
                                    Phase III (REPRISE study)410                               Radotinib (400 mg twice daily)                                       n = 81                   ≥48 months           MMR: 83%; MR4.5: 56%
                                    Newly diagnosed CP-CML
                                                                                               Imatinib (400 mg once daily)                                         n = 81                                        MMR: 75%; MR4.5: 49%
          BCR-ABL1                  Phase      II411
                                                                                                                                                                                                                  MCyR: 65%; CCyR: 47%;
          inhibitors                CP-CML or AP-CML with resistance                           Radotinib (400 mg twice daily)                                       n = 77                    23 months
                                                                                                                                                                                                                  MMR:14%
                                    or intolerance to imatinib
                                                                                                                                                                                                                  EMR: 82%;
                                                                                               Flumatinib (600 mg once daily)                                      n = 196
                                    Phase III (FESTnd study)412                                                                                                                                                   MMR at 12 months: 53%
                                    Newly diagnosed CP-CML                                                                                                                                                        EMR: 53%;
                                                                                               Imatinib (400 mg once daily)                                        n = 198
                                                                                                                                                                                                                  MMR at 12 months: 40%
                                                                                               Lonafarnib (100 mg twice daily) +
                                    Phase I413                                                                                                                CP-CML (n = 9)                                      CHR: 9%; CCyR: 4%
                                                                                               imatinib (400 mg once daily)
                                    CP-CML or AP/BP-CML after failure
                                    of imatinib                                                Lonafarnib (100 mg twice daily) +
          Aurora kinase                                                                                                                                   AP/BP-CML (n = 14)                                      CHR: 14%; PCyR: 4%
                                                                                               imatinib (600 mg once daily)
          inhibitors
                                    Phase I414                                                 Tipifarnib (300 mg twice daily) +
                                                                                                                                                                    n = 26                                        CHR: 68%; CCyR: 12%
                                    CP-CML CML after failure of imatinib                       imatinib (400 mg once daily)

                                    Phase I (Dose-escalation study)415                                                                                        AP-CML (n = 7)                                      CHR: 3%
                                                                                               Danusertib (180 mg/m2; 3-hour IV
                                    AP-CML or BP-CML with resistance
                                                                                               infusion; days 1–7;14-day cycle)                               BP-CML (n = 9)                                      CCyR: 4%
                                    or intolerance to previous TKIs
          Farnesyl
          transferase                                                                                                                                                                                             CHR: 7%; MCyR: 13%;
                                                                                                                                                             CP-CML (n = 15)
          inhibitors                Phase II416                                                Tozasertib (5-day continuous IV                                                                                    CCyR: 13%
                                    CP-CML, AP/BP-CML with T315I                               infusion every 14 days at 40 mg/m2/h,
                                                                                                                                                             AP-CML (n = 14)                                      MCyR: 7%; CCyR: 7%
                                    mutation                                                   32 mg/m2/h, or 24 mg/m2/h)
                                                                                                                                                             BP-CML (n = 11)                                      MCyR: 9%

                                                                                                                                                                                                                  40% had values between MMR and
                                    Phase I (Dose-escalation study)417                         Ruxolitinib (5, 10, and 15 mg) +
          JAK2                                                                                                                                                                                                    MR4.0; 10% had values between
                                    CP-CML with no history of disease                          nilotinib (300 mg or 400 mg twice                                    n = 11
          inhibitors                                                                                                                                                                                              MR4.0 and MR4.5; and 40% had
                                    progression to AP-CML or BP-CML                            daily)
                                                                                                                                                                                                                  MR4.5




  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.                       MS-38
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 70 of 97 PageID 15111
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  References                                                                                                                               11. Seong DC, Kantarjian HM, Ro JY, et al. Hypermetaphase fluorescence
                                                                                                                                           in situ hybridization for quantitative monitoring of Philadelphia
  1. Siegel RL, Miller KD, Fuchs HE, Jemal A. Cancer statistics, 2022. CA                                                                  chromosome-positive cells in patients with chronic myelogenous leukemia
  Cancer J Clin 2022;n/a:Online ahead of print. Available at:                                                                              during treatment. Blood 1995;86:2343-2349. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/35020204.                                                                                            http://www.ncbi.nlm.nih.gov/pubmed/7662980.
  2. Faderl S, Talpaz M, Estrov Z, et al. The biology of chronic myeloid                                                                   12. Dewald GW, Wyatt WA, Juneau AL, et al. Highly sensitive
  leukemia. N Engl J Med 1999;341:164-172. Available at:                                                                                   fluorescence in situ hybridization method to detect double BCR/ABL fusion
  http://www.ncbi.nlm.nih.gov/pubmed/10403855.                                                                                             and monitor response to therapy in chronic myeloid leukemia. Blood
  3. Melo JV. The diversity of BCR-ABL fusion proteins and their relationship                                                              1998;91:3357-3365. Available at:
  to leukemia phenotype. Blood 1996;88:2375-2384. Available at:                                                                            http://www.ncbi.nlm.nih.gov/pubmed/9558393.
  https://www.ncbi.nlm.nih.gov/pubmed/8839828.                                                                                             13. Kantarjian HM, Talpaz M, Cortes J, et al. Quantitative polymerase
  4. Melo JV. BCR-ABL gene variants. Baillieres Clin Haematol                                                                              chain reaction monitoring of BCR-ABL during therapy with imatinib
  1997;10:203-222. Available at:                                                                                                           mesylate (STI571; gleevec) in chronic-phase chronic myelogenous
  https://www.ncbi.nlm.nih.gov/pubmed/9376660.                                                                                             leukemia. Clin Cancer Res 2003;9:160-166. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/12538464.
  5. Sawyers CL. Chronic myeloid leukemia. N Engl J Med
  1999;340:1330-1340. Available at:                                                                                                        14. Hughes T, Deininger M, Hochhaus A, et al. Monitoring CML patients
  http://www.ncbi.nlm.nih.gov/pubmed/10219069.                                                                                             responding to treatment with tyrosine kinase inhibitors: review and
                                                                                                                                           recommendations for harmonizing current methodology for detecting
  6. Radich JP, Dai H, Mao M, et al. Gene expression changes associated
                                                                                                                                           BCR-ABL transcripts and kinase domain mutations and for expressing
  with progression and response in chronic myeloid leukemia. Proc Natl
                                                                                                                                           results. Blood 2006;108:28-37. Available at:
  Acad Sci U S A 2006;103:2794-2799. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/16522812.
  http://www.ncbi.nlm.nih.gov/pubmed/16477019.
                                                                                                                                           15. Biernaux C, Loos M, Sels A, et al. Detection of major bcr-abl gene
  7. Jamieson CHM, Ailles LE, Dylla SJ, et al. Granulocyte-macrophage
                                                                                                                                           expression at a very low level in blood cells of some healthy individuals.
  progenitors as candidate leukemic stem cells in blast-crisis CML. N Engl J
                                                                                                                                           Blood 1995;86:3118-3122. Available at:
  Med 2004;351:657-667. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/7579406.
  http://www.ncbi.nlm.nih.gov/pubmed/15306667.
                                                                                                                                           16. Bose S, Deininger M, Gora-Tybor J, et al. The presence of typical and
  8. PubMed Overview. Available at: https://pubmed.ncbi.nlm.nih.gov/about/.
                                                                                                                                           atypical BCR-ABL fusion genes in leukocytes of normal individuals:
  Accessed
                                                                                                                                           biologic significance and implications for the assessment of minimal
  9. Mitelman F. The cytogenetic scenario of chronic myeloid leukemia.                                                                     residual disease. Blood 1998;92:3362-3367. Available at:
  Leuk Lymphoma 1993;11 Suppl 1:11-15. Available at:                                                                                       http://www.ncbi.nlm.nih.gov/pubmed/9787174.
  http://www.ncbi.nlm.nih.gov/pubmed/8251885.
                                                                                                                                           17. Baccarani M, Castagnetti F, Gugliotta G, et al. The proportion of
  10. Douet-Guilbert N, Morel F, Le Charpentier T, et al. Interphase FISH for                                                              different BCR-ABL1 transcript types in chronic myeloid leukemia. An
  follow-up of Philadelphia chromosome-positive chronic myeloid leukemia                                                                   international overview. Leukemia 2019;33:1173-1183. Available at:
  treatment. Anticancer Res 2004;24:2535-2539. Available at:                                                                               https://www.ncbi.nlm.nih.gov/pubmed/30675008.
  http://www.ncbi.nlm.nih.gov/pubmed/15330210.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-39
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 71 of 97 PageID 15112
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  18. Ghalesardi OK, Khosravi A, Azizi E, et al. The prognostic importance                                                                 myeloid leukemia. Cancer 2018;124:3806-3818. Available at:
  of BCR-ABL transcripts in Chronic Myeloid Leukemia: A systematic review                                                                  https://www.ncbi.nlm.nih.gov/pubmed/29694669.
  and meta-analysis. Leuk Res 2021;101:106512. Available at:
                                                                                                                                           26. Pfirrmann M, Evtimova D, Saussele S, et al. No influence of
  https://www.ncbi.nlm.nih.gov/pubmed/33524640.
                                                                                                                                           BCR-ABL1 transcript types e13a2 and e14a2 on long-term survival:
  19. Lucas CM, Harris RJ, Giannoudis A, et al. Chronic myeloid leukemia                                                                   results in 1494 patients with chronic myeloid leukemia treated with
  patients with the e13a2 BCR-ABL fusion transcript have inferior responses                                                                imatinib. J Cancer Res Clin Oncol 2017;143:843-850. Available at:
  to imatinib compared to patients with the e14a2 transcript. Haematologica                                                                https://www.ncbi.nlm.nih.gov/pubmed/28083711.
  2009;94:1362-1367. Available at:
                                                                                                                                           27. Genthon A, Nicolini FE, Huguet F, et al. Influence of major BCR-ABL1
  https://www.ncbi.nlm.nih.gov/pubmed/19713230.
                                                                                                                                           transcript subtype on outcome in patients with chronic myeloid leukemia in
  20. Hanfstein B, Lauseker M, Hehlmann R, et al. Distinct characteristics of                                                              chronic phase treated frontline with nilotinib. Oncotarget
  e13a2 versus e14a2 BCR-ABL1 driven chronic myeloid leukemia under                                                                        2020;11:2560-2570. Available at:
  first-line therapy with imatinib. Haematologica 2014;99:1441-1447.                                                                       https://www.ncbi.nlm.nih.gov/pubmed/32655840.
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/24837466.
                                                                                                                                           28. Verma D, Kantarjian HM, Jones D, et al. Chronic myeloid leukemia
  21. Jain P, Kantarjian H, Patel KP, et al. Impact of BCR-ABL transcript                                                                  (CML) with P190 BCR-ABL: analysis of characteristics, outcomes, and
  type on outcome in patients with chronic-phase CML treated with tyrosine                                                                 prognostic significance. Blood 2009;114:2232-2235. Available at:
  kinase inhibitors. Blood 2016;127:1269-1275. Available at:                                                                               http://www.ncbi.nlm.nih.gov/pubmed/19531657.
  https://www.ncbi.nlm.nih.gov/pubmed/26729897.
                                                                                                                                           29. Arun AK, Senthamizhselvi A, Mani S, et al. Frequency of rare
  22. Castagnetti F, Gugliotta G, Breccia M, et al. The BCR-ABL1 transcript                                                                BCR-ABL1 fusion transcripts in chronic myeloid leukemia patients. Int J
  type influences response and outcome in Philadelphia                                                                                     Lab Hematol 2017;39:235-242. Available at:
  chromosome-positive chronic myeloid leukemia patients treated frontline                                                                  https://www.ncbi.nlm.nih.gov/pubmed/28035733.
  with imatinib. Am J Hematol 2017;92:797-805. Available at:
                                                                                                                                           30. Gong Z, Medeiros LJ, Cortes JE, et al. Clinical and prognostic
  https://www.ncbi.nlm.nih.gov/pubmed/28466557.
                                                                                                                                           significance of e1a2 BCR-ABL1 transcript subtype in chronic myeloid
  23. Pagnano KBB, Miranda EC, Delamain MT, et al. Influence of                                                                            leukemia. Blood Cancer J 2017;7:e583. Available at:
  BCR-ABL Transcript Type on Outcome in Patients With Chronic-Phase                                                                        https://www.ncbi.nlm.nih.gov/pubmed/28708130.
  Chronic Myeloid Leukemia Treated With Imatinib. Clin Lymphoma
                                                                                                                                           31. Qin YZ, Jiang Q, Jiang H, et al. Prevalence and outcomes of
  Myeloma Leuk 2017;17:728-733. Available at:
                                                                                                                                           uncommon BCR-ABL1 fusion transcripts in patients with chronic myeloid
  https://www.ncbi.nlm.nih.gov/pubmed/28822797.
                                                                                                                                           leukaemia: data from a single centre. Br J Haematol 2018;182:693-700.
  24. Lee SE, Choi SY, Kim SH, et al. Baseline BCR-ABL1 transcript type of                                                                 Available at: https://www.ncbi.nlm.nih.gov/pubmed/29974949.
  e13a2 and large spleen size are predictors of poor long-term outcomes in
                                                                                                                                           32. Xue M, Wang Q, Huo L, et al. Clinical characteristics and prognostic
  chronic phase chronic myeloid leukemia patients who failed to achieve an
                                                                                                                                           significance of chronic myeloid leukemia with rare BCR-ABL1 transcripts.
  early molecular response after 3 months of imatinib therapy. Leuk
                                                                                                                                           Leuk Lymphoma 2019;60:3051-3057. Available at:
  Lymphoma 2018;59:105-113. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/31258010.
  https://www.ncbi.nlm.nih.gov/pubmed/28540759.
                                                                                                                                           33. Verstovsek S, Lin H, Kantarjian H, et al. Neutrophilic-chronic myeloid
  25. Ercaliskan A, Eskazan AE. The impact of BCR-ABL1 transcript type on
                                                                                                                                           leukemia: low levels of p230 BCR/ABL mRNA and undetectable BCR/ABL
  tyrosine kinase inhibitor responses and outcomes in patients with chronic

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-40
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 72 of 97 PageID 15113
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  protein may predict an indolent course. Cancer 2002;94:2416-2425.                                                                        transcripts in chronic myeloid leukemia. Leuk Lymphoma 2020:1-3.
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/12015767.                                                                              Available at: https://www.ncbi.nlm.nih.gov/pubmed/32508223.
  34. Langabeer SE, McCarron SL, Kelly J, et al. Chronic Myeloid Leukemia                                                                  42. Petiti J, Lo Iacono M, Dragani M, et al. Novel Multiplex Droplet Digital
  with e19a2 BCR-ABL1 Transcripts and Marked Thrombocytosis: The Role                                                                      PCR Assays to Monitor Minimal Residual Disease in Chronic Myeloid
  of Molecular Monitoring. Case Rep Hematol 2012;2012:458716. Available                                                                    Leukemia Patients Showing Atypical BCR-ABL1 Transcripts. J Clin Med
  at: https://www.ncbi.nlm.nih.gov/pubmed/22937329.                                                                                        2020;9. Available at:
  35. Crampe M, Haslam K, Kelly J, et al. Characterization of a novel variant                                                              43. Cortes JE, Talpaz M, Giles F, et al. Prognostic significance of
  BCR-ABL1 fusion transcript in a patient with chronic myeloid leukemia:                                                                   cytogenetic clonal evolution in patients with chronic myelogenous
  Implications for molecular monitoring. Hematol Oncol Stem Cell Ther                                                                      leukemia on imatinib mesylate therapy. Blood 2003;101:3794-3800.
  2017;10:85-88. Available at:                                                                                                             Available at: http://www.ncbi.nlm.nih.gov/pubmed/12560227.
  https://www.ncbi.nlm.nih.gov/pubmed/27013275.
                                                                                                                                           44. O'Dwyer ME, Mauro MJ, Blasdel C, et al. Clonal evolution and lack of
  36. Langabeer SE. Standardized Molecular Monitoring for Variant                                                                          cytogenetic response are adverse prognostic factors for hematologic
  BCR-ABL1 Transcripts in Chronic Myeloid Leukemia. Arch Pathol Lab                                                                        relapse of chronic phase CML patients treated with imatinib mesylate.
  Med 2015;139:969. Available at:                                                                                                          Blood 2004;103:451-455. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/14512312.
  37. Shanmuganathan N, Hughes TP. Molecular monitoring in CML: how
  deep? How often? How should it influence therapy? Hematology Am Soc                                                                      45. Wang W, Cortes JE, Lin P, et al. Clinical and prognostic significance of
  Hematol Educ Program 2018;2018:168-176. Available at:                                                                                    3q26.2 and other chromosome 3 abnormalities in CML in the era of
  https://www.ncbi.nlm.nih.gov/pubmed/30504306.                                                                                            tyrosine kinase inhibitors. Blood 2015;126:1699-1706. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/26243778.
  38. Burmeister T, Reinhardt R. A multiplex PCR for improved detection of
  typical and atypical BCR-ABL fusion transcripts. Leuk Res                                                                                46. Wang W, Tang G, Cortes JE, et al. Chromosomal rearrangement
  2008;32:579-585. Available at:                                                                                                           involving 11q23 locus in chronic myelogenous leukemia: a rare
  https://www.ncbi.nlm.nih.gov/pubmed/17928051.                                                                                            phenomenon frequently associated with disease progression and poor
                                                                                                                                           prognosis. J Hematol Oncol 2015;8:32. Available at:
  39. Bennour A, Ouahchi I, Moez M, et al. Comprehensive analysis of
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/25888368.
  BCR/ABL variants in chronic myeloid leukemia patients using multiplex
  RT-PCR. Clin Lab 2012;58:433-439. Available at:                                                                                          47. Wang W, Cortes JE, Tang G, et al. Risk stratification of chromosomal
  https://www.ncbi.nlm.nih.gov/pubmed/22783572.                                                                                            abnormalities in chronic myelogenous leukemia in the era of tyrosine
                                                                                                                                           kinase inhibitor therapy. Blood 2016;127:2742-2750. Available at:
  40. Mir R, Ahmad I, Javid J, et al. Simple multiplex RT-PCR for identifying
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/27006386.
  common fusion BCR-ABL transcript types and evaluation of molecular
  response of the a2b2 and a2b3 transcripts to Imatinib resistance in north                                                                48. Verma D, Kantarjian H, Shan J, et al. Survival outcomes for clonal
  Indian chronic myeloid leukemia patients. Indian J Cancer                                                                                evolution in chronic myeloid leukemia patients on second generation
  2015;52:314-318. Available at:                                                                                                           tyrosine kinase inhibitor therapy. Cancer 2010;116:2673-2681. Available
  https://www.ncbi.nlm.nih.gov/pubmed/26905124.                                                                                            at: http://www.ncbi.nlm.nih.gov/pubmed/20499401.
  41. Pagani IS, Dang P, Saunders VA, et al. Clinical utility of genomic DNA                                                               49. Fabarius A, Kalmanti L, Dietz CT, et al. Impact of unbalanced minor
  Q-PCR for the monitoring of a patient with atypical e19a2 BCR-ABL1                                                                       route versus major route karyotypes at diagnosis on prognosis of CML.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-41
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 73 of 97 PageID 15114
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Ann Hematol 2015;94:2015-2024. Available at:                                                                                             Leukemia 2004;18:1340-1346. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/26385387.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/15190256.
  50. Fabarius A, Leitner A, Hochhaus A, et al. Impact of additional                                                                       57. Deininger MW, Cortes J, Paquette R, et al. The prognosis for patients
  cytogenetic aberrations at diagnosis on prognosis of CML: long-term                                                                      with chronic myeloid leukemia who have clonal cytogenetic abnormalities
  observation of 1151 patients from the randomized CML Study IV. Blood                                                                     in philadelphia chromosome-negative cells. Cancer 2007;110:1509-1519.
  2011;118:6760-6768. Available at:                                                                                                        Available at: http://www.ncbi.nlm.nih.gov/pubmed/17702093.
  https://www.ncbi.nlm.nih.gov/pubmed/22039253.
                                                                                                                                           58. Jabbour E, Kantarjian HM, Abruzzo LV, et al. Chromosomal
  51. Hehlmann R, Voskanyan A, Lauseker M, et al. High-risk additional                                                                     abnormalities in Philadelphia chromosome negative metaphases
  chromosomal abnormalities at low blast counts herald death by CML.                                                                       appearing during imatinib mesylate therapy in patients with newly
  Leukemia 2020;34:2074-2086. Available at:                                                                                                diagnosed chronic myeloid leukemia in chronic phase. Blood
  https://www.ncbi.nlm.nih.gov/pubmed/32382082.                                                                                            2007;110:2991-2995. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17625066.
  52. Alhuraiji A, Kantarjian H, Boddu P, et al. Prognostic significance of
  additional chromosomal abnormalities at the time of diagnosis in patients                                                                59. Vignetti M, Fazi P, Cimino G, et al. Imatinib plus steroids induces
  with chronic myeloid leukemia treated with frontline tyrosine kinase                                                                     complete remissions and prolonged survival in elderly Philadelphia
  inhibitors. Am J Hematol 2018;93:84-90. Available at:                                                                                    chromosome-positive patients with acute lymphoblastic leukemia without
  https://www.ncbi.nlm.nih.gov/pubmed/29027261.                                                                                            additional chemotherapy: results of the Gruppo Italiano Malattie
                                                                                                                                           Ematologiche dell'Adulto (GIMEMA) LAL0201-B protocol. Blood
  53. Bumm T, Muller C, Al-Ali H-K, et al. Emergence of clonal cytogenetic
                                                                                                                                           2007;109:3676-3678. Available at:
  abnormalities in Ph- cells in some CML patients in cytogenetic remission
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/17213285.
  to imatinib but restoration of polyclonal hematopoiesis in the majority.
  Blood 2003;101:1941-1949. Available at:                                                                                                  60. Fabarius A, Haferlach C, Muller MC, et al. Dynamics of cytogenetic
  http://www.ncbi.nlm.nih.gov/pubmed/12411298.                                                                                             aberrations in Philadelphia chromosome positive and negative
                                                                                                                                           hematopoiesis during dasatinib therapy of chronic myeloid leukemia
  54. Feldman E, Najfeld V, Schuster M, et al. The emergence of Ph-,
                                                                                                                                           patients after imatinib failure. Haematologica 2007;92:834-837. Available
  trisomy -8+ cells in patients with chronic myeloid leukemia treated with
                                                                                                                                           at: https://www.ncbi.nlm.nih.gov/pubmed/17550857.
  imatinib mesylate. Exp Hematol 2003;31:702-707. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/12901975.                                                                                             61. Baldazzi C, Luatti S, Marzocchi G, et al. Emergence of clonal
                                                                                                                                           chromosomal abnormalities in Philadelphia negative hematopoiesis in
  55. Medina J, Kantarjian H, Talpaz M, et al. Chromosomal abnormalities in
                                                                                                                                           chronic myeloid leukemia patients treated with nilotinib after failure of
  Philadelphia chromosome-negative metaphases appearing during imatinib
                                                                                                                                           imatinib therapy. Leuk Res 2009;33:e218-220. Available at:
  mesylate therapy in patients with Philadelphia chromosome-positive
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/19525008.
  chronic myelogenous leukemia in chronic phase. Cancer
  2003;98:1905-1911. Available at:                                                                                                         62. Wang H, Jin J, Wang Y, et al. Clonal chromosomal abnormalities in
  http://www.ncbi.nlm.nih.gov/pubmed/14584073.                                                                                             Philadelphia-negative cells in chronic myeloid leukemia patients treated
                                                                                                                                           with nilotinib used in first-line therapy. Ann Hematol 2013;92:1625-1632.
  56. Terre C, Eclache V, Rousselot P, et al. Report of 34 patients with
                                                                                                                                           Available at: https://www.ncbi.nlm.nih.gov/pubmed/23793947.
  clonal chromosomal abnormalities in Philadelphia-negative cells during
  imatinib treatment of Philadelphia-positive chronic myeloid leukemia.                                                                    63. Ni H, Sun X, Xu Y, et al. Clinical implications of clonal chromosomal
                                                                                                                                           abnormalities in Philadelphia negative cells in CML patients after treated

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-42
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 74 of 97 PageID 15115
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  with tyrosine kinase inhibitors. Cancer Genet 2019;238:44-49. Available                                                                  2019;6:e276-e284. Available at:
  at: https://www.ncbi.nlm.nih.gov/pubmed/31425925.                                                                                        https://www.ncbi.nlm.nih.gov/pubmed/31036317.
  64. Sheng G, Xue M, Wang Q, et al. Occurrence of chromosomal                                                                             71. Soverini S, Abruzzese E, Bocchia M, et al. Next-generation
  abnormalities in Philadelphia chromosome-negative metaphases in                                                                          sequencing for BCR-ABL1 kinase domain mutation testing in patients with
  patients with chronic-phase chronic myeloid leukemia undergoing TKI                                                                      chronic myeloid leukemia: a position paper. J Hematol Oncol 2019;12:131.
  treatments. Leuk Lymphoma 2019;60:3503-3511. Available at:                                                                               Available at: https://www.ncbi.nlm.nih.gov/pubmed/31801582.
  https://www.ncbi.nlm.nih.gov/pubmed/31282805.
                                                                                                                                           72. Soverini S, Bavaro L, De Benedittis C, et al. Prospective assessment
  65. Issa GC, Kantarjian HM, Gonzalez GN, et al. Clonal chromosomal                                                                       of NGS-detectable mutations in CML patients with nonoptimal response:
  abnormalities appearing in Philadelphia chromosome–negative                                                                              the NEXT-in-CML study. Blood 2020;135:534-541. Available at:
  metaphases during CML treatment. Blood 2017;130:2084. Available at:                                                                      https://www.ncbi.nlm.nih.gov/pubmed/31877211.
  http://www.bloodjournal.org/content/130/19/2084.abstract.
                                                                                                                                           73. Sokal J, Cox E, Baccarani M, et al. Prognostic discrimination in
  66. Karimata K, Masuko M, Ushiki T, et al. Myelodysplastic syndrome with                                                                 "good-risk" chronic granulocytic leukemia. Blood 1984;63:789-799.
  Ph negative monosomy 7 chromosome following transient bone marrow                                                                        Available at: http://www.ncbi.nlm.nih.gov/pubmed/6584184.
  dysplasia during imatinib treatment for chronic myeloid leukemia. Intern
                                                                                                                                           74. Hasford J, Pfirrmann M, Hehlmann R, et al. A new prognostic score for
  Med 2011;50:481-485. Available at:
                                                                                                                                           survival of patients with chronic myeloid leukemia treated with interferon
  https://www.ncbi.nlm.nih.gov/pubmed/21372464.
                                                                                                                                           alfa. Writing Committee for the Collaborative CML Prognostic Factors
  67. Navarro JT, Feliu E, Grau J, et al. Monosomy 7 with severe                                                                           Project Group. J Natl Cancer Inst 1998;90:850-858. Available at:
  myelodysplasia developing during imatinib treatment of                                                                                   http://www.ncbi.nlm.nih.gov/pubmed/9625174.
  Philadelphia-positive chronic myeloid leukemia: two cases with a different
                                                                                                                                           75. Pfirrmann M, Baccarani M, Saussele S, et al. Prognosis of long-term
  outcome. Am J Hematol 2007;82:849-851. Available at:
                                                                                                                                           survival considering disease-specific death in patients with chronic
  https://www.ncbi.nlm.nih.gov/pubmed/17563075.
                                                                                                                                           myeloid leukemia. Leukemia 2016;30:48-56. Available at:
  68. Bidet A, Dulucq S, Smol T, et al. Poor prognosis of chromosome 7                                                                     https://www.ncbi.nlm.nih.gov/pubmed/26416462.
  clonal aberrations in Philadelphia-negative metaphases and relevance of
                                                                                                                                           76. Cortes JE, Talpaz M, O'Brien S, et al. Staging of chronic myeloid
  potential underlying myelodysplastic features in chronic myeloid leukemia.
                                                                                                                                           leukemia in the imatinib era: an evaluation of the World Health
  Haematologica 2019;104:1150-1155. Available at:
                                                                                                                                           Organization proposal. Cancer 2006;106:1306-1315. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/30573507.
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/16463391.
  69. Soverini S, De Benedittis C, Castagnetti F, et al. In chronic myeloid
                                                                                                                                           77. Arber DA, Orazi A, Hasserjian R, et al. The 2016 revision to the World
  leukemia patients on second-line tyrosine kinase inhibitor therapy, deep
                                                                                                                                           Health Organization classification of myeloid neoplasms and acute
  sequencing of BCR-ABL1 at the time of warning may allow sensitive
                                                                                                                                           leukemia. Blood 2016;127:2391-2405. Available at:
  detection of emerging drug-resistant mutants. BMC Cancer 2016;16:572.
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/27069254.
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/27485109.
                                                                                                                                           78. O'Dwyer ME, Mauro MJ, Kurilik G, et al. The impact of clonal evolution
  70. Kizilors A, Crisa E, Lea N, et al. Effect of low-level BCR-ABL1 kinase
                                                                                                                                           on response to imatinib mesylate (STI571) in accelerated phase CML.
  domain mutations identified by next-generation sequencing in patients with
                                                                                                                                           Blood 2002;100:1628-1633. Available at:
  chronic myeloid leukaemia: a population-based study. Lancet Haematol
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/12176881.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-43
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 75 of 97 PageID 15116
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  79. Druker BJ. Chronic myelogenous leukemia In: DeVita VT, Lawrence                                                                      of the randomized CML study IV and impact of non-CML determinants.
  TS, Rosenburg SA, eds. DeVita, Hellman, and Rosenberg's Cancer:                                                                          Leukemia 2017;31:2398-2406. Available at:
  Principles & Practice of Oncology. Vol. 2 (ed 8): Lippincott, Williams and                                                               https://www.ncbi.nlm.nih.gov/pubmed/28804124.
  Wilkins; 2007:2267-2304.
                                                                                                                                           87. Hoffmann VS, Hasford J, Deininger M, et al. Systematic review and
  80. Hochhaus A, Larson RA, Guilhot F, et al. Long-term outcomes of                                                                       meta-analysis of standard-dose imatinib vs. high-dose imatinib and
  imatinib treatment for chronic myeloid leukemia. N Engl J Med                                                                            second generation tyrosine kinase inhibitors for chronic myeloid leukemia.
  2017;376:917-927. Available at:                                                                                                          J Cancer Res Clin Oncol 2017;143:1311-1318. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/28273028.                                                                                            https://www.ncbi.nlm.nih.gov/pubmed/28275866.
  81. Cortes JE, Saglio G, Kantarjian HM, et al. Final 5-year study results of                                                             88. Quintas-Cardama A, Han X, Kantarjian H, Cortes J. Tyrosine kinase
  DASISION: the dasatinib versus imatinib study in treatment-naive chronic                                                                 inhibitor-induced platelet dysfunction in patients with chronic myeloid
  myeloid leukemia patients trial. J Clin Oncol 2016;34:2333-2340. Available                                                               leukemia. Blood 2009;114:261-263. Available at:
  at: https://www.ncbi.nlm.nih.gov/pubmed/27217448.                                                                                        http://www.ncbi.nlm.nih.gov/pubmed/19414863.
  82. Cortes JE, Gambacorti-Passerini C, Deininger MW, et al. Bosutinib                                                                    89. Hughes TP, Laneuville P, Rousselot P, et al. Incidence, outcomes, and
  Versus Imatinib for Newly Diagnosed Chronic Myeloid Leukemia: Results                                                                    risk factors of pleural effusion in patients receiving dasatinib therapy for
  From the Randomized BFORE Trial. J Clin Oncol 2018;36:231-237.                                                                           Philadelphia chromosome-positive leukemia. Haematologica
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/29091516.                                                                              2019;104:93-101. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/30093398.
  83. Kantarjian HM, Hughes TP, Larson RA, et al. Long-term outcomes
  with frontline nilotinib versus imatinib in newly diagnosed chronic myeloid                                                              90. Porkka K, Khoury HJ, Paquette RL, et al. Dasatinib 100 mg once daily
  leukemia in chronic phase: ENESTnd 10-year analysis. Leukemia                                                                            minimizes the occurrence of pleural effusion in patients with chronic
  2021;35:440-453. Available at:                                                                                                           myeloid leukemia in chronic phase and efficacy is unaffected in patients
  https://www.ncbi.nlm.nih.gov/pubmed/33414482.                                                                                            who develop pleural effusion. Cancer 2010;116:377-386. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19924787.
  84. Baccarani M, Druker BJ, Branford S, et al. Long-term response to
  imatinib is not affected by the initial dose in patients with Philadelphia                                                               91. Montani D, Bergot E, Gunther S, et al. Pulmonary arterial hypertension
  chromosome-positive chronic myeloid leukemia in chronic phase: final                                                                     in patients treated by dasatinib. Circulation 2012;125:2128-2137. Available
  update from the Tyrosine Kinase Inhibitor Optimization and Selectivity                                                                   at: http://www.ncbi.nlm.nih.gov/pubmed/22451584.
  (TOPS) study. Int J Hematol 2014;99:616-624. Available at:
                                                                                                                                           92. Orlandi EM, Rocca B, Pazzano AS, Ghio S. Reversible pulmonary
  https://www.ncbi.nlm.nih.gov/pubmed/24658916.
                                                                                                                                           arterial hypertension likely related to long-term, low-dose dasatinib
  85. Deininger MW, Kopecky KJ, Radich JP, et al. Imatinib 800 mg daily                                                                    treatment for chronic myeloid leukaemia. Leuk Res 2012;36:e4-6.
  induces deeper molecular responses than imatinib 400 mg daily: results of                                                                Available at: http://www.ncbi.nlm.nih.gov/pubmed/21890201.
  SWOG S0325, an intergroup randomized PHASE II trial in newly
                                                                                                                                           93. Cirmi S, El Abd A, Letinier L, et al. Cardiovascular Toxicity of Tyrosine
  diagnosed chronic phase chronic myeloid leukaemia. Br J Haematol
                                                                                                                                           Kinase Inhibitors Used in Chronic Myeloid Leukemia: An Analysis of the
  2014;164:223-232. Available at:
                                                                                                                                           FDA Adverse Event Reporting System Database (FAERS). Cancers
  http://www.ncbi.nlm.nih.gov/pubmed/24383843.
                                                                                                                                           (Basel) 2020;12. Available at:
  86. Hehlmann R, Lauseker M, Saussele S, et al. Assessment of imatinib                                                                    https://www.ncbi.nlm.nih.gov/pubmed/32235443.
  as first-line treatment of chronic myeloid leukemia: 10-year survival results

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-44
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 76 of 97 PageID 15117
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  94. Efficace F, Baccarani M, Breccia M, et al. Chronic fatigue is the most                                                               phase treated with imatinib, nilotinib, or non-tyrosine kinase therapy: a
  important factor limiting health-related quality of life of chronic myeloid                                                              retrospective cohort analysis. Leukemia 2013;27:1310-1315. Available at:
  leukemia patients treated with imatinib. Leukemia 2013;27:1511-1519.                                                                     http://www.ncbi.nlm.nih.gov/pubmed/23459450.
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/23417029.
                                                                                                                                           103. Assuncao PM, Lana TP, Delamain MT, et al. Cardiovascular Risk
  95. Berman E, Nicolaides M, Maki RG, et al. Altered bone and mineral                                                                     and Cardiovascular Events in Patients With Chronic Myeloid Leukemia
  metabolism in patients receiving imatinib mesylate. N Engl J Med                                                                         Treated With Tyrosine Kinase Inhibitors. Clin Lymphoma Myeloma Leuk
  2006;354:2006-2013. Available at:                                                                                                        2019;19:162-166. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/16687713.                                                                                             https://www.ncbi.nlm.nih.gov/pubmed/30660512.
  96. Berman E, Girotra M, Cheng C, et al. Effect of long term imatinib on                                                                 104. Caocci G, Mulas O, Bonifacio M, et al. Recurrent arterial occlusive
  bone in adults with chronic myelogenous leukemia and gastrointestinal                                                                    events in patients with chronic myeloid leukemia treated with second- and
  stromal tumors. Leuk Res 2013;37:790-794. Available at:                                                                                  third-generation tyrosine kinase inhibitors and role of secondary
  http://www.ncbi.nlm.nih.gov/pubmed/23473999.                                                                                             prevention. Int J Cardiol 2019;288:124-127. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/31029498.
  97. Tsao AS, Kantarjian H, Cortes J, et al. Imatinib mesylate causes
  hypopigmentation in the skin. Cancer 2003;98:2483-2487. Available at:                                                                    105. Quintas-Cardama A, Kantarjian H, O'Brien S, et al.
  http://www.ncbi.nlm.nih.gov/pubmed/14635084.                                                                                             Granulocyte-colony-stimulating factor (filgrastim) may overcome
                                                                                                                                           imatinib-induced neutropenia in patients with chronic-phase chronic
  98. Aleem A. Hypopigmentation of the skin due to imatinib mesylate in
                                                                                                                                           myelogenous leukemia. Cancer 2004;100:2592-2597. Available at:
  patients with chronic myeloid leukemia. Hematol Oncol Stem Cell Ther
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/15197801.
  2009;2:358-361. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/20118061.                                                                                             106. Quintas-Cardama A, De Souza Santos FP, Kantarjian H, et al.
                                                                                                                                           Dynamics and management of cytopenias associated with dasatinib
  99. Sakurai M, Kikuchi T, Karigane D, et al. Renal dysfunction and anemia
                                                                                                                                           therapy in patients with chronic myeloid leukemia in chronic phase after
  associated with long-term imatinib treatment in patients with chronic
                                                                                                                                           imatinib failure. Cancer 2009;115:3935-3943. Available at:
  myelogenous leukemia. Int J Hematol 2019;109:292-298. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19517473.
  https://www.ncbi.nlm.nih.gov/pubmed/30680668.
                                                                                                                                           107. Santos FP, Alvarado Y, Kantarjian H, et al. Long-term prognostic
  100. Aichberger KJ, Herndlhofer S, Schernthaner G-H, et al. Progressive
                                                                                                                                           impact of the use of erythropoietic-stimulating agents in patients with
  peripheral arterial occlusive disease and other vascular events during
                                                                                                                                           chronic myeloid leukemia in chronic phase treated with imatinib. Cancer
  nilotinib therapy in CML. Am J Hematol 2011;86:533-539. Available at:
                                                                                                                                           2011;117:982-991. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/21538470.
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/20960502.
  101. Tefferi A, Letendre L. Nilotinib treatment-associated peripheral artery
                                                                                                                                           108. Reinhold U, Hennig E, Leiblein S, et al. FISH for BCR-ABL on
  disease and sudden death: yet another reason to stick to imatinib as
                                                                                                                                           interphases of peripheral blood neutrophils but not of unselected white
  front-line therapy for chronic myelogenous leukemia. Am J Hematol
                                                                                                                                           cells correlates with bone marrow cytogenetics in CML patients treated
  2011;86:610-611. Available at:
                                                                                                                                           with imatinib. Leukemia 2003;17:1925-1929. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/21630307.
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/14513039.
  102. Giles FJ, Mauro MJ, Hong F, et al. Rates of peripheral arterial
                                                                                                                                           109. Fugazza G, Miglino M, Bruzzone R, et al. Cytogenetic and
  occlusive disease in patients with chronic myeloid leukemia in the chronic
                                                                                                                                           fluorescence in situ hybridization monitoring in Ph+ Chronic Myeloid

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-45
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 77 of 97 PageID 15118
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Leukemia patients treated with imatinib mesylate. J Exp Clin Cancer Res                                                                  116. Cross NC. Standardisation of molecular monitoring for chronic
  2004;23:295-299. Available at:                                                                                                           myeloid leukaemia. Best Pract Res Clin Haematol 2009;22:355-365.
  https://www.ncbi.nlm.nih.gov/pubmed/15354415.                                                                                            Available at: http://www.ncbi.nlm.nih.gov/pubmed/19959086.
  110. Landstrom AP, Ketterling RP, Knudson RA, Tefferi A. Utility of                                                                      117. Cross NC, White HE, Muller MC, et al. Standardized definitions of
  peripheral blood dual color, double fusion fluorescent in situ hybridization                                                             molecular response in chronic myeloid leukemia. Leukemia
  for BCR/ABL fusion to assess cytogenetic remission status in chronic                                                                     2012;26:2172-2175. Available at:
  myeloid leukemia. Leuk Lymphoma 2006;47:2055-2061. Available at:                                                                         https://www.ncbi.nlm.nih.gov/pubmed/22504141.
  http://www.ncbi.nlm.nih.gov/pubmed/17071476.
                                                                                                                                           118. Branford S, Fletcher L, Cross NC, et al. Desirable performance
  111. Testoni N, Marzocchi G, Luatti S, et al. Chronic myeloid leukemia: a                                                                characteristics for BCR-ABL measurement on an international reporting
  prospective comparison of interphase fluorescence in situ hybridization                                                                  scale to allow consistent interpretation of individual patient response and
  and chromosome banding analysis for the definition of complete                                                                           comparison of response rates between clinical trials. Blood
  cytogenetic response: a study of the GIMEMA CML WP. Blood                                                                                2008;112:3330-3338. Available at:
  2009;114:4939-4943. Available at:                                                                                                        http://www.ncbi.nlm.nih.gov/pubmed/18684859.
  http://www.ncbi.nlm.nih.gov/pubmed/19797518.
                                                                                                                                           119. Guerin A, Chen L, Dea K, et al. Association between regular
  112. Lima L, Bernal-Mizrachi L, Saxe D, et al. Peripheral blood monitoring                                                               molecular monitoring and tyrosine kinase inhibitor therapy adherence in
  of chronic myeloid leukemia during treatment with imatinib, second-line                                                                  chronic myelogenous leukemia in the chronic phase. Curr Med Res Opin
  agents, and beyond. Cancer 2011;117:1245-1252. Available at:                                                                             2014;30:1345-1352. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/21381013.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/24640967.
  113. Hughes T, Hochhaus A, Branford S, et al. Long-term prognostic                                                                       120. Hanfstein B, Muller MC, Hehlmann R, et al. Early molecular and
  significance of early molecular response to imatinib in newly diagnosed                                                                  cytogenetic response is predictive for long-term progression-free and
  chronic myeloid leukemia: an analysis from the International Randomized                                                                  overall survival in chronic myeloid leukemia (CML). Leukemia
  Study of Interferon and STI571 (IRIS). Blood 2010;116:3758-3765.                                                                         2012;26:2096-2102. Available at:
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/20679528.                                                                               http://www.ncbi.nlm.nih.gov/pubmed/22446502.
  114. Akard LP, Cortes JE, Albitar M, et al. Correlations between                                                                         121. Marin D, Ibrahim AR, Lucas C, et al. Assessment of BCR-ABL1
  cytogenetic and molecular monitoring among patients with newly                                                                           transcript levels at 3 months is the only requirement for predicting outcome
  diagnosed chronic myeloid leukemia in chronic phase: post hoc analyses                                                                   for patients with chronic myeloid leukemia treated with tyrosine kinase
  of the rationale and insight for gleevec high-dose therapy study. Arch                                                                   inhibitors. J Clin Oncol 2012;30:232-238. Available at:
  Pathol Lab Med 2014;138:1186-1192. Available at:                                                                                         http://www.ncbi.nlm.nih.gov/pubmed/22067393.
  http://www.ncbi.nlm.nih.gov/pubmed/24308645.
                                                                                                                                           122. Neelakantan P, Gerrard G, Lucas C, et al. Combining BCR-ABL1
  115. Branford S, Cross NCP, Hochhaus A, et al. Rationale for the                                                                         transcript levels at 3 and 6 months in chronic myeloid leukemia:
  recommendations for harmonizing current methodology for detecting                                                                        implications for early intervention strategies. Blood 2013;121:2739-2742.
  BCR-ABL transcripts in patients with chronic myeloid leukaemia.                                                                          Available at: http://www.ncbi.nlm.nih.gov/pubmed/23380743.
  Leukemia 2006;20:1925-1930. Available at:
                                                                                                                                           123. Nazha A, Kantarjian H, Jain P, et al. Assessment at 6 months may be
  http://www.ncbi.nlm.nih.gov/pubmed/16990771.
                                                                                                                                           warranted for patients with chronic myeloid leukemia with no major


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-46
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 78 of 97 PageID 15119
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  cytogenetic response at 3 months. Haematologica 2013;98:1686-1688.                                                                       131. de Lavallade H, Apperley JF, Khorashad JS, et al. Imatinib for newly
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/23812943.                                                                               diagnosed patients with chronic myeloid leukemia: incidence of sustained
                                                                                                                                           responses in an intention-to-treat analysis. J Clin Oncol
  124. Branford S, Yeung DT, Parker WT, et al. Prognosis for patients with
                                                                                                                                           2008;26:3358-3363. Available at:
  CML and >10% BCR-ABL1 after 3 months of imatinib depends on the rate
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18519952.
  of BCR-ABL1 decline. Blood 2014;124:511-518. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/24859364.                                                                                             132. Marin D, Milojkovic D, Olavarria E, et al. European LeukemiaNet
                                                                                                                                           criteria for failure or suboptimal response reliably identify patients with
  125. Hanfstein B, Shlyakhto V, Lauseker M, et al. Velocity of early
                                                                                                                                           CML in early chronic phase treated with imatinib whose eventual outcome
  BCR-ABL transcript elimination as an optimized predictor of outcome in
                                                                                                                                           is poor. Blood 2008;112:4437-4444. Available at:
  chronic myeloid leukemia (CML) patients in chronic phase on treatment
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18716134.
  with imatinib. Leukemia 2014;28:1988-1992. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/24798484.                                                                                             133. Jabbour E, Kantarjian HM, O'Brien S, et al. Front-line therapy with
                                                                                                                                           second-generation tyrosine kinase inhibitors in patients with early chronic
  126. Iriyama N, Fujisawa S, Yoshida C, et al. Shorter halving time of
                                                                                                                                           phase chronic myeloid leukemia: what is the optimal response? J Clin
  BCR-ABL1 transcripts is a novel predictor for achievement of molecular
                                                                                                                                           Oncol 2011;29:4260-4265. Available at:
  responses in newly diagnosed chronic-phase chronic myeloid leukemia
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/21990394.
  treated with dasatinib: Results of the D-first study of Kanto CML study
  group. Am J Hematol 2015;90:282-287. Available at:                                                                                       134. Hehlmann R, Muller MC, Lauseker M, et al. Deep molecular
  http://www.ncbi.nlm.nih.gov/pubmed/25530131.                                                                                             response is reached by the majority of patients treated with imatinib,
                                                                                                                                           predicts survival, and is achieved more quickly by optimized high-dose
  127. Hochhaus A, O'Brien SG, Guilhot F, et al. Six-year follow-up of
                                                                                                                                           imatinib: results from the randomized CML-study IV. J Clin Oncol
  patients receiving imatinib for the first-line treatment of chronic myeloid
                                                                                                                                           2014;32:415-423. Available at:
  leukemia. Leukemia 2009;23:1054-1061. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/24297946.
  https://www.ncbi.nlm.nih.gov/pubmed/19282833.
                                                                                                                                           135. Saussele S, Hehlmann R, Fabarius A, et al. Defining therapy goals
  128. Jabbour E, Kantarjian H, O'Brien S, et al. The achievement of an
                                                                                                                                           for major molecular remission in chronic myeloid leukemia: results of the
  early complete cytogenetic response is a major determinant for outcome in
                                                                                                                                           randomized CML Study IV. Leukemia 2018;32:1222-1228. Available at:
  patients with early chronic phase chronic myeloid leukemia treated with
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/29479070.
  tyrosine kinase inhibitors. Blood 2011;118:4541-4546. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/21803854.                                                                                             136. Cervantes F, López-Garrido P, Montero MI, et al. Early intervention
                                                                                                                                           during imatinib therapy in patients with newly diagnosed chronic-phase
  129. Druker BJ, Guilhot F, O'Brien SG, et al. Five-year follow-up of
                                                                                                                                           chronic myeloid leukemia: a study of the Spanish PETHEMA group.
  patients receiving imatinib for chronic myeloid leukemia. N Engl J Med
                                                                                                                                           Haematologica 2010;95:1317-1324. Available at:
  2006;355:2408-2417. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/20220063.
  http://www.ncbi.nlm.nih.gov/pubmed/17151364.
                                                                                                                                           137. Kantarjian H, Cortes J. Considerations in the management of patients
  130. Press RD, Galderisi C, Yang R, et al. A half-log increase in BCR-ABL
                                                                                                                                           with Philadelphia chromosome-positive chronic myeloid leukemia
  RNA predicts a higher risk of relapse in patients with chronic myeloid
                                                                                                                                           receiving tyrosine kinase inhibitor therapy. J Clin Oncol
  leukemia with an imatinib-induced complete cytogenetic response. Clin
                                                                                                                                           2011;29:1512-1516. Available at:
  Cancer Res 2007;13:6136-6143. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/21422414.
  http://www.ncbi.nlm.nih.gov/pubmed/17947479.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-47
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 79 of 97 PageID 15120
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  138. Hochhaus A, Baccarani M, Silver RT, et al. European LeukemiaNet                                                                     DASCERN randomized study. Leukemia 2020;34:2064-2073. Available at:
  2020 recommendations for treating chronic myeloid leukemia. Leukemia                                                                     https://www.ncbi.nlm.nih.gov/pubmed/32265500.
  2020;34:966-984. Available at:
                                                                                                                                           146. Shah NP, Rousselot P, Schiffer C, et al. Dasatinib in
  https://www.ncbi.nlm.nih.gov/pubmed/32127639.
                                                                                                                                           imatinib-resistant or -intolerant chronic-phase, chronic myeloid leukemia
  139. Kantarjian HM, Talpaz M, O'Brien S, et al. Dose escalation of imatinib                                                              patients: 7-year follow-up of study CA180-034. Am J Hematol
  mesylate can overcome resistance to standard-dose therapy in patients                                                                    2016;91:869-874. Available at:
  with chronic myelogenous leukemia. Blood 2003;101:473-475. Available                                                                     https://www.ncbi.nlm.nih.gov/pubmed/27192969.
  at: http://www.ncbi.nlm.nih.gov/pubmed/12393385.
                                                                                                                                           147. Giles FJ, le Coutre PD, Pinilla-Ibarz J, et al. Nilotinib in
  140. Marin D, Goldman JM, Olavarria E, Apperley JF. Transient benefit                                                                    imatinib-resistant or imatinib-intolerant patients with chronic myeloid
  only from increasing the imatinib dose in CML patients who do not achieve                                                                leukemia in chronic phase: 48-month follow-up results of a phase II study.
  complete cytogenetic remissions on conventional doses. Blood                                                                             Leukemia 2013;27:107-112. Available at:
  2003;102:2702-2704. Available at:                                                                                                        http://www.ncbi.nlm.nih.gov/pubmed/22763385.
  http://www.ncbi.nlm.nih.gov/pubmed/14504074.
                                                                                                                                           148. Gambacorti-Passerini C, Cortes JE, Lipton JH, et al. Safety and
  141. Jabbour E, Kantarjian HM, Jones D, et al. Imatinib mesylate dose                                                                    efficacy of second-line bosutinib for chronic phase chronic myeloid
  escalation is associated with durable responses in patients with chronic                                                                 leukemia over a five-year period: final results of a phase I/II study.
  myeloid leukemia after cytogenetic failure on standard-dose imatinib                                                                     Haematologica 2018;103:1298-1307. Available at:
  therapy. Blood 2009;113:2154-2160. Available at:                                                                                         https://www.ncbi.nlm.nih.gov/pubmed/29773593.
  http://www.ncbi.nlm.nih.gov/pubmed/19060245.
                                                                                                                                           149. Cortes JE, Khoury HJ, Kantarjian HM, et al. Long-term bosutinib for
  142. Kantarjian HM, Larson RA, Guilhot F, et al. Efficacy of imatinib dose                                                               chronic phase chronic myeloid leukemia after failure of imatinib plus
  escalation in patients with chronic myeloid leukemia in chronic phase.                                                                   dasatinib and/or nilotinib. Am J Hematol 2016;91:1206-1214. Available at:
  Cancer 2009;115:551-560. Available at:                                                                                                   https://www.ncbi.nlm.nih.gov/pubmed/27531525.
  http://www.ncbi.nlm.nih.gov/pubmed/19117345.
                                                                                                                                           150. Hochhaus A, Gambacorti-Passerini C, Abboud C, et al. Bosutinib for
  143. Yeung DT, Osborn MP, White DL, et al. TIDEL-II: first-line use of                                                                   pretreated patients with chronic phase chronic myeloid leukemia: primary
  imatinib in CML with early switch to nilotinib for failure to achieve                                                                    results of the phase 4 BYOND study. Leukemia 2020;34:2125-2137.
  time-dependent molecular targets. Blood 2015;125:915-923. Available at:                                                                  Available at: https://www.ncbi.nlm.nih.gov/pubmed/32572189.
  http://www.ncbi.nlm.nih.gov/pubmed/25519749.
                                                                                                                                           151. Cortes JE, Kim D-W, Pinilla-Ibarz J, et al. Ponatinib efficacy and
  144. Cortes JE, De Souza CA, Ayala M, et al. Switching to nilotinib versus                                                               safety in Philadelphia chromosome–positive leukemia: final 5-year results
  imatinib dose escalation in patients with chronic myeloid leukaemia in                                                                   of the phase 2 PACE trial. Blood 2018;132:393-404. Available at:
  chronic phase with suboptimal response to imatinib (LASOR): a                                                                            https://www.ncbi.nlm.nih.gov/pubmed/29567798.
  randomised, open-label trial. Lancet Haematol 2016;3:e581-e591.
                                                                                                                                           152. Cortes J, Apperley J, Lomaia E, et al. Ponatinib dose-ranging study in
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/27890073.
                                                                                                                                           chronic-phase chronic myeloid leukemia: a randomized, open-label phase
  145. Cortes JE, Jiang Q, Wang J, et al. Dasatinib vs. imatinib in patients                                                               2 clinical trial. Blood 2021;138:2042-2050. Available at:
  with chronic myeloid leukemia in chronic phase (CML-CP) who have not                                                                     https://www.ncbi.nlm.nih.gov/pubmed/34407543.
  achieved an optimal response to 3 months of imatinib therapy: the


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-48
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 80 of 97 PageID 15121
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  153. Hughes TP, Mauro MJ, Cortes JE, et al. Asciminib in Chronic Myeloid                                                                 161. Cortes J, Digumarti R, Parikh PM, et al. Phase 2 study of
  Leukemia after ABL Kinase Inhibitor Failure. N Engl J Med                                                                                subcutaneous omacetaxine mepesuccinate for chronic-phase chronic
  2019;381:2315-2326. Available at:                                                                                                        myeloid leukemia patients resistant to or intolerant of tyrosine kinase
  https://www.ncbi.nlm.nih.gov/pubmed/31826340.                                                                                            inhibitors. Am J Hematol 2013;88:350-354. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/23468307.
  154. Rea D, Mauro MJ, Boquimpani C, et al. A phase 3, open-label,
  randomized study of asciminib, a STAMP inhibitor, vs bosutinib in CML                                                                    162. Garg RJ, Kantarjian H, O'Brien S, et al. The use of nilotinib or
  after 2 or more prior TKIs. Blood 2021;138:2031-2041. Available at:                                                                      dasatinib after failure to 2 prior tyrosine kinase inhibitors: long-term
  https://www.ncbi.nlm.nih.gov/pubmed/34407542.                                                                                            follow-up. Blood 2009;114:4361-4368. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19729517.
  155. Dorer DJ, Knickerbocker RK, Baccarani M, et al. Impact of dose
  intensity of ponatinib on selected adverse events: Multivariate analyses                                                                 163. van Leeuwen RW, van Gelder T, Mathijssen RH, Jansman FG.
  from a pooled population of clinical trial patients. Leuk Res 2016;48:84-91.                                                             Drug-drug interactions with tyrosine-kinase inhibitors: a clinical
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/27505637.                                                                              perspective. Lancet Oncol 2014;15:e315-326. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/24988935.
  156. Jain P, Kantarjian H, Boddu PC, et al. Analysis of cardiovascular and
  arteriothrombotic adverse events in chronic-phase CML patients after                                                                     164. Osorio S, Escudero-Vilaplana V, Gomez-Centurion I, et al.
  frontline TKIs. Blood Adv 2019;3:851-861. Available at:                                                                                  Drug-to-drug interactions of tyrosine kinase inhibitors in chronic myeloid
  https://www.ncbi.nlm.nih.gov/pubmed/30885996.                                                                                            leukemia patients. Is it a real problem? Ann Hematol 2018;97:2089-2098.
                                                                                                                                           Available at: https://www.ncbi.nlm.nih.gov/pubmed/29955943.
  157. Caocci G, Mulas O, Abruzzese E, et al. Arterial occlusive events in
  chronic myeloid leukemia patients treated with ponatinib in the real-life                                                                165. Noens L, van Lierde M-A, De Bock R, et al. Prevalence,
  practice are predicted by the Systematic Coronary Risk Evaluation                                                                        determinants, and outcomes of nonadherence to imatinib therapy in
  (SCORE) chart. Hematol Oncol 2019;37:296-302. Available at:                                                                              patients with chronic myeloid leukemia: the ADAGIO study. Blood
  https://www.ncbi.nlm.nih.gov/pubmed/30892724.                                                                                            2009;113:5401-5411. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19349618.
  158. Iurlo A, Cattaneo D, Orofino N, et al. Low-Dose Ponatinib in Intolerant
  Chronic Myeloid Leukemia Patients: A Safe and Effective Option. Clin                                                                     166. Marin D, Bazeos A, Mahon F-X, et al. Adherence is the critical factor
  Drug Investig 2018;38:475-476. Available at:                                                                                             for achieving molecular responses in patients with chronic myeloid
  https://www.ncbi.nlm.nih.gov/pubmed/29363026.                                                                                            leukemia who achieve complete cytogenetic responses on imatinib. J Clin
                                                                                                                                           Oncol 2010;28:2381-2388. Available at:
  159. Casavecchia G, Galderisi M, Novo G, et al. Early diagnosis, clinical
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/20385986.
  management, and follow-up of cardiovascular events with ponatinib. Heart
  Fail Rev 2020. Available at:                                                                                                             167. Ibrahim AR, Eliasson L, Apperley JF, et al. Poor adherence is the
  https://www.ncbi.nlm.nih.gov/pubmed/32026180.                                                                                            main reason for loss of CCyR and imatinib failure for chronic myeloid
                                                                                                                                           leukemia patients on long-term therapy. Blood 2011;117:3733-3736.
  160. Cortes J, Lipton JH, Rea D, et al. Phase 2 study of subcutaneous
                                                                                                                                           Available at: http://www.ncbi.nlm.nih.gov/pubmed/21346253.
  omacetaxine mepesuccinate after TKI failure in patients with
  chronic-phase CML with T315I mutation. Blood 2012;120:2573-2580.                                                                         168. Wu EQ, Guerin A, Yu AP, et al. Retrospective real-world comparison
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/22896000.                                                                               of medical visits, costs, and adherence between nilotinib and dasatinib in
                                                                                                                                           chronic myeloid leukemia. Curr Med Res Opin 2010;26:2861-2869.
                                                                                                                                           Available at: http://www.ncbi.nlm.nih.gov/pubmed/21062136.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-49
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 81 of 97 PageID 15122
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  169. Yood MU, Oliveria SA, Cziraky M, et al. Adherence to treatment with                                                                 177. Picard S, Titier K, Etienne G, et al. Trough imatinib plasma levels are
  second-line therapies, dasatinib and nilotinib, in patients with chronic                                                                 associated with both cytogenetic and molecular responses to
  myeloid leukemia. Curr Med Res Opin 2012;28:213-219. Available at:                                                                       standard-dose imatinib in chronic myeloid leukemia. Blood
  http://www.ncbi.nlm.nih.gov/pubmed/22168217.                                                                                             2007;109:3496-3499. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17192396.
  170. Quintas-Cardama A, Cortes JE, Kantarjian H. Practical management
  of toxicities associated with tyrosine kinase inhibitors in chronic myeloid                                                              178. Larson RA, Druker BJ, Guilhot F, et al. Imatinib pharmacokinetics
  leukemia. Clin Lymphoma Myeloma 2008;8 Suppl 3:S82-88. Available at:                                                                     and its correlation with response and safety in chronic-phase chronic
  http://www.ncbi.nlm.nih.gov/pubmed/19254885.                                                                                             myeloid leukemia: a subanalysis of the IRIS study. Blood
                                                                                                                                           2008;111:4022-4028. Available at:
  171. Cornelison M, Jabbour EJ, Welch MA. Managing side effects of
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18256322.
  tyrosine kinase inhibitor therapy to optimize adherence in patients with
  chronic myeloid leukemia: the role of the midlevel practitioner. J Support                                                               179. Bouchet S, Titier K, Moore N, et al. Therapeutic drug monitoring of
  Oncol 2012;10:14-24. Available at:                                                                                                       imatinib in chronic myeloid leukemia: experience from 1216 patients at a
  http://www.ncbi.nlm.nih.gov/pubmed/22244674.                                                                                             centralized laboratory. Fundam Clin Pharmacol 2013;27:690-697.
                                                                                                                                           Available at: http://www.ncbi.nlm.nih.gov/pubmed/23113675.
  172. Cortes JE, Lipton JH, Miller CB, et al. Evaluating the Impact of a
  Switch to Nilotinib on Imatinib-Related Chronic Low-Grade Adverse                                                                        180. White DL, Radich J, Soverini S, et al. Chronic phase chronic myeloid
  Events in Patients With CML-CP: The ENRICH Study. Clin Lymphoma                                                                          leukemia patients with low OCT-1 activity randomised to high-dose
  Myeloma Leuk 2016;16:286-296. Available at:                                                                                              imatinib achieve better responses, and lower failure rates, than those
                                                                                                                                           randomized to standard-dose. Haematologica 2012;97:907-914. Available
  173. Kim DW, Saussele S, Williams LA, et al. Outcomes of switching to
                                                                                                                                           at: http://www.ncbi.nlm.nih.gov/pubmed/22207690.
  dasatinib after imatinib-related low-grade adverse events in patients with
  chronic myeloid leukemia in chronic phase: the DASPERSE study. Ann                                                                       181. Giannoudis A, Davies A, Lucas CM, et al. Effective dasatinib uptake
  Hematol 2018;97:1357-1367. Available at:                                                                                                 may occur without human organic cation transporter 1 (hOCT1):
  https://www.ncbi.nlm.nih.gov/pubmed/29556695.                                                                                            implications for the treatment of imatinib-resistant chronic myeloid
                                                                                                                                           leukemia. Blood 2008;112:3348-3354. Available at:
  174. Thomas J, Wang L, Clark RE, Pirmohamed M. Active transport of
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18669873.
  imatinib into and out of cells: implications for drug resistance. Blood
  2004;104:3739-3745. Available at:                                                                                                        182. Hiwase DK, Saunders V, Hewett D, et al. Dasatinib cellular uptake
  http://www.ncbi.nlm.nih.gov/pubmed/15315971.                                                                                             and efflux in chronic myeloid leukemia cells: therapeutic implications. Clin
                                                                                                                                           Cancer Res 2008;14:3881-3888. Available at:
  175. Mahon FX, Hayette S, Lagarde V, et al. Evidence that resistance to
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18559609.
  nilotinib may be due to BCR-ABL, Pgp, or Src kinase overexpression.
  Cancer Res 2008;68:9809-9816. Available at:                                                                                              183. Davies A, Jordanides NE, Giannoudis A, et al. Nilotinib concentration
  http://www.ncbi.nlm.nih.gov/pubmed/19047160.                                                                                             in cell lines and primary CD34(+) chronic myeloid leukemia cells is not
                                                                                                                                           mediated by active uptake or efflux by major drug transporters. Leukemia
  176. Hegedus C, Ozvegy-Laczka C, Apati A, et al. Interaction of nilotinib,
                                                                                                                                           2009;23:1999-2006. Available at:
  dasatinib and bosutinib with ABCB1 and ABCG2: implications for altered
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19710702.
  anti-cancer effects and pharmacological properties. Br J Pharmacol
  2009;158:1153-1164. Available at:                                                                                                        184. White DL, Saunders VA, Dang P, et al. OCT-1-mediated influx is a
  http://www.ncbi.nlm.nih.gov/pubmed/19785662.                                                                                             key determinant of the intracellular uptake of imatinib but not nilotinib

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-50
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 82 of 97 PageID 15123
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  (AMN107): reduced OCT-1 activity is the cause of low in vitro sensitivity to                                                             2009;114:2168-2171. Available at:
  imatinib. Blood 2006;108:697-704. Available at:                                                                                          http://www.ncbi.nlm.nih.gov/pubmed/19589924.
  http://www.ncbi.nlm.nih.gov/pubmed/16597591.
                                                                                                                                           191. Hughes T, Saglio G, Branford S, et al. Impact of baseline BCR-ABL
  185. Branford S, Rudzki Z, Walsh S, et al. Detection of BCR-ABL                                                                          mutations on response to nilotinib in patients with chronic myeloid
  mutations in patients with CML treated with imatinib is virtually always                                                                 leukemia in chronic phase. J Clin Oncol 2009;27:4204-4210. Available at:
  accompanied by clinical resistance, and mutations in the ATP                                                                             http://www.ncbi.nlm.nih.gov/pubmed/19652056.
  phosphate-binding loop (P-loop) are associated with a poor prognosis.
                                                                                                                                           192. Naqvi K, Cortes JE, Luthra R, et al. Characteristics and outcome of
  Blood 2003;102:276-283. Available at:
                                                                                                                                           chronic myeloid leukemia patients with E255K/V BCR-ABL kinase domain
  http://www.ncbi.nlm.nih.gov/pubmed/12623848.
                                                                                                                                           mutations. Int J Hematol 2018;107:689-695. Available at:
  186. Soverini S, Martinelli G, Rosti G, et al. ABL mutations in late chronic                                                             https://www.ncbi.nlm.nih.gov/pubmed/29464484.
  phase chronic myeloid leukemia patients with up-front cytogenetic
                                                                                                                                           193. Nicolini FE, Hayette S, Corm S, et al. Clinical outcome of 27 imatinib
  resistance to imatinib are associated with a greater likelihood of
                                                                                                                                           mesylate-resistant chronic myelogenous leukemia patients harboring a
  progression to blast crisis and shorter survival: a study by the GIMEMA
                                                                                                                                           T315I BCR-ABL mutation. Haematologica 2007;92:1238-1241. Available
  Working Party on Chronic Myeloid Leukemia. J Clin Oncol
                                                                                                                                           at: http://www.ncbi.nlm.nih.gov/pubmed/17768119.
  2005;23:4100-4109. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/15867198.                                                                                             194. Jabbour E, Kantarjian H, Jones D, et al. Characteristics and
                                                                                                                                           outcomes of patients with chronic myeloid leukemia and T315I mutation
  187. Nicolini FE, Corm S, Le QH, et al. Mutation status and clinical
                                                                                                                                           following failure of imatinib mesylate therapy. Blood 2008;112:53-55.
  outcome of 89 imatinib mesylate-resistant chronic myelogenous leukemia
                                                                                                                                           Available at: http://www.ncbi.nlm.nih.gov/pubmed/18403620.
  patients: a retrospective analysis from the French intergroup of CML
  (Fi(phi)-LMC GROUP). Leukemia 2006;20:1061-1106. Available at:                                                                           195. Soverini S, Colarossi S, Gnani A, et al. Resistance to dasatinib in
  http://www.ncbi.nlm.nih.gov/pubmed/16642048.                                                                                             Philadelphia-positive leukemia patients and the presence or the selection
                                                                                                                                           of mutations at residues 315 and 317 in the BCR-ABL kinase domain.
  188. Soverini S, Colarossi S, Gnani A, et al. Contribution of ABL kinase
                                                                                                                                           Haematologica 2007;92:401-404. Available at:
  domain mutations to imatinib resistance in different subsets of
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17339191.
  Philadelphia-positive patients: by the GIMEMA Working Party on Chronic
  Myeloid Leukemia. Clin Cancer Res 2006;12:7374-7379. Available at:                                                                       196. Jabbour E, Kantarjian HM, Jones D, et al. Characteristics and
  http://www.ncbi.nlm.nih.gov/pubmed/17189410.                                                                                             outcome of chronic myeloid leukemia patients with F317L BCR-ABL
                                                                                                                                           kinase domain mutation after therapy with tyrosine kinase inhibitors. Blood
  189. Khorashad JS, de Lavallade H, Apperley JF, et al. Finding of kinase
                                                                                                                                           2008;112:4839-4842. Available at:
  domain mutations in patients with chronic phase chronic myeloid leukemia
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18818391.
  responding to imatinib may identify those at high risk of disease
  progression. J Clin Oncol 2008;26:4806-4813. Available at:                                                                               197. Muller MC, Cortes JE, Kim D-W, et al. Dasatinib treatment of
  http://www.ncbi.nlm.nih.gov/pubmed/18645191.                                                                                             chronic-phase chronic myeloid leukemia: analysis of responses according
                                                                                                                                           to preexisting BCR-ABL mutations. Blood 2009;114:4944-4953. Available
  190. Soverini S, Gnani A, Colarossi S, et al. Philadelphia-positive patients
                                                                                                                                           at: http://www.ncbi.nlm.nih.gov/pubmed/19779040.
  who already harbor imatinib-resistant Bcr-Abl kinase domain mutations
  have a higher likelihood of developing additional mutations associated with                                                              198. Khoury HJ, Cortes JE, Kantarjian HM, et al. Bosutinib is active in
  resistance to second- or third-line tyrosine kinase inhibitors. Blood                                                                    chronic phase chronic myeloid leukemia after imatinib and dasatinib

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-51
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 83 of 97 PageID 15124
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  and/or nilotinib therapy failure. Blood 2012;119:3403-3412. Available at:                                                                therapy. Blood 2017;129:38-47. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/22371878.                                                                                             https://www.ncbi.nlm.nih.gov/pubmed/27733357.
  199. Khorashad JS, Kelley TW, Szankasi P, et al. BCR-ABL1 compound                                                                       207. Togasaki E, Takeda J, Yoshida K, et al. Frequent somatic mutations
  mutations in tyrosine kinase inhibitor-resistant CML: frequency and clonal                                                               in epigenetic regulators in newly diagnosed chronic myeloid leukemia.
  relationships. Blood 2013;121:489-498. Available at:                                                                                     Blood Cancer J 2017;7:e559. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/23223358.                                                                                            https://www.ncbi.nlm.nih.gov/pubmed/28452984.
  200. Zabriskie MS, Eide CA, Tantravahi SK, et al. BCR-ABL1 compound                                                                      208. Branford S, Wang P, Yeung DT, et al. Integrative genomic analysis
  mutations combining key kinase domain positions confer clinical                                                                          reveals cancer-associated mutations at diagnosis of CML in patients with
  resistance to ponatinib in Ph chromosome-positive leukemia. Cancer Cell                                                                  high-risk disease. Blood 2018;132:948-961. Available at:
  2014;26:428-442. Available at:                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/29967129.
  https://www.ncbi.nlm.nih.gov/pubmed/25132497.
                                                                                                                                           209. Branford S, Kim DDH, Apperley JF, et al. Laying the foundation for
  201. Deininger MW, Hodgson JG, Shah NP, et al. Compound mutations in                                                                     genomically-based risk assessment in chronic myeloid leukemia.
  BCR-ABL1 are not major drivers of primary or secondary resistance to                                                                     Leukemia 2019;33:1835-1850. Available at:
  ponatinib in CP-CML patients. Blood 2016;127:703-712. Available at:                                                                      https://www.ncbi.nlm.nih.gov/pubmed/31209280.
  https://www.ncbi.nlm.nih.gov/pubmed/26603839.
                                                                                                                                           210. Adnan Awad S, Kankainen M, Ojala T, et al. Mutation accumulation
  202. Soverini S, Branford S, Nicolini FE, et al. Implications of BCR-ABL1                                                                in cancer genes relates to nonoptimal outcome in chronic myeloid
  kinase domain-mediated resistance in chronic myeloid leukemia. Leuk                                                                      leukemia. Blood Adv 2020;4:546-559. Available at:
  Res 2014;38:10-20. Available at:                                                                                                         https://www.ncbi.nlm.nih.gov/pubmed/32045476.
  http://www.ncbi.nlm.nih.gov/pubmed/24131888.
                                                                                                                                           211. Branford S, Rudzki Z, Parkinson I, et al. Real-time quantitative PCR
  203. Grossmann V, Kohlmann A, Zenger M, et al. A deep-sequencing                                                                         analysis can be used as a primary screen to identify patients with CML
  study of chronic myeloid leukemia patients in blast crisis (BC-CML)                                                                      treated with imatinib who have BCR-ABL kinase domain mutations. Blood
  detects mutations in 76.9% of cases. Leukemia 2011;25:557-560.                                                                           2004;104:2926-2932. Available at:
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/21274004.                                                                              http://www.ncbi.nlm.nih.gov/pubmed/15256429.
  204. Schmidt M, Rinke J, Schafer V, et al. Molecular-defined clonal                                                                      212. Wang L, Knight K, Lucas C, Clark R. The role of serial BCR-ABL
  evolution in patients with chronic myeloid leukemia independent of the                                                                   transcript monitoring in predicting the emergence of BCR-ABL kinase
  BCR-ABL status. Leukemia 2014;28:2292-2299. Available at:                                                                                mutations in imatinib-treated patients with chronic myeloid leukemia.
  https://www.ncbi.nlm.nih.gov/pubmed/25212276.                                                                                            Haematologica 2006;91:235-239. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/16461309.
  205. Soverini S, de Benedittis C, Mancini M, Martinelli G. Mutations in the
  BCR-ABL1 Kinase Domain and Elsewhere in Chronic Myeloid Leukemia.                                                                        213. Kantarjian HM, Shan J, Jones D, et al. Significance of increasing
  Clin Lymphoma Myeloma Leuk 2015;15 Suppl:S120-128. Available at:                                                                         levels of minimal residual disease in patients with Philadelphia
  https://www.ncbi.nlm.nih.gov/pubmed/26297264.                                                                                            chromosome-positive chronic myelogenous leukemia in complete
                                                                                                                                           cytogenetic response. J Clin Oncol 2009;27:3659-3663. Available at:
  206. Kim T, Tyndel MS, Kim HJ, et al. Spectrum of somatic mutation
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19487383.
  dynamics in chronic myeloid leukemia following tyrosine kinase inhibitor


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-52
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 84 of 97 PageID 15125
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  214. Marin D, Khorashad JS, Foroni L, et al. Does a rise in the BCR-ABL1                                                                 the Phase IIIb ENESTswift study. Leuk Res 2018;67:109-115. Available
  transcript level identify chronic phase CML patients responding to imatinib                                                              at: https://www.ncbi.nlm.nih.gov/pubmed/29494928.
  who have a high risk of cytogenetic relapse? Br J Haematol
                                                                                                                                           222. Clark RE, Polydoros F, Apperley JF, et al. De-escalation of tyrosine
  2009;145:373-375. Available at:
                                                                                                                                           kinase inhibitor dose in patients with chronic myeloid leukaemia with
  http://www.ncbi.nlm.nih.gov/pubmed/19344397.
                                                                                                                                           stable major molecular response (DESTINY): an interim analysis of a
  215. Press RD, Willis SG, Laudadio J, et al. Determining the rise in                                                                     non-randomised, phase 2 trial. Lancet Haematol 2017;4:e310-e316.
  BCR-ABL RNA that optimally predicts a kinase domain mutation in                                                                          Available at: https://www.ncbi.nlm.nih.gov/pubmed/28566209.
  patients with chronic myeloid leukemia on imatinib. Blood
                                                                                                                                           223. Iurlo A, Cattaneo D, Bucelli C, Breccia M. Dose Optimization of
  2009;114:2598-2605. Available at:
                                                                                                                                           Tyrosine Kinase Inhibitors in Chronic Myeloid Leukemia: A New
  http://www.ncbi.nlm.nih.gov/pubmed/19625707.
                                                                                                                                           Therapeutic Challenge. J Clin Med 2021;10:515. Available at:
  216. Cortes JE, Apperley JF, DeAngelo DJ, et al. Management of adverse                                                                   https://www.ncbi.nlm.nih.gov/pubmed/33535564.
  events associated with bosutinib treatment of chronic-phase chronic
                                                                                                                                           224. Mahon FX, Rea D, Guilhot J, et al. Discontinuation of imatinib in
  myeloid leukemia: expert panel review. J Hematol Oncol 2018;11:143.
                                                                                                                                           patients with chronic myeloid leukaemia who have maintained complete
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/30587215.
                                                                                                                                           molecular remission for at least 2 years: the prospective, multicentre Stop
  217. Naqvi K, Jabbour E, Skinner J, et al. Long-term follow-up of lower                                                                  Imatinib (STIM) trial. Lancet Oncol 2010:1029-1035. Available at:
  dose dasatinib (50 mg daily) as frontline therapy in newly diagnosed                                                                     http://www.ncbi.nlm.nih.gov/pubmed/20965785.
  chronic-phase chronic myeloid leukemia. Cancer 2020;126:67-75.
                                                                                                                                           225. Etienne G, Guilhot J, Rea D, et al. Long-term follow-up of the french
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/31553487.
                                                                                                                                           stop imatinib (STIM1) study in patients with chronic myeloid leukemia. J
  218. Bergeron A, Rea D, Levy V, et al. Lung abnormalities after dasatinib                                                                Clin Oncol 2017;35:298-305. Available at:
  treatment for chronic myeloid leukemia: a case series. Am J Respir Crit                                                                  https://www.ncbi.nlm.nih.gov/pubmed/28095277.
  Care Med 2007;176:814-818. Available at:
                                                                                                                                           226. Thielen N, van der Holt B, Cornelissen JJ, et al. Imatinib
  http://www.ncbi.nlm.nih.gov/pubmed/17600277.
                                                                                                                                           discontinuation in chronic phase myeloid leukaemia patients in sustained
  219. Serpa M, Sanabani SS, Bendit I, et al. Efficacy and tolerability after                                                              complete molecular response: a randomised trial of the Dutch-Belgian
  unusually low doses of dasatinib in chronic myeloid leukemia patients                                                                    Cooperative Trial for Haemato-Oncology (HOVON). Eur J Cancer
  intolerant to standard-dose dasatinib therapy. Clin Med Insights Oncol                                                                   2013;49:3242-3246. Available at:
  2010;4:155-162. Available at:                                                                                                            http://www.ncbi.nlm.nih.gov/pubmed/23876833.
  http://www.ncbi.nlm.nih.gov/pubmed/21234296.
                                                                                                                                           227. Rousselot P, Charbonnier A, Cony-Makhoul P, et al. Loss of major
  220. Tokuhira M, Kimura Y, Sugimoto K, et al. Efficacy and safety of                                                                     molecular response as a trigger for restarting tyrosine kinase inhibitor
  nilotinib therapy in patients with newly diagnosed chronic myeloid                                                                       therapy in patients with chronic-phase chronic myelogenous leukemia who
  leukemia in the chronic phase. Med Oncol 2018;35:38. Available at:                                                                       have stopped imatinib after durable undetectable disease. J Clin Oncol
  https://www.ncbi.nlm.nih.gov/pubmed/29442179.                                                                                            2014;32:424-430. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/24323036.
  221. Hiwase D, Tan P, D'Rozario J, et al. Efficacy and safety of nilotinib
  300mg twice daily in patients with chronic myeloid leukemia in chronic                                                                   228. Mori S, Vagge E, le Coutre P, et al. Age and dPCR can predict
  phase who are intolerant to prior tyrosine kinase inhibitors: Results from                                                               relapse in CML patients who discontinued imatinib: the ISAV study. Am J


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-53
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 85 of 97 PageID 15126
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Hematol 2015;90:910-914. Available at:                                                                                                   236. Radich JP, Hochhaus A, Masszi T, et al. Treatment-free remission
  https://www.ncbi.nlm.nih.gov/pubmed/26178642.                                                                                            following frontline nilotinib in patients with chronic phase chronic myeloid
                                                                                                                                           leukemia: 5-year update of the ENESTfreedom trial. Leukemia
  229. Lee SE, Choi SY, Song HY, et al. Imatinib withdrawal syndrome and
                                                                                                                                           2021;35:1344-1355. Available at:
  longer duration of imatinib have a close association with a lower molecular
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/33707652.
  relapse after treatment discontinuation: the KID study. Haematologica
  2016;101:717-723. Available at:                                                                                                          237. Hughes TP, Clementino NCD, Fominykh M, et al. Long-term
  https://www.ncbi.nlm.nih.gov/pubmed/26888022.                                                                                            treatment-free remission in patients with chronic myeloid leukemia after
                                                                                                                                           second-line nilotinib: ENESTop 5-year update. Leukemia
  230. Ross DM, Pagani IS, Shanmuganathan N, et al. Long-term
                                                                                                                                           2021;35:1631-1642. Available at:
  treatment-free remission of chronic myeloid leukemia with falling levels of
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/33980976.
  residual leukemic cells. Leukemia 2018;32:2572-2579. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/30315232.                                                                                            238. Legros L, Nicolini FE, Etienne G, et al. Second tyrosine kinase
                                                                                                                                           inhibitor discontinuation attempt in patients with chronic myeloid leukemia.
  231. Rea D, Nicolini FE, Tulliez M, et al. Discontinuation of dasatinib or
                                                                                                                                           Cancer 2017;123:4403-4410. Available at:
  nilotinib in chronic myeloid leukemia: interim analysis of the STOP 2G-TKI
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/28743166.
  study. Blood 2017;129:846-854. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/27932374.                                                                                            239. Ilander M, Olsson-Stromberg U, Schlums H, et al. Increased
                                                                                                                                           proportion of mature NK cells is associated with successful imatinib
  232. Okada M, Imagawa J, Tanaka H, et al. Final 3-year Results of the
                                                                                                                                           discontinuation in chronic myeloid leukemia. Leukemia
  Dasatinib Discontinuation Trial in Patients With Chronic Myeloid Leukemia
                                                                                                                                           2017;31:1108-1116. Available at:
  Who Received Dasatinib as a Second-line Treatment. Clin Lymphoma
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/27890936.
  Myeloma Leuk 2018;18:353-360 e351. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/29610029.                                                                                            240. Talpaz M, Silver RT, Druker BJ, et al. Imatinib induces durable
                                                                                                                                           hematologic and cytogenetic responses in patients with accelerated phase
  233. Saussele S, Richter J, Guilhot J, et al. Discontinuation of tyrosine
                                                                                                                                           chronic myeloid leukemia: results of a phase 2 study. Blood
  kinase inhibitor therapy in chronic myeloid leukaemia (EURO-SKI): a
                                                                                                                                           2002;99:1928-1937. Available at:
  prespecified interim analysis of a prospective, multicentre,
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/11877262.
  non-randomised, trial. Lancet Oncol 2018;19:747-757. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/29735299.                                                                                            241. Kantarjian HM, Cortes J, O'Brien S, et al. Imatinib mesylate (STI571)
                                                                                                                                           therapy for Philadelphia chromosome-positive chronic myelogenous
  234. Shah NP, Garcia-Gutierrez V, Jimenez-Velasco A, et al. Dasatinib
                                                                                                                                           leukemia in blast phase. Blood 2002;99:3547-3553. Available at:
  discontinuation in patients with chronic-phase chronic myeloid leukemia
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/11986206.
  and stable deep molecular response: the DASFREE study. Leuk
  Lymphoma 2020;61:650-659. Available at:                                                                                                  242. Sawyers CL, Hochhaus A, Feldman E, et al. Imatinib induces
  https://www.ncbi.nlm.nih.gov/pubmed/31647335.                                                                                            hematologic and cytogenetic responses in patients with chronic
                                                                                                                                           myelogenous leukemia in myeloid blast crisis: results of a phase II study.
  235. Kimura S, Imagawa J, Murai K, et al. Treatment-free remission after
                                                                                                                                           Blood 2002;99:3530-3539. Available at:
  first-line dasatinib discontinuation in patients with chronic myeloid
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/11986204.
  leukaemia (first-line DADI trial): a single-arm, multicentre, phase 2 trial.
  Lancet Haematol 2020;7:e218-e225. Available at:                                                                                          243. Palandri F, Castagnetti F, Testoni N, et al. Chronic myeloid leukemia
  https://www.ncbi.nlm.nih.gov/pubmed/31978329.                                                                                            in blast crisis treated with imatinib 600 mg: outcome of the patients alive

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-54
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 86 of 97 PageID 15127
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  after a 6-year follow-up. Haematologica 2008;93:1792-1796. Available at:                                                                 inhibitors. Am J Hematol 2015;90:755-768. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed18838477.                                                                                              http://www.ncbi.nlm.nih.gov/pubmed/26040495.
  244. Palandri F, Castagnetti F, Alimena G, et al. The long-term durability                                                               251. Oki Y, Kantarjian HM, Gharibyan V, et al. Phase II study of low-dose
  of cytogenetic responses in patients with accelerated phase chronic                                                                      decitabine in combination with imatinib mesylate in patients with
  myeloid leukemia treated with imatinib 600 mg: the GIMEMA CML                                                                            accelerated or myeloid blastic phase of chronic myelogenous leukemia.
  Working Party experience after a 7-year follow-up. Haematologica                                                                         Cancer 2007;109:899-906. Available at:
  2009;94:205-212. Available at:                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17236224.
  http://www.ncbi.nlm.nih.gov/pubmed/19144656.
                                                                                                                                           252. Quintas-Cardama A, Kantarjian H, Garcia-Manero G, et al. A pilot
  245. Kantarjian H, Cortes J, Kim DW, et al. Phase 3 study of dasatinib 140                                                               study of imatinib, low-dose cytarabine and idarubicin for patients with
  mg once daily versus 70 mg twice daily in patients with chronic myeloid                                                                  chronic myeloid leukemia in myeloid blast phase. Leuk Lymphoma
  leukemia in accelerated phase resistant or intolerant to imatinib: 15-month                                                              2007;48:283-289. Available at:
  median follow-up. Blood 2009;113:6322-6329. Available at:                                                                                http://www.ncbi.nlm.nih.gov/pubmed/17325887.
  http://www.ncbi.nlm.nih.gov/pubmed/19369231.
                                                                                                                                           253. Fruehauf S, Topaly J, Buss EC, et al. Imatinib combined with
  246. Ottmann O, Saglio G, Apperley JF, et al. Long-term efficacy and                                                                     mitoxantrone/etoposide and cytarabine is an effective induction therapy for
  safety of dasatinib in patients with chronic myeloid leukemia in accelerated                                                             patients with chronic myeloid leukemia in myeloid blast crisis. Cancer
  phase who are resistant to or intolerant of imatinib. Blood Cancer J                                                                     2007;109:1543-1549. Available at:
  2018;8:88. Available at: https://www.ncbi.nlm.nih.gov/pubmed/30190469.                                                                   http://www.ncbi.nlm.nih.gov/pubmed/17340589.
  247. Saglio G, Hochhaus A, Goh YT, et al. Dasatinib in imatinib-resistant                                                                254. Deau B, Nicolini FE, Guilhot J, et al. The addition of daunorubicin to
  or imatinib-intolerant chronic myeloid leukemia in blast phase after 2 years                                                             imatinib mesylate in combination with cytarabine improves the response
  of follow-up in a phase 3 study: efficacy and tolerability of 140 milligrams                                                             rate and the survival of patients with myeloid blast crisis chronic
  once daily and 70 milligrams twice daily. Cancer 2010;116:3852-3861.                                                                     myelogenous leukemia (AFR01 study). Leuk Res 2011;35:777-782.
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/20564086.                                                                               Available at: http://www.ncbi.nlm.nih.gov/pubmed/21145590.
  248. le Coutre PD, Giles FJ, Hochhaus A, et al. Nilotinib in patients with                                                               255. Benjamini O, Dumlao TL, Kantarjian H, et al. Phase II trial of hyper
  Ph+ chronic myeloid leukemia in accelerated phase following imatinib                                                                     CVAD and dasatinib in patients with relapsed Philadelphia chromosome
  resistance or intolerance: 24-month follow-up results. Leukemia                                                                          positive acute lymphoblastic leukemia or blast phase chronic myeloid
  2012;26:1189-1194. Available at:                                                                                                         leukemia. Am J Hematol 2014;89:282-287. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/22076466.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/24779033.
  249. Giles FJ, Kantarjian HM, le Coutre PD, et al. Nilotinib is effective in                                                             256. Strati P, Kantarjian H, Thomas D, et al. HCVAD plus imatinib or
  imatinib-resistant or -intolerant patients with chronic myeloid leukemia in                                                              dasatinib in lymphoid blastic phase chronic myeloid leukemia. Cancer
  blastic phase. Leukemia 2012;26:959-962. Available at:                                                                                   2014;120:373-380. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/22157807.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/24151050.
  250. Gambacorti-Passerini C, Kantarjian HM, Kim DW, et al. Long-term                                                                     257. Fava C, Kantarjian HM, Jabbour E, et al. Failure to achieve a
  efficacy and safety of bosutinib in patients with advanced leukemia                                                                      complete hematologic response at the time of a major cytogenetic
  following resistance/intolerance to imatinib and other tyrosine kinase                                                                   response with second-generation tyrosine kinase inhibitors is associated
                                                                                                                                           with a poor prognosis among patients with chronic myeloid leukemia in

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-55
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 87 of 97 PageID 15128
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  accelerated or blast phase. Blood 2009;113:5058-5063. Available at:                                                                      265. Aftimos P, Nasr F. Isolated CNS lymphoid blast crisis in a patient with
  http://www.ncbi.nlm.nih.gov/pubmed/19282457.                                                                                             imatinib-resistant chronic myelogenous leukemia: case report and review
                                                                                                                                           of the literature. Leuk Res 2009;33:e178-180. Available at:
  258. Khoury HJ, Cortes J, Baccarani M, et al. Omacetaxine
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19446330.
  mepesuccinate in patients with advanced chronic myeloid leukemia with
  resistance or intolerance to tyrosine kinase inhibitors. Leuk Lymphoma                                                                   266. Porkka K, Koskenvesa P, Lundan T, et al. Dasatinib crosses the
  2015;56:120-127. Available at:                                                                                                           blood-brain barrier and is an efficient therapy for central nervous system
  http://www.ncbi.nlm.nih.gov/pubmed/24650054.                                                                                             Philadelphia chromosome-positive leukemia. Blood 2008;112:1005-1012.
                                                                                                                                           Available at: http://www.ncbi.nlm.nih.gov/pubmed/18477770.
  259. Rea D, Etienne G, Nicolini F, et al. First-line imatinib mesylate in
  patients with newly diagnosed accelerated phase-chronic myeloid                                                                          267. Hansen JA, Gooley TA, Martin PJ, et al. Bone marrow transplants
  leukemia. Leukemia 2012;26:2254-2259. Available at:                                                                                      from unrelated donors for patients with chronic myeloid leukemia. N Engl J
  http://www.ncbi.nlm.nih.gov/pubmed/22460758.                                                                                             Med 1998;338:962-968. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/9521984.
  260. Ohanian M, Kantarjian HM, Quintas-Cardama A, et al. Tyrosine
  kinase inhibitors as initial therapy for patients with chronic myeloid                                                                   268. Davies SM, DeFor TE, McGlave PB, et al. Equivalent outcomes in
  leukemia in accelerated phase. Clin Lymphoma Myeloma Leuk                                                                                patients with chronic myelogenous leukemia after early transplantation of
  2014;14:155-162 e151. Available at:                                                                                                      phenotypically matched bone marrow from related or unrelated donors.
  http://www.ncbi.nlm.nih.gov/pubmed/24332214.                                                                                             Am J Med 2001;110:339-346. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/11286947.
  261. Jain P, Kantarjian HM, Ghorab A, et al. Prognostic factors and
  survival outcomes in patients with chronic myeloid leukemia in blast phase                                                               269. Crawley C, Szydlo R, Lalancette M, et al. Outcomes of
  in the tyrosine kinase inhibitor era: Cohort study of 477 patients. Cancer                                                               reduced-intensity transplantation for chronic myeloid leukemia: an analysis
  2017;123:4391-4402. Available at:                                                                                                        of prognostic factors from the Chronic Leukemia Working Party of the
  https://www.ncbi.nlm.nih.gov/pubmed/28743165.                                                                                            EBMT. Blood 2005;106:2969-2976. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/15998838.
  262. Rajappa S, Uppin SG, Raghunadharao D, et al. Isolated central
  nervous system blast crisis in chronic myeloid leukemia. Hematol Oncol                                                                   270. Or R, Shapira MY, Resnick I, et al. Nonmyeloablative allogeneic stem
  2004;22:179-181. Available at:                                                                                                           cell transplantation for the treatment of chronic myeloid leukemia in first
  http://www.ncbi.nlm.nih.gov/pubmed/15995975.                                                                                             chronic phase. Blood 2003;101:441-445. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/12393604.
  263. Kim HJ, Jung CW, Kim K, et al. Isolated blast crisis in CNS in a
  patient with chronic myelogenous leukemia maintaining major cytogenetic                                                                  271. Faber E, Koza V, Vitek A, et al. Reduced-intensity conditioning for
  response after imatinib. J Clin Oncol 2006;24:4028-4029. Available at:                                                                   allogeneic stem cell transplantation in patients with chronic myeloid
  http://www.ncbi.nlm.nih.gov/pubmed/16921058.                                                                                             leukemia is associated with better overall survival but inferior disease-free
                                                                                                                                           survival when compared with myeloablative conditioning - a retrospective
  264. Altintas A, Cil T, Kilinc I, et al. Central nervous system blastic crisis in
                                                                                                                                           study of the Czech National Hematopoietic Stem Cell Transplantation
  chronic myeloid leukemia on imatinib mesylate therapy: a case report. J
                                                                                                                                           Registry. Neoplasma 2007;54:443-446. Available at:
  Neurooncol 2007;84:103-105. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17688375.
  http://www.ncbi.nlm.nih.gov/pubmed/17318411.
                                                                                                                                           272. Kebriaei P, Detry MA, Giralt S, et al. Long-term follow-up of
                                                                                                                                           allogeneic hematopoietic stem-cell transplantation with reduced-intensity

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-56
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 88 of 97 PageID 15129
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  conditioning for patients with chronic myeloid leukemia. Blood                                                                           leukemia. Blood 2007;109:1782-1789. Available at:
  2007;110:3456-3462. Available at:                                                                                                        http://www.ncbi.nlm.nih.gov/pubmed/17062727.
  http://www.ncbi.nlm.nih.gov/pubmed/17652620.
                                                                                                                                           280. Jabbour E, Cortes J, Kantarjian H, et al. Novel tyrosine kinase
  273. Warlick E, Ahn KW, Pedersen TL, et al. Reduced intensity                                                                            inhibitor therapy before allogeneic stem cell transplantation in patients with
  conditioning is superior to nonmyeloablative conditioning for older chronic                                                              chronic myeloid leukemia: no evidence for increased transplant-related
  myelogenous leukemia patients undergoing hematopoietic cell transplant                                                                   toxicity. Cancer 2007;110:340-344. Available at:
  during the tyrosine kinase inhibitor era. Blood 2012;119:4083-4090.                                                                      http://www.ncbi.nlm.nih.gov/pubmed/17559140.
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/22408257.
                                                                                                                                           281. Shimoni A, Leiba M, Schleuning M, et al. Prior treatment with the
  274. Velev N, Cortes J, Champlin R, et al. Stem cell transplantation for                                                                 tyrosine kinase inhibitors dasatinib and nilotinib allows stem cell
  patients with chronic myeloid leukemia resistant to tyrosine kinase                                                                      transplantation (SCT) in a less advanced disease phase and does not
  inhibitors with BCR-ABL kinase domain mutation T315I. Cancer                                                                             increase SCT Toxicity in patients with chronic myelogenous leukemia and
  2010;116:3631-3637. Available at:                                                                                                        philadelphia positive acute lymphoblastic leukemia. Leukemia
  http://www.ncbi.nlm.nih.gov/pubmed/20564073.                                                                                             2009;23:190-194. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/18596746.
  275. Jabbour E, Cortes J, Santos FP, et al. Results of allogeneic
  hematopoietic stem cell transplantation for chronic myelogenous leukemia                                                                 282. Breccia M, Palandri F, Iori AP, et al. Second-generation tyrosine
  patients who failed tyrosine kinase inhibitors after developing BCR-ABL1                                                                 kinase inhibitors before allogeneic stem cell transplantation in patients with
  kinase domain mutations. Blood 2011;117:3641-3647. Available at:                                                                         chronic myeloid leukemia resistant to imatinib. Leuk Res 2010;34:143-147.
  http://www.ncbi.nlm.nih.gov/pubmed/21156844.                                                                                             Available at: http://www.ncbi.nlm.nih.gov/pubmed/19481800.
  276. Nicolini FE, Basak GW, Soverini S, et al. Allogeneic stem cell                                                                      283. Lee SE, Choi SY, Kim SH, et al. Prognostic factors for outcomes of
  transplantation for patients harboring T315I BCR-ABL mutated leukemias.                                                                  allogeneic stem cell transplantation in chronic phase chronic myeloid
  Blood 2011;118:5697-5700. Available at:                                                                                                  leukemia in the era of tyrosine kinase inhibitors. Hematology
  http://www.ncbi.nlm.nih.gov/pubmed/21926354.                                                                                             2014;19:63-72. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/23684143.
  277. Nair AP, Barnett MJ, Broady RC, et al. Allogeneic hematopoietic
  stem cell transplantation is an effective salvage therapy for patients with                                                              284. Piekarska A, Gil L, Prejzner W, et al. Pretransplantation use of the
  chronic myeloid leukemia presenting with advanced disease or failing                                                                     second-generation tyrosine kinase inhibitors has no negative impact on
  treatment with tyrosine kinase inhibitors. Biol Blood Marrow Transplant                                                                  the HCT outcome. Ann Hematol 2015;94:1891-1897. Available at:
  2015;21:1437-1444. Available at:                                                                                                         https://www.ncbi.nlm.nih.gov/pubmed/26220759.
  https://www.ncbi.nlm.nih.gov/pubmed/25865648.
                                                                                                                                           285. Gratwohl A, Hermans J, Goldman JM, et al. Risk assessment for
  278. Deininger M, Schleuning M, Greinix H, et al. The effect of prior                                                                    patients with chronic myeloid leukaemia before allogeneic blood or marrow
  exposure to imatinib on transplant-related mortality. Haematologica                                                                      transplantation. Chronic Leukemia Working Party of the European Group
  2006;91:452-459. Available at:                                                                                                           for Blood and Marrow Transplantation. Lancet 1998;352:1087-1092.
  http://www.ncbi.nlm.nih.gov/pubmed/16585011.                                                                                             Available at: http://www.ncbi.nlm.nih.gov/pubmed/9798583.
  279. Oehler VG, Gooley T, Snyder DS, et al. The effects of imatinib                                                                      286. Pavlu J, Kew AK, Taylor-Roberts B, et al. Optimizing patient selection
  mesylate treatment before allogeneic transplantation for chronic myeloid                                                                 for myeloablative allogeneic hematopoietic cell transplantation in chronic


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-57
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 89 of 97 PageID 15130
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  myeloid leukemia in chronic phase. Blood 2010;115:4018-4020. Available                                                                   Blood 1991;78:2759-2767. Available at:
  at: http://www.ncbi.nlm.nih.gov/pubmed/20304808.                                                                                         http://www.ncbi.nlm.nih.gov/pubmed/1824268.
  287. Horowitz MM, Rowlings PA, Passweg JR. Allogeneic bone marrow                                                                        294. Roth M, Antin J, Ash R, et al. Prognostic significance of Philadelphia
  transplantation for CML: a report from the International Bone Marrow                                                                     chromosome-positive cells detected by the polymerase chain reaction
  Transplant Registry. Bone Marrow Transplant 1996;17 Suppl 3:S5-6.                                                                        after allogeneic bone marrow transplant for chronic myelogenous
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/8769690.                                                                                leukemia. Blood 1992;79:276-282. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/1728316.
  288. Gratwohl A, Brand R, Apperley J, et al. Allogeneic hematopoietic
  stem cell transplantation for chronic myeloid leukemia in Europe 2006:                                                                   295. van Rhee F, Lin F, Cross NC, et al. Detection of residual leukaemia
  transplant activity, long-term data and current results. An analysis by the                                                              more than 10 years after allogeneic bone marrow transplantation for
  Chronic Leukemia Working Party of the European Group for Blood and                                                                       chronic myelogenous leukaemia. Bone Marrow Transplant
  Marrow Transplantation (EBMT). Haematologica 2006;91:513-521.                                                                            1994;14:609-612. Available at:
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/16533723.                                                                               http://www.ncbi.nlm.nih.gov/pubmed/7858536.
  289. Goldman JM, Majhail NS, Klein JP, et al. Relapse and late mortality                                                                 296. Radich JP, Gehly G, Gooley T, et al. Polymerase chain reaction
  in 5-year survivors of myeloablative allogeneic hematopoietic cell                                                                       detection of the BCR-ABL fusion transcript after allogeneic marrow
  transplantation for chronic myeloid leukemia in first chronic phase. J Clin                                                              transplantation for chronic myeloid leukemia: results and implications in
  Oncol 2010;28:1888-1895. Available at:                                                                                                   346 patients. Blood 1995;85:2632-2638. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/20212247.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/7727789.
  290. Saussele S, Lauseker M, Gratwohl A, et al. Allogeneic hematopoietic                                                                 297. Costello RT, Kirk J, Gabert J. Value of PCR analysis for long term
  stem cell transplantation (allo SCT) for chronic myeloid leukemia in the                                                                 survivors after allogeneic bone marrow transplant for chronic myelogenous
  imatinib era: evaluation of its impact within a subgroup of the randomized                                                               leukemia: a comparative study. Leuk Lymphoma 1996;20:239-243.
  German CML Study IV. Blood 2010;115:1880-1885. Available at:                                                                             Available at: http://www.ncbi.nlm.nih.gov/pubmed/8624462.
  http://www.ncbi.nlm.nih.gov/pubmed/19965667.
                                                                                                                                           298. Mackinnon S, Barnett L, Heller G. Polymerase chain reaction is
  291. Boehm A, Walcherberger B, Sperr WR, et al. Improved outcome in                                                                      highly predictive of relapse in patients following T cell-depleted allogeneic
  patients with chronic myeloid leukemia after allogeneic hematopoietic                                                                    bone marrow transplantation for chronic myeloid leukemia. Bone Marrow
  stem cell transplantation over the past 25 years: A single center                                                                        Transplant 1996;17:643-647. Available at:
  experience. Biol Blood Marrow Transplant 2011 17:133-140. Available at:                                                                  http://www.ncbi.nlm.nih.gov/pubmed/8722369.
  http://www.ncbi.nlm.nih.gov/pubmed/20601032.
                                                                                                                                           299. Olavarria E, Kanfer E, Szydlo R, et al. Early detection of BCR-ABL
  292. Khoury HJ, Kukreja M, Goldman JM, et al. Prognostic factors for                                                                     transcripts by quantitative reverse transcriptase-polymerase chain reaction
  outcomes in allogeneic transplantation for CML in the imatinib era: a                                                                    predicts outcome after allogeneic stem cell transplantation for chronic
  CIBMTR analysis. Bone Marrow Transplant 2012;47:810-816. Available                                                                       myeloid leukemia. Blood 2001;97:1560-1565. Available at:
  at: http://www.ncbi.nlm.nih.gov/pubmed/21986636.                                                                                         http://www.ncbi.nlm.nih.gov/pubmed/11238091.
  293. Delage R, Soiffer R, Dear K, Ritz J. Clinical significance of bcr-abl                                                               300. Radich JP, Gooley T, Bryant E, et al. The significance of bcr-abl
  gene rearrangement detected by polymerase chain reaction after                                                                           molecular detection in chronic myeloid leukemia patients "late," 18 months
  allogeneic bone marrow transplantation in chronic myelogenous leukemia.                                                                  or more after transplantation. Blood 2001;98:1701-1707. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/11535500.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-58
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 90 of 97 PageID 15131
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  301. Kolb HJ, Schattenberg A, Goldman JM, et al. Graft-versus-leukemia                                                                   308. Dazzi F, Szydlo RM, Craddock C, et al. Comparison of single-dose
  effect of donor lymphocyte transfusions in marrow grafted patients. Blood                                                                and escalating-dose regimens of donor lymphocyte infusion for relapse
  1995;86:2041-2050. Available at:                                                                                                         after allografting for chronic myeloid leukemia. Blood 2000;95:67-71.
  http://www.ncbi.nlm.nih.gov/pubmed/7655033.                                                                                              Available at: http://www.ncbi.nlm.nih.gov/pubmed/10607686.
  302. Dazzi F, Szydlo RM, Cross NC, et al. Durability of responses                                                                        309. Shimoni A, Gajewski JA, Donato M, et al. Long-Term follow-up of
  following donor lymphocyte infusions for patients who relapse after                                                                      recipients of CD8-depleted donor lymphocyte infusions for the treatment of
  allogeneic stem cell transplantation for chronic myeloid leukemia. Blood                                                                 chronic myelogenous leukemia relapsing after allogeneic progenitor cell
  2000;96:2712-2716. Available at:                                                                                                         transplantation. Biol Blood Marrow Transplant 2001;7:568-575. Available
  http://www.ncbi.nlm.nih.gov/pubmed/11023502.                                                                                             at: http://www.ncbi.nlm.nih.gov/pubmed/11760089.
  303. Luznik L, Fuchs EJ. Donor lymphocyte infusions to treat hematologic                                                                 310. Gilleece MH, Dazzi F. Donor lymphocyte infusions for patients who
  malignancies in relapse after allogeneic blood or marrow transplantation.                                                                relapse after allogeneic stem cell transplantation for chronic myeloid
  Cancer Control 2002;9:123-137. Available at:                                                                                             leukaemia. Leuk Lymphoma 2003;44:23-28. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/11965233.                                                                                             http://www.ncbi.nlm.nih.gov/pubmed/12691139.
  304. Michallet AS, Nicolini F, Furst S, et al. Outcome and long-term                                                                     311. Posthuma EFM, Marijt EWAF, Barge RMY, et al. Alpha-interferon
  follow-up of alloreactive donor lymphocyte infusions given for relapse after                                                             with very-low-dose donor lymphocyte infusion for hematologic or
  myeloablative allogeneic hematopoietic stem cell transplantations (HSCT).                                                                cytogenetic relapse of chronic myeloid leukemia induces rapid and durable
  Bone Marrow Transplant 2005;35:601-608. Available at:                                                                                    complete remissions and is associated with acceptable graft-versus-host
  http://www.ncbi.nlm.nih.gov/pubmed/15756285.                                                                                             disease. Biol Blood Marrow Transplant 2004;10:204-212. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/14993886.
  305. Weisser M, Tischer J, Schnittger S, et al. A comparison of donor
  lymphocyte infusions or imatinib mesylate for patients with chronic                                                                      312. Simula MP, Marktel S, Fozza C, et al. Response to donor lymphocyte
  myelogenous leukemia who have relapsed after allogeneic stem cell                                                                        infusions for chronic myeloid leukemia is dose-dependent: the importance
  transplantation. Haematologica 2006;91:663-666. Available at:                                                                            of escalating the cell dose to maximize therapeutic efficacy. Leukemia
  http://www.ncbi.nlm.nih.gov/pubmed/16627251.                                                                                             2007;21:943-948. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/17361226.
  306. Chalandon Y, Passweg JR, Guglielmi C, et al. Early administration of
  donor lymphocyte infusions upon molecular relapse after allogeneic                                                                       313. Kantarjian HM, O'Brien S, Cortes JE, et al. Imatinib mesylate therapy
  hematopoietic stem cell transplantation for chronic myeloid leukemia: a                                                                  for relapse after allogeneic stem cell transplantation for chronic
  study by the Chronic Malignancies Working Party of the EBMT.                                                                             myelogenous leukemia. Blood 2002;100:1590-1595. Available at:
  Haematologica 2014;99:1492-1498. Available at:                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/12176876.
  http://www.ncbi.nlm.nih.gov/pubmed/24997146.
                                                                                                                                           314. Olavarria E, Ottmann OG, Deininger M, et al. Response to imatinib in
  307. Schmidt S, Liu Y, Hu ZH, et al. The Role of Donor Lymphocyte                                                                        patients who relapse after allogeneic stem cell transplantation for chronic
  Infusion (DLI) in Post-Hematopoietic Cell Transplant (HCT) Relapse for                                                                   myeloid leukemia. Leukemia 2003;17:1707-1712. Available at:
  Chronic Myeloid Leukemia (CML) in the Tyrosine Kinase Inhibitor (TKI)                                                                    http://www.ncbi.nlm.nih.gov/pubmed/12970768.
  Era. Biol Blood Marrow Transplant 2020;26:1137-1143. Available at:
                                                                                                                                           315. Anderlini P, Sheth S, Hicks K, et al. Re: Imatinib mesylate
  https://www.ncbi.nlm.nih.gov/pubmed/32062061.
                                                                                                                                           administration in the first 100 days after stem cell transplantation. Biol


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-59
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 91 of 97 PageID 15132
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Blood Marrow Transplant 2004;10:883-884. Available at:                                                                                   322. Klyuchnikov E, Schafhausen P, Kroger N, et al. Second-generation
  http://www.ncbi.nlm.nih.gov/pubmed/15570257.                                                                                             tyrosine kinase inhibitors in the post-transplant period in patients with
                                                                                                                                           chronic myeloid leukemia or Philadelphia-positive acute lymphoblastic
  316. DeAngelo DJ, Hochberg EP, Alyea EP, et al. Extended follow-up of
                                                                                                                                           leukemia. Acta Haematol 2009;122:6-10. Available at:
  patients treated with imatinib mesylate (gleevec) for chronic myelogenous
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19602874.
  leukemia relapse after allogeneic transplantation: durable cytogenetic
  remission and conversion to complete donor chimerism without                                                                             323. Reinwald M, Schleyer E, Kiewe P, et al. Efficacy and pharmacologic
  graft-versus-host disease. Clin Cancer Res 2004;10:5065-5071. Available                                                                  data of second-generation tyrosine kinase inhibitor nilotinib in
  at: http://www.ncbi.nlm.nih.gov/pubmed/15297408.                                                                                         BCR-ABL-positive leukemia patients with central nervous system relapse
                                                                                                                                           after allogeneic stem cell transplantation. Biomed Res Int
  317. Hess G, Bunjes D, Siegert W, et al. Sustained complete molecular
                                                                                                                                           2014;2014:637059. Available at:
  remissions after treatment with imatinib-mesylate in patients with failure
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/25025064.
  after allogeneic stem cell transplantation for chronic myelogenous
  leukemia: results of a prospective phase II open-label multicenter study. J                                                              324. Shimoni A, Volchek Y, Koren-Michowitz M, et al. Phase 1/2 study of
  Clin Oncol 2005;23:7583-7593. Available at:                                                                                              nilotinib prophylaxis after allogeneic stem cell transplantation in patients
  http://www.ncbi.nlm.nih.gov/pubmed/16234522.                                                                                             with advanced chronic myeloid leukemia or Philadelphia
                                                                                                                                           chromosome-positive acute lymphoblastic leukemia. Cancer
  318. Palandri F, Amabile M, Rosti G, et al. Imatinib therapy for chronic
                                                                                                                                           2015;121:863-871. Available at:
  myeloid leukemia patients who relapse after allogeneic stem cell
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/25387866.
  transplantation: a molecular analysis. Bone Marrow Transplant
  2007;39:189-191. Available at:                                                                                                           325. Savani BN, Montero A, Kurlander R, et al. Imatinib synergizes with
  http://www.ncbi.nlm.nih.gov/pubmed/17211436.                                                                                             donor lymphocyte infusions to achieve rapid molecular remission of CML
                                                                                                                                           relapsing after allogeneic stem cell transplantation. Bone Marrow
  319. Conchon M, Sanabani SS, Bendit I, et al. The use of imatinib
                                                                                                                                           Transplant 2005;36:1009-1015. Available at:
  mesylate as a lifesaving treatment of chronic myeloid leukemia relapse
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/16205732.
  after bone marrow transplantation. J Transplant
  2009;2009:357093-357093. Available at:                                                                                                   326. Shanavas M, Messner HA, Kamel-Reid S, et al. A comparison of
  http://www.ncbi.nlm.nih.gov/pubmed/20107580.                                                                                             long-term outcomes of donor lymphocyte infusions and tyrosine kinase
                                                                                                                                           inhibitors in patients with relapsed CML after allogeneic hematopoietic cell
  320. Wright MP, Shepherd JD, Barnett MJ, et al. Response to tyrosine
                                                                                                                                           transplantation. Clin Lymphoma Myeloma Leuk 2014;14:87-92. Available
  kinase inhibitor therapy in patients with chronic myelogenous leukemia
                                                                                                                                           at: https://www.ncbi.nlm.nih.gov/pubmed/24252361.
  relapsing in chronic and advanced phase following allogeneic
  hematopoietic stem cell transplantation. Biol Blood Marrow Transplant                                                                    327. Zeidner JF, Zahurak M, Rosner GL, et al. The evolution of treatment
  2010;16:639-646. Available at:                                                                                                           strategies for patients with chronic myeloid leukemia relapsing after
  http://www.ncbi.nlm.nih.gov/pubmed/20005967.                                                                                             allogeneic bone marrow transplant: can tyrosine kinase inhibitors replace
                                                                                                                                           donor lymphocyte infusions? Leuk Lymphoma 2015;56:128-134. Available
  321. Breccia M, Cannella L, Stefanizzi C, et al. Efficacy of dasatinib in a
                                                                                                                                           at: https://www.ncbi.nlm.nih.gov/pubmed/24712979.
  chronic myeloid leukemia patient with disease molecular relapse and
  chronic GVHD after haploidentical BMT: an immunomodulatory effect?                                                                       328. Carpenter PA, Snyder DS, Flowers MED, et al. Prophylactic
  Bone Marrow Transplant 2009;44:331-332. Available at:                                                                                    administration of imatinib after hematopoietic cell transplantation for
  http://www.ncbi.nlm.nih.gov/pubmed/19219075.                                                                                             high-risk Philadelphia chromosome-positive leukemia. Blood

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-60
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 92 of 97 PageID 15133
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  2007;109:2791-2793. Available at:                                                                                                        336. Massimino M, Stella S, Tirro E, et al. Non ABL-directed inhibitors as
  http://www.ncbi.nlm.nih.gov/pubmed/17119111.                                                                                             alternative treatment strategies for chronic myeloid leukemia. Mol Cancer
                                                                                                                                           2018;17:56. Available at: https://www.ncbi.nlm.nih.gov/pubmed/29455672.
  329. Olavarria E, Siddique S, Griffiths MJ, et al. Posttransplantation
  imatinib as a strategy to postpone the requirement for immunotherapy in                                                                  337. Annunziata M, Bonifacio M, Breccia M, et al. Current Strategies and
  patients undergoing reduced-intensity allografts for chronic myeloid                                                                     Future Directions to Achieve Deep Molecular Response and
  leukemia. Blood 2007;110:4614-4617. Available at:                                                                                        Treatment-Free Remission in Chronic Myeloid Leukemia. Front Oncol
  http://www.ncbi.nlm.nih.gov/pubmed/17881635.                                                                                             2020;10:883. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/32582549.
  330. DeFilipp Z, Langston AA, Chen Z, et al. Does post-transplant
  maintenance therapy with tyrosine kinase inhibitors improve outcomes of                                                                  338. Clark RE, Polydoros F, Apperley JF, et al. De-escalation of tyrosine
  patients with high-risk Philadelphia chromosome-positive leukemia? Clin                                                                  kinase inhibitor therapy before complete treatment discontinuation in
  Lymphoma Myeloma Leuk 2016;16:466-471 e461. Available at:                                                                                patients with chronic myeloid leukaemia (DESTINY): a non-randomised,
  https://www.ncbi.nlm.nih.gov/pubmed/27297665.                                                                                            phase 2 trial. Lancet Haematol 2019;6:e375-e383. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/31201085.
  331. Egan DN, Beppu L, Radich JP. Patients with Philadelphia-positive
  leukemia with BCR-ABL kinase mutations before allogeneic                                                                                 339. Westerweel PE, Te Boekhorst PAW, Levin MD, Cornelissen JJ. New
  transplantation predominantly relapse with the same mutation. Biol Blood                                                                 Approaches and Treatment Combinations for the Management of Chronic
  Marrow Transplant 2015;21:184-189. Available at:                                                                                         Myeloid Leukemia. Front Oncol 2019;9:665. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/25300870.                                                                                            https://www.ncbi.nlm.nih.gov/pubmed/31448223.
  332. Oshima K, Kanda Y, Yamashita T, et al. Central nervous system                                                                       340. Hoffmann VS, Baccarani M, Hasford J, et al. The EUTOS
  relapse of leukemia after allogeneic hematopoietic stem cell                                                                             population-based registry: incidence and clinical characteristics of 2904
  transplantation. Biol Blood Marrow Transplant 2008;14:1100-1107.                                                                         CML patients in 20 European Countries. Leukemia 2015;29:1336-1343.
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/18804039.                                                                               Available at: https://www.ncbi.nlm.nih.gov/pubmed/25783795.
  333. Fuchs M, Reinhofer M, Ragoschke-Schumm A, et al. Isolated central                                                                   341. Ramasamy K, Hayden J, Lim Z, et al. Successful pregnancies
  nervous system relapse of chronic myeloid leukemia after allogeneic                                                                      involving men with chronic myeloid leukaemia on imatinib therapy. Br J
  hematopoietic stem cell transplantation. BMC Blood Disord 2012;12:9.                                                                     Haematol 2007;137:374-375. Available at:
  Available at: http://www.ncbi.nlm.nih.gov/pubmed/22871019.                                                                               https://www.ncbi.nlm.nih.gov/pubmed/17408403.
  334. Ocheni S, Iwanski GB, Schafhausen P, et al. Characterisation of                                                                     342. Breccia M, Cannella L, Montefusco E, et al. Male patients with
  extramedullary relapse in patients with chronic myeloid leukemia in                                                                      chronic myeloid leukemia treated with imatinib involved in healthy
  advanced disease after allogeneic stem cell transplantation. Leuk                                                                        pregnancies: report of five cases. Leuk Res 2008;32:519-520. Available
  Lymphoma 2009;50:551-558. Available at:                                                                                                  at: https://www.ncbi.nlm.nih.gov/pubmed/17804066.
  http://www.ncbi.nlm.nih.gov/pubmed/19373652.
                                                                                                                                           343. Oweini H, Otrock ZK, Mahfouz RAR, Bazarbachi A. Successful
  335. Nishimoto M, Nakamae H, Koh KR, et al. Dasatinib maintenance                                                                        pregnancy involving a man with chronic myeloid leukemia on dasatinib.
  therapy after allogeneic hematopoietic stem cell transplantation for an                                                                  Arch Gynecol Obstet 2010. Available at:
  isolated central nervous system blast crisis in chronic myelogenous                                                                      http://www.ncbi.nlm.nih.gov/pubmed/20473616.
  leukemia. Acta Haematol 2013;130:111-114. Available at:
  http://www.ncbi.nlm.nih.gov/pubmed/23548721.

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-61
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 93 of 97 PageID 15134
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  344. Ghalaut VS, Prakash G, Bansal P, et al. Effect of imatinib on male                                                                  353. Ault P, Kantarjian H, O'Brien S, et al. Pregnancy among patients with
  reproductive hormones in BCR-ABL positive CML patients: A preliminary                                                                    chronic myeloid leukemia treated with imatinib. J Clin Oncol
  report. J Oncol Pharm Pract 2014;20:243-248. Available at:                                                                               2006;24:1204-1208. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/23966360.                                                                                            http://www.ncbi.nlm.nih.gov/pubmed/16446320.
  345. Alizadeh H, Jaafar H, Rajnics P, et al. Outcome of pregnancy in                                                                     354. Kuwabara A, Babb A, Ibrahim A, et al. Poor outcome after
  chronic myeloid leukaemia patients treated with tyrosine kinase inhibitors:                                                              reintroduction of imatinib in patients with chronic myeloid leukemia who
  short report from a single centre. Leuk Res 2015;39:47-51. Available at:                                                                 interrupt therapy on account of pregnancy without having achieved an
  https://www.ncbi.nlm.nih.gov/pubmed/25455655.                                                                                            optimal response. Blood 2010;116:1014-1016. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/20705771.
  346. Pye SM, Cortes J, Ault P, et al. The effects of imatinib on pregnancy
  outcome. Blood 2008;111:5505-5508. Available at:                                                                                         355. Lasica M, Willcox A, Burbury K, et al. The effect of tyrosine kinase
  http://www.ncbi.nlm.nih.gov/pubmed/18322153.                                                                                             inhibitor interruption and interferon use on pregnancy outcomes and
                                                                                                                                           long-term disease control in chronic myeloid leukemia. Leuk Lymphoma
  347. Cortes JE, Abruzzese E, Chelysheva E, et al. The impact of dasatinib
                                                                                                                                           2019:1-7. Available at: https://www.ncbi.nlm.nih.gov/pubmed/30632843.
  on pregnancy outcomes. Am J Hematol 2015;90:1111-1115. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/26348106.                                                                                            356. Stella S, Tirro E, Massimino M, et al. Successful Management of a
                                                                                                                                           Pregnant Patient With Chronic Myeloid Leukemia Receiving Standard
  348. Barkoulas T, Hall PD. Experience with dasatinib and nilotinib use in
                                                                                                                                           Dose Imatinib. In Vivo 2019;33:1593-1598. Available at:
  pregnancy. J Oncol Pharm Pract 2018;24:121-128. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/31471409.
  https://www.ncbi.nlm.nih.gov/pubmed/29284357.
                                                                                                                                           357. Haggstrom J, Adriansson M, Hybbinette T, et al. Two cases of CML
  349. Salem W, Li K, Krapp C, et al. Imatinib treatments have long-term
                                                                                                                                           treated with alpha-interferon during second and third trimester of
  impact on placentation and embryo survival. Sci Rep 2019;9:2535.
                                                                                                                                           pregnancy with analysis of the drug in the new-born immediately
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/30796277.
                                                                                                                                           postpartum. Eur J Haematol 1996;57:101-102. Available at:
  350. Madabhavi I, Sarkar M, Modi M, Kadakol N. Pregnancy Outcomes in                                                                     https://www.ncbi.nlm.nih.gov/pubmed/8698119.
  Chronic Myeloid Leukemia: A Single Center Experience. J Glob Oncol
                                                                                                                                           358. Kuroiwa M, Gondo H, Ashida K, et al. Interferon-alpha therapy for
  2019;5:1-11. Available at:
                                                                                                                                           chronic myelogenous leukemia during pregnancy. Am J Hematol
  https://www.ncbi.nlm.nih.gov/pubmed/31584851.
                                                                                                                                           1998;59:101-102. Available at:
  351. Cortes JE, Gambacorti-Passerini C, Deininger M, et al. Pregnancy                                                                    https://www.ncbi.nlm.nih.gov/pubmed/9723590.
  outcomes in patients treated with bosutinib. Int J Hematol Oncol
                                                                                                                                           359. Lipton JH, Derzko CM, Curtis J. Alpha-interferon and pregnancy in a
  2020;9:IJH26. Available at:
                                                                                                                                           patient with CML. Hematol Oncol 1996;14:119-122. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/33005329.
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/9119356.
  352. Assi R, Kantarjian H, Keating M, et al. Management of chronic
                                                                                                                                           360. Al Bahar S, Pandita R, Nath SV. Pregnancy in chronic myeloid
  myeloid leukemia during pregnancy among patients treated with a tyrosine
                                                                                                                                           leukemia patients treated with alpha interferon. Int J Gynaecol Obstet
  kinase inhibitor: a single-Center experience. Leuk Lymphoma
                                                                                                                                           2004;85:281-282. Available at:
  2021;62:909-917. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/15145269.
  https://www.ncbi.nlm.nih.gov/pubmed/33283580.


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-62
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 94 of 97 PageID 15135
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  361. Beauverd Y, Radia D, Cargo C, et al. Pegylated interferon alpha-2a                                                                  and review of the literature. Jpn J Clin Oncol 2004;34:215-217. Available
  for essential thrombocythemia during pregnancy: outcome and safety. A                                                                    at: https://www.ncbi.nlm.nih.gov/pubmed/15121759.
  case series. Haematologica 2016;101:e182-184. Available at:
                                                                                                                                           369. Koh LP, Kanagalingam D. Pregnancies in patients with chronic
  https://www.ncbi.nlm.nih.gov/pubmed/26819057.
                                                                                                                                           myeloid leukemia in the era of imatinib. Int J Hematol 2006;84:459-462.
  362. Balsat M, Etienne M, Elhamri M, et al. Successful pregnancies in                                                                    Available at: https://www.ncbi.nlm.nih.gov/pubmed/17189230.
  patients with BCR-ABL-positive leukemias treated with interferon-alpha
                                                                                                                                           370. Palani R, Milojkovic D, Apperley JF. Managing pregnancy in chronic
  therapy during the tyrosine kinase inhibitors era. Eur J Haematol
                                                                                                                                           myeloid leukaemia. Ann Hematol 2015;94 Suppl 2:S167-176. Available at:
  2018;101:774-780. Available at:
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/25814083.
  https://www.ncbi.nlm.nih.gov/pubmed/30179268.
                                                                                                                                           371. Staley EM, Simmons SC, Feldman AZ, et al. Management of chronic
  363. Burchert A, Muller MC, Kostrewa P, et al. Sustained molecular
                                                                                                                                           myeloid leukemia in the setting of pregnancy: when is leukocytapheresis
  response with interferon alfa maintenance after induction therapy with
                                                                                                                                           appropriate? A case report and review of the literature. Transfusion
  imatinib plus interferon alfa in patients with chronic myeloid leukemia. J
                                                                                                                                           2018;58:456-460. Available at:
  Clin Oncol 2010;28:1429-1435. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/29230832.
  https://www.ncbi.nlm.nih.gov/pubmed/20142590.
                                                                                                                                           372. James AH, Brancazio LR, Price T. Aspirin and reproductive
  364. Abruzzese E, Turkina AG, Apperley JF, et al. Pregnancy
                                                                                                                                           outcomes. Obstet Gynecol Surv 2008;63:49-57. Available at:
  Management in CML Patients: To Treat or Not to Treat? Report of 224
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/18081940.
  Outcomes of the European Leukemia Net (ELN) Database. Blood
  2019;134:498-498. Available at:                                                                                                          373. Deruelle P, Coulon C. The use of low-molecular-weight heparins in
  https://doi.org/10.1182/blood-2019-124430.                                                                                               pregnancy--how safe are they? Curr Opin Obstet Gynecol
                                                                                                                                           2007;19:573-577. Available at:
  365. Baykal C, Zengin N, Coskun F, et al. Use of hydroxyurea and
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/18007136.
  alpha-interferon in chronic myeloid leukemia during pregnancy: a case
  report. Eur J Gynaecol Oncol 2000;21:89-90. Available at:                                                                                374. Russell MA, Carpenter MW, Akhtar MS, et al. Imatinib mesylate and
  https://www.ncbi.nlm.nih.gov/pubmed/10726630.                                                                                            metabolite concentrations in maternal blood, umbilical cord blood,
                                                                                                                                           placenta and breast milk. J Perinatol 2007;27:241-243. Available at:
  366. Thauvin-Robinet C, Maingueneau C, Robert E, et al. Exposure to
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/17377606.
  hydroxyurea during pregnancy: a case series. Leukemia
  2001;15:1309-1311. Available at:                                                                                                         375. Ali R, Ozkalemkas F, Kimya Y, et al. Imatinib use during pregnancy
  https://www.ncbi.nlm.nih.gov/pubmed/11480579.                                                                                            and breast feeding: a case report and review of the literature. Arch
                                                                                                                                           Gynecol Obstet 2009;280:169-175. Available at:
  367. Fadilah SA, Ahmad-Zailani H, Soon-Keng C, Norlaila M. Successful
                                                                                                                                           http://www.ncbi.nlm.nih.gov/pubmed/19083009.
  treatment of chronic myeloid leukemia during pregnancy with hydroxyurea.
  Leukemia 2002;16:1202-1203. Available at:                                                                                                376. Drugs and Lactation Database (LactMed) [Internet]. Bethesda (MD):
  https://www.ncbi.nlm.nih.gov/pubmed/12040456.                                                                                            National Library of Medicine (US); 2006-. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/books/NBK501922/.
  368. Ali R, Ozkalemkas F, Ozkocaman V, et al. Successful pregnancy and
  delivery in a patient with chronic myelogenous leukemia (CML), and                                                                       377. Chelysheva E, Aleshin S, Polushkina E, et al. Breastfeeding in
  management of CML with leukapheresis during pregnancy: a case report                                                                     Patients with Chronic Myeloid Leukaemia: Case Series with
                                                                                                                                           Measurements of Drug Concentrations in Maternal Milk and Literature

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-63
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 95 of 97 PageID 15136
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  Review. Mediterr J Hematol Infect Dis 2018;10:e2018027. Available at:                                                                    chronic phase: the Italian experience. Br J Haematol 2015;170:398-407.
  https://www.ncbi.nlm.nih.gov/pubmed/29755704.                                                                                            Available at: https://www.ncbi.nlm.nih.gov/pubmed/25891192.
  378. Abruzzese E, Trawinska MM, Perrotti AP, De Fabritiis P. Tyrosine                                                                    386. Nickel RS, Daves M, Keller F. Treatment of an adolescent with
  kinase inhibitors and pregnancy. Mediterr J Hematol Infect Dis                                                                           chronic myeloid leukemia and the T315I mutation with ponatinib. Pediatr
  2014;6:e2014028. Available at:                                                                                                           Blood Cancer 2015;62:2050-2051. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/24804001.                                                                                            https://www.ncbi.nlm.nih.gov/pubmed/25939962.
  379. Hijiya N, Suttorp M. How I treat chronic myeloid leukemia in children                                                               387. Gurrea Salas D, Glauche I, Tauer JT, et al. Can prognostic scoring
  and adolescents. Blood 2019;133:2374-2384. Available at:                                                                                 systems for chronic myeloid leukemia as established in adults be applied
  https://www.ncbi.nlm.nih.gov/pubmed/30917954.                                                                                            to pediatric patients? Ann Hematol 2015;94:1363-1371. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/25894600.
  380. Suttorp M, Schulze P, Glauche I, et al. Front-line imatinib treatment in
  children and adolescents with chronic myeloid leukemia: results from a                                                                   388. Millot F, Guilhot J, Suttorp M, et al. Prognostic discrimination based
  phase III trial. Leukemia 2018;32:1657-1669. Available at:                                                                               on the EUTOS long-term survival score within the International Registry
  https://www.ncbi.nlm.nih.gov/pubmed/29925908.                                                                                            for Chronic Myeloid Leukemia in children and adolescents. Haematologica
                                                                                                                                           2017;102:1704-1708. Available at:
  381. Gore L, Kearns PR, de Martino ML, et al. Dasatinib in Pediatric
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/28838993.
  Patients With Chronic Myeloid Leukemia in Chronic Phase: Results From
  a Phase II Trial. J Clin Oncol 2018;36:1330-1338. Available at:                                                                          389. Samis J, Lee P, Zimmerman D, et al. Recognizing endocrinopathies
  https://www.ncbi.nlm.nih.gov/pubmed/29498925.                                                                                            associated with tyrosine kinase inhibitor therapy in children with chronic
                                                                                                                                           myelogenous leukemia. Pediatr Blood Cancer 2016;63:1332-1338.
  382. Hijiya N, Maschan A, Rizzari C, et al. Phase 2 study of nilotinib in
                                                                                                                                           Available at: https://www.ncbi.nlm.nih.gov/pubmed/27100618.
  pediatric patients with Philadelphia chromosome-positive chronic myeloid
  leukemia. Blood 2019;134:2036-2045. Available at:                                                                                        390. Suttorp M, Millot F. Treatment of pediatric chronic myeloid leukemia
  https://www.ncbi.nlm.nih.gov/pubmed/31511239.                                                                                            in the year 2010: use of tyrosine kinase inhibitors and stem-cell
                                                                                                                                           transplantation. Hematology Am Soc Hematol Educ Program
  383. Millot F, Guilhot J, Nelken B, et al. Imatinib mesylate is effective in
                                                                                                                                           2010;2010:368-376. Available at:
  children with chronic myelogenous leukemia in late chronic and advanced
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/21239821.
  phase and in relapse after stem cell transplantation. Leukemia
  2006;20:187-192. Available at:                                                                                                           391. Shima H, Tokuyama M, Tanizawa A, et al. Distinct impact of imatinib
  https://www.ncbi.nlm.nih.gov/pubmed/16341042.                                                                                            on growth at prepubertal and pubertal ages of children with chronic
                                                                                                                                           myeloid leukemia. J Pediatr 2011;159:676-681. Available at:
  384. Champagne MA, Fu CH, Chang M, et al. Higher dose imatinib for
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/21592517.
  children with de novo chronic phase chronic myelogenous leukemia: a
  report from the Children's Oncology Group. Pediatr Blood Cancer                                                                          392. Bansal D, Shava U, Varma N, et al. Imatinib has adverse effect on
  2011;57:56-62. Available at:                                                                                                             growth in children with chronic myeloid leukemia. Pediatr Blood Cancer
  https://www.ncbi.nlm.nih.gov/pubmed/21465636.                                                                                            2012;59:481-484. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/22052850.
  385. Giona F, Putti MC, Micalizzi C, et al. Long-term results of high-dose
  imatinib in children and adolescents with chronic myeloid leukaemia in                                                                   393. Rastogi MV, Stork L, Druker B, et al. Imatinib mesylate causes
                                                                                                                                           growth deceleration in pediatric patients with chronic myelogenous

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-64
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 96 of 97 PageID 15137
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  leukemia. Pediatr Blood Cancer 2012;59:840-845. Available at:                                                                            401. Suttorp M, Webster Carrion A, Hijiya N. Chronic Myeloid Leukemia in
  https://www.ncbi.nlm.nih.gov/pubmed/22378641.                                                                                            Children: Immune Function and Vaccinations. J Clin Med 2021;10.
                                                                                                                                           Available at: https://www.ncbi.nlm.nih.gov/pubmed/34575167.
  394. Narayanan KR, Bansal D, Walia R, et al. Growth failure in children
  with chronic myeloid leukemia receiving imatinib is due to disruption of                                                                 402. Bettoni da Cunha-Riehm C, Hildebrand V, Nathrath M, et al.
  GH/IGF-1 axis. Pediatr Blood Cancer 2013;60:1148-1153. Available at:                                                                     Vaccination With Live Attenuated Vaccines in Four Children With Chronic
  https://www.ncbi.nlm.nih.gov/pubmed/23322583.                                                                                            Myeloid Leukemia While on Imatinib Treatment. Front Immunol
                                                                                                                                           2020;11:628. Available at:
  395. Boddu D, Thankamony P, Guruprasad CS, et al. Effect of imatinib on
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/32362894.
  growth in children with chronic myeloid leukemia. Pediatr Hematol Oncol
  2019;36:189-197. Available at:                                                                                                           403. Hijiya N, Millot F, Suttorp M. Chronic myeloid leukemia in children:
  https://www.ncbi.nlm.nih.gov/pubmed/31298597.                                                                                            clinical findings, management, and unanswered questions. Pediatr Clin
                                                                                                                                           North Am 2015;62:107-119. Available at:
  396. Sabnis HS, Keenum C, Lewis RW, et al. Growth disturbances in
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/25435115.
  children and adolescents receiving long-term tyrosine kinase inhibitor
  therapy for Chronic Myeloid Leukaemia or Philadelphia                                                                                    404. Creech CB, Walker SC, Samuels RJ. SARS-CoV-2 Vaccines. JAMA
  Chromosome-positive Acute Lymphoblastic Leukaemia. Br J Haematol                                                                         2021;325:1318-1320. Available at:
  2019;185:795-799. Available at:                                                                                                          https://www.ncbi.nlm.nih.gov/pubmed/33635317.
  https://www.ncbi.nlm.nih.gov/pubmed/30407613.
                                                                                                                                           405. Chowdhury O, Bruguier H, Mallett G, et al. Impaired antibody
  397. de Bruijn CMA, Millot F, Suttorp M, et al. Discontinuation of imatinib                                                              response to COVID-19 vaccination in patients with chronic myeloid
  in children with chronic myeloid leukaemia in sustained deep molecular                                                                   neoplasms. Br J Haematol 2021;194:1010-1015. Available at:
  remission: results of the STOP IMAPED study. Br J Haematol 2019.                                                                         https://www.ncbi.nlm.nih.gov/pubmed/34132395.
  Available at: https://www.ncbi.nlm.nih.gov/pubmed/30843196.
                                                                                                                                           406. Greenberger LM, Saltzman LA, Senefeld JW, et al. Antibody
  398. Millot F, Claviez A, Leverger G, et al. Imatinib cessation in children                                                              response to SARS-CoV-2 vaccines in patients with hematologic
  and adolescents with chronic myeloid leukemia in chronic phase. Pediatr                                                                  malignancies. Cancer Cell 2021;39:1031-1033. Available at:
  Blood Cancer 2014;61:355-357. Available at:                                                                                              https://www.ncbi.nlm.nih.gov/pubmed/34331856.
  https://www.ncbi.nlm.nih.gov/pubmed/24106110.
                                                                                                                                           407. Harrington P, Doores KJ, Radia D, et al. Single dose of BNT162b2
  399. de Lavallade H, Garland P, Sekine T, et al. Repeated vaccination is                                                                 mRNA vaccine against severe acute respiratory syndrome coronavirus-2
  required to optimize seroprotection against H1N1 in the                                                                                  (SARS-CoV-2) induces neutralising antibody and polyfunctional T-cell
  immunocompromised host. Haematologica 2011;96:307-314. Available at:                                                                     responses in patients with chronic myeloid leukaemia. Br J Haematol
  https://www.ncbi.nlm.nih.gov/pubmed/20971824.                                                                                            2021;194:999-1006. Available at:
                                                                                                                                           https://www.ncbi.nlm.nih.gov/pubmed/34085278.
  400. de Lavallade H, Khoder A, Hart M, et al. Tyrosine kinase inhibitors
  impair B-cell immune responses in CML through off-target inhibition of                                                                   408. Harrington P, Harrison CN, Dillon R, et al. Evidence of robust
  kinases important for cell signaling. Blood 2013;122:227-238. Available at:                                                              memory T-cell responses in patients with chronic myeloproliferative
  https://www.ncbi.nlm.nih.gov/pubmed/23719297.                                                                                            neoplasms following infection with severe acute respiratory syndrome
                                                                                                                                           coronavirus-2 (SARS-CoV-2). Br J Haematol 2021;193:692-696. Available
                                                                                                                                           at: https://www.ncbi.nlm.nih.gov/pubmed/33719038.


  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-65
Printed by Richard Elias on 4/4/2023 8:40:51 AM. For personal use only. Not approved for distribution. Copyright © 2023 National Comprehensive Cancer Network, Inc., All Rights Reserved.
                                         Case 6:21-md-03006-RBD-DAB Document 260-14 Filed 04/05/23 Page 97 of 97 PageID 15138
                                                             NCCN Guidelines Version 1.2023
                                                             Chronic Myeloid Leukemia

  409. Hochhaus A, Saglio G, Hughes TP, et al. Long-term benefits and                                                                      2015;100:898-904. Available at:
  risks of frontline nilotinib vs imatinib for chronic myeloid leukemia in                                                                 https://www.ncbi.nlm.nih.gov/pubmed/25887498.
  chronic phase: 5-year update of the randomized ENESTnd trial. Leukemia
                                                                                                                                           416. Seymour JF, Kim DW, Rubin E, et al. A phase 2 study of MK-0457 in
  2016;30:1044-1054. Available at:
                                                                                                                                           patients with BCR-ABL T315I mutant chronic myelogenous leukemia and
  https://www.ncbi.nlm.nih.gov/pubmed/26837842
                                                                                                                                           philadelphia chromosome-positive acute lymphoblastic leukemia. Blood
  410. Do YR, Kwak JY, Kim JA, et al. Long-term data from a phase 3 study                                                                  Cancer J 2014;4:e238. Available at:
  of radotinib versus imatinib in patients with newly diagnosed, chronic                                                                   https://www.ncbi.nlm.nih.gov/pubmed/25127392.
  myeloid leukaemia in the chronic phase (RERISE). Br J Haematol
                                                                                                                                           417. Sweet K, Hazlehurst L, Sahakian E, et al. A phase I clinical trial of
  2020;189:303-312. Available at:
                                                                                                                                           ruxolitinib in combination with nilotinib in chronic myeloid leukemia patients
  https://www.ncbi.nlm.nih.gov/pubmed/32012231.
                                                                                                                                           with molecular evidence of disease. Leuk Res 2018;74:89-96. Available at:
  411. Kim SH, Menon H, Jootar S, et al. Efficacy and safety of radotinib in                                                               https://www.ncbi.nlm.nih.gov/pubmed/30340199.
  chronic phase chronic myeloid leukemia patients with resistance or
  intolerance to BCR-ABL1 tyrosine kinase inhibitors. Haematologica
  2014;99:1191-1196. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/24705186.
  412. Zhang L, Meng L, Liu B, et al. Flumatinib versus Imatinib for Newly
  Diagnosed Chronic Phase Chronic Myeloid Leukemia: A Phase III,
  Randomized, Open-label, Multi-center FESTnd Study. Clin Cancer Res
  2021;27:70-77. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/32928796.
  413. Cortes J, Jabbour E, Daley GQ, et al. Phase 1 study of lonafarnib
  (SCH 66336) and imatinib mesylate in patients with chronic myeloid
  leukemia who have failed prior single-agent therapy with imatinib. Cancer
  2007;110:1295-1302. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/17623836.
  414. Cortes J, Quintas-Cardama A, Garcia-Manero G, et al. Phase 1 study
  of tipifarnib in combination with imatinib for patients with chronic
  myelogenous leukemia in chronic phase after imatinib failure. Cancer
  2007;110:2000-2006. Available at:
  https://www.ncbi.nlm.nih.gov/pubmed/17849425.
  415. Borthakur G, Dombret H, Schafhausen P, et al. A phase I study of
  danusertib (PHA-739358) in adult patients with accelerated or blastic
  phase chronic myeloid leukemia and Philadelphia chromosome-positive
  acute lymphoblastic leukemia resistant or intolerant to imatinib and/or
  other second generation c-ABL therapy. Haematologica

  Version 1.2023 © 2022 National Comprehensive Cancer Network© (NCCN©), All rights reserved. NCCN Guidelines® and this illustration may not be reproduced in any form without the express written permission of NCCN.   MS-66
